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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
         In re                                                        :      Chapter 11
                                                                      :
         CTI FOODS, LLC, et al.,                                      :      Case No. 19-10497 (           )
                                                                      :
                                                                      :
                                      1
                           Debtors.                                   :      (Joint Administration Requested)
         ------------------------------------------------------------ x

                           DECLARATION OF KENT PERCY IN SUPPORT OF
                       DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY RELIEF

                          I, Kent Percy, pursuant to section 1746 of title 28 of the United States Code,

         hereby declare that the following is true to the best of my knowledge, information, and belief:

                          1.       I am the Chief Restructuring Officer (“CRO”) of CTI Foods, LLC and its

         affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

         (collectively, the “Debtors,” “CTI,” or the “Company”). In my capacity as CRO, I am

         generally familiar with CTI’s day-to-day operations, business and financial affairs, and books

         and records. Prior to becoming CRO of CTI, I advised the Company in my capacity as a

         Managing Director of AlixPartners, LLC (“AlixPartners”) from October 2018 to March 2019. I

         have over 20 years of experience as a financial professional. I have worked in the AlixPartners

         restructuring practice for 17 years and have served as a Managing Director there since January

         2018. Prior to that time, I was a Vice President of the venture capital firm MC Capital, where I




         1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, as applicable, are: Chef Holdings, Inc. (8070); Chef Intermediate, Inc. (8653); CTIF Holdings, Inc. (0046);
         Chef Investment, LLC (3918); CTI Foods Acquisition LLC (3918); CTI Foods Holding Co., LLC (8320); CTI
         Services Corporation (2331); CTI Foods, LLC (3673); CTI Arlington, LLC (6103); CTI Saginaw I, LLC (6133);
         CTI King of Prussia, LLC (4771); CTI-SSI Food Services, LLC (8322); S & S Foods LLC (7447); Custom Food
         Products Holdings, LLC (2697); Custom Food Products, LLC (0697); Liguria Holdings, Inc. (8652); and Liguria
         Foods, Inc. (6446). The Debtors’ mailing address is 504 Sansom Blvd., Saginaw, Texas 76179.

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         managed the investment of early stage capital in startup companies. Before joining MC Capital,

         I spent three years in the Business Recovery Services group at PricewaterhouseCoopers LLP.

                        2.      Over the past 20 years, I have advised senior management and boards of

         directors of companies in numerous industries to devise and implement sound turnaround and

         restructuring strategies in out-of-court turnarounds, chapter 11 restructurings, and foreign

         insolvency proceedings. In addition, I have advised creditor constituencies that often become the

         new owners of a business upon consummation of a restructuring. During the course of my

         career, I have been involved in numerous large and complex restructurings, including, but not

         limited to, Caesars Entertainment Operating Company, Eastman Kodak Company, Advantage

         Rent A Car, Toys R Us, Comverse Technology, Inc., Dana Incorporated, Gymboree Group, Inc.,

         Fairpoint Communications, Inc., Milacron, Inc., Nebraska Book Company, and think3, Inc. I am

         a Certified Insolvency & Restructuring Advisor and a Certified Public Accountant. I received a

         Bachelor of Arts in Economics from the University of Texas at Austin and earned a Master of

         Business Administration from the Goizueta Business School at Emory University.

                        3.      On the date hereof (the “Petition Date”), the Debtors each commenced

         with the Court a voluntary case under chapter 11 of title 11 of the United States Code

         (the “Bankruptcy Code”). I am knowledgeable and familiar with the Debtors’ day-to-day

         operations, books and records, and business and financial affairs, and the circumstances leading

         to the commencement of these chapter 11 cases.

                        4.      I submit this declaration (the “Declaration”) to assist the Court and other

         parties in interest in understanding the circumstances and events that led to the commencement

         of these chapter 11 cases and in support of the motions and applications that the Debtors have

         filed with the Court, including the “first-day” pleadings (the “First-Day Pleadings”). Except as


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         otherwise indicated herein, the facts in this Declaration are based upon my personal knowledge,

         my review of relevant documents, information provided to me by employees of the Debtors, or

         my opinion based upon my experience, knowledge, and information concerning the Debtors’

         operations. If called upon to testify, I would testify competently to the facts set forth in this

         Declaration.

                        5.      This Declaration is divided into six sections. Section I provides an

         overview of the Debtors and these chapter 11 cases, including a description of the Prepackaged

         Plan (as defined below). Section II describes the Debtors’ business. Section III describes the

         Debtors’ corporate and capital structure. Section IV describes the circumstances that led to the

         commencement of these chapter 11 cases. Section V describes the proposed debtor-in-

         possession financing. Section VI provides a summary of the First Day Pleadings and factual

         bases for the relief requested therein.

                                                   I.    Overview

                        6.      CTI is one of the leading independent providers of custom food solutions

         to major chain restaurants in North America. With a focus on blue-chip customers, CTI supplies

         food products to some of the most recognized restaurants in the country, including several of the

         top hamburger, sandwich, and Mexican restaurant chains. The Company differentiates itself

         from competitors by offering a wide range of high quality, customized products and has

         cultivated strong relationships with key customers.

                        7.      Yet, as described in detail below, a combination of changed market

         dynamics, certain unexpected operational issues, and a large interest payment pushed CTI to

         evaluate options with respect to its current capital structure and diminishing near-term liquidity.

         Consequently, the Company explored various ways to inject new capital into its business and

         restructure its debt obligations with minimal disruption to its day-to-day operations.
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                        8.      Today, after extensive negotiations with its major stakeholders, CTI is

         pleased to present the Court with the Joint Prepackaged Chapter 11 Plan of Reorganization of

         CTI Foods, LLC and Its Affiliated Debtors (the “Prepackaged Plan”), filed concurrently

         herewith. Importantly, the Prepackaged Plan has the overwhelming support of CTI’s major

         stakeholders, as evidenced by a restructuring support agreement (the “Restructuring Support

         Agreement”), a copy of which is annexed hereto as Exhibit A. With the support of key

         creditors and the Prepackaged Plan, the Company expects to emerge from chapter 11 chapter

         expeditiously with a healthier balance sheet and the ability to continue to provide high quality

         products and service to its customers.

                        9.      On March 7, 2019, the Company entered into the Restructuring Support

         with (a) members of an ad hoc group (the “Ad Hoc Group” and, collectively with other

         creditors that sign joinders to the Restructuring Support Agreement, the “Consenting

         Creditors”) that hold approximately 74.23% of the outstanding principal amount under that

         certain First Lien Term Loan Agreement, dated as of June 28, 2013 (as amended, modified, or

         otherwise supplemented from time to time, the “First Lien Term Loan Agreement”) and

         approximately 25.24% of the outstanding principal amount under that certain Second Lien Term

         Loan Agreement, dated as of June 28, 2013 (as amended, modified, or otherwise supplemented

         from time to time, the “Second Lien Term Loan Agreement”) and (b) the prepetition equity

         sponsors (the “Consenting Sponsors”), which own or control approximately 94.31% of the

         outstanding equity interests in Chef Holdings, Inc. (which directly or indirectly owns or controls

         one hundred percent (100%) of the prepetition interests in the other Debtors). As a result of

         additional creditors joining the Restructuring Support Agreement, the Debtors now have the




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         support of Consenting Creditors holding approximately 78.70% of First Lien Term Loan Claims2

         and 52.31% of Second Lien Term Loan Claims. The Debtors and the Ad Hoc Group anticipate

         that the percentages of holders of First Lien Term Claims and Second Lien Term Loan Claims

         that become Consenting Creditors will continue to increase in the coming days.

                         10.      Pursuant to the Restructuring Support Agreement, the Consenting

         Creditors agreed to vote in favor of and support confirmation of the Prepackaged Plan, which,

         upon implementation, provides for the Debtors to emerge from these chapter 11 cases

         substantially de-levered. The following table illustrates the difference in the Debtors’ capital

         structure as of the Petition Date compared to the capital structure contemplated by the

         Prepackaged Plan upon emergence from chapter 11.

                         Pre-Restructuring                                   Post-Restructuring
         ABL Claims                                $93,500,000 Exit ABL                         $50,000,000
         First Lien Term Loan Claims              $347,000,000 Exit First Lien Term Loan       $125,000,000
         Second Lien Term Loan Claims             $140,000,000

         Total Funded Debt                        $580,500,000 Total Funded Debt                      $175,000,000

         A.      Transaction Contemplated by Prepackaged Plan

                         11.      As described in greater detail below, the Prepackaged Plan will de-lever

         the Company by (a) replacing a portion of each First Lien Term Loan Claim with new debt in the

         form of “last-out” obligations under the Exit First Lien Term Loan, (b) equitizing the remaining

         portion of each First Lien Term Loan Claim, (c) either equitizing or cancelling all $140 million

         of the Second Lien Term Loan Claims, and (d) cancelling existing equity. Importantly, the

         Company’s trade creditors will ride through these chapter 11 cases unimpaired.

                         12.      The broader restructuring transaction contemplated by the Restructuring

         Support Agreement and the Prepackaged Plan, which are described in more detail in Section

         2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Prepackaged Plan.
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         IV.F. below, also provides the Company with a $75 million injection of new capital in the form

         of the DIP Term Loan Facility, and provides CTI with continued access to working capital

         during these chapter 11 cases through a $80 million DIP ABL Facility (together with the DIP

         Term Loan Facility, the “DIP Financing”). Funds from the DIP Financing will also be used to

         pay in full the prepetition ABL Obligations (defined below) during these chapter 11 cases.

         Pursuant to the Prepackaged Plan, upon the Debtors’ emergence from chapter 11, outstanding

         amounts under the DIP Term Loan Facility will be replaced with new debt in the form of “first-

         out” obligations under the Exit Term Loan Facility. All outstanding amounts under the DIP

         ABL Facility will be paid in cash with proceeds from a new $110 million Exit ABL Facility and

         the Reorganized Debtors will also be able to use the upsized Exit ABL Facility to fund general

         working capital and for other general corporate purposes.

                        13.    CTI believes that the restructuring transaction contemplated by the

         Restructuring Support Agreement and the Prepackaged Plan is the best available path forward to

         address its near-term liquidity shortfall and strengthen the Company by de-levering its balance

         sheet, while allowing business operations to continue without unnecessary interruption.

         B.      Proposed Timeline

                        14.    Prior to the Petition Date, on March 8, 2019, the Company commenced

         the solicitation of votes on the Prepackaged Plan through the Disclosure Statement for Joint

         Prepackaged Chapter 11 Plan of CTI Foods, LLC and Its Affiliated Debtors pursuant to sections

         1125 and 1126(b) of the Bankruptcy Code. The Company expects that, pursuant to the

         Restructuring Support Agreement, most classes entitled to vote on the Prepackaged Plan will

         vote to accept in excess of the statutory thresholds specified in section 1126(c) of the Bankruptcy

         Code.


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                             15.      The below table highlights the Debtors’ proposed key dates for these

         chapter 11 cases:

                                                           Proposed Timeline3
                       Voting Record Date                                               March 6, 2019
                       Commencement of Solicitation                                     March 8, 2019
                       Petition Date                                                    March 11, 2019
                       Plan Voting Deadline                                              April 1, 2019
                       Plan/Disclosure Statement Objection Deadline                     April 11, 2019
                       Reply Deadline                                                   April 16, 2019
                       Combined Hearing                                                 April 18, 2019
                       Section 341(a) Meeting / Schedules and
                                                                                         May 3, 2019
                       Statements Deadline (unless waived)

                                                     II.     Debtors’ Business

         A.         History and Formation

                             16.      CTI was first formed in 1984 as SSI Food Services, LLC and began as a

         protein processor for a quick service hamburger chain with a single production facility in Wilder,

         Idaho. Over time, the Company expanded its business both geographically and in terms of

         product lines. By 1990, CTI was producing frozen hamburger patties and taco meat for quick

         service restaurants, and by 1997, it was serving customers in the southwestern United States

         through a new production facility in Azusa, California. The Company continued growing over

         the following two decades and by 2018, it was producing hundreds of different products,

         including value-added proteins (hamburgers, cooked sausage patties, grilled chicken, shredded

         beef and chicken, fajita meat, ham, Philly steak, and more), dry sausage, beans, soups, macaroni

         & cheese, chili, sauces, and other sheet pan and retail meals through seven production facilities

         strategically located across the United States.



         3
             The proposed timeline is subject to Court approval and availability.
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                        17.     A fundamental reason for CTI’s success over time has been the strong

         relationships it holds with key customers. For example, the Company has maintained 20+ year

         relationships with several of its largest customers, as well as relationships of over 10 years with

         other key customers. In addition to strengthening existing customer relationships, CTI has

         driven its organic growth historically through large new customer wins, new product

         development, and geographic expansion. The Company also grew through strategic acquisitions,

         including of the KOP Facility (defined below) in July 2012, Custom Food Products, LLC in

         December 2012, and Liguria Foods, Inc. in February 2016.

         B.     Debtors’ Current Business Operations

                        18.     As noted, the Debtors are a leading independent provider of custom food

         solutions to major chain restaurants in North America. The Company services many of the most

         recognized quick-service and fast casual restaurants and also has a growing position supplying

         custom products to blue-chip consumer packaged foods companies. CTI currently supplies four

         of the top six hamburger restaurant chains, four of the top six sandwich chains, and the top

         Mexican restaurant chain.




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                        19.     CTI also differentiates itself from its competitors by offering innovative,

         customized food solutions across multiple product categories, providing fast response times, and

         increasing customers’ speed to market. The Company’s products are developed by classically

         trained chefs and research & development specialists in its state-of-the-art test kitchens. The

         majority of Company’s management team operates out of its Saginaw, Texas offices, with the

         remainder based in Meridian, Idaho, and the Company manufactures its products at seven

         production facilities strategically located throughout the U.S. The following chart identifies the

         scope of products processed at each of CTI’s production facilities.


                         Facility Location                                  Production
                            Wilder, Idaho                         Burgers, taco meat, fajita meats,
                        (“Wilder Facility”)                               cooked proteins
                          Azusa, California                         Burgers, taco meat, fajitas,
                         (“Azusa Facility”)                        chicken, soups, sides, sauces
                           Saginaw, Texas                           Tacos, soups, sides, sauces,
                   (“Saginaw Soups Facility”)                        chili, macaroni & cheese
                           Saginaw, Texas
                                                                           Refried beans
                   (“Saginaw Beans Facility”)
                   King of Prussia, Pennsylvania              Individual quick frozen (“IQF”) burgers,
                          (“KOP Facility”)                                    sausage
                      Owingsville, Kentucky                     Burgers, ham, sausage, fajita meats,
                     (“Owingsville Facility”)                           chicken, cheesesteak
                           Humboldt, Iowa
                                                                  Dry sausage, pepperoni, salami
                      (“Humboldt Facility”)

                        20.     CTI owns each of its production facilities except the Azusa Facility, which

         the Company leases.

                        21.     In total, CTI directly employs approximately 1,900 active personnel

         (the “Employees”), approximately 1,875 of which are employed full-time, and 25 of which are

         employed part-time. Of the Employees, approximately 260 (11%) are represented by unions.

         The average tenure of the Employees varies from plant to plant, but ranges from approximately

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         three to eight years. In addition to the Employees, the Company also utilizes services of

         approximately 165 temporary employees and/or independent contractors.

                        22.     For the year ended December 28, 2018, the unaudited consolidated

         financial statements of CTI reflected total revenues of approximately $1.2 billion and EBITDA

         of approximately $29 million. As of December 28, 2018, CTI’s unaudited consolidated financial

         statements reflected assets totaling approximately $667 million and liabilities totaling

         approximately $655 million.

                1.      Recent Operational Initiatives

                        23.     Over the past few years, the Company has increased its emphasis on

         operational efficiency and the production of high-quality food products. Beginning in 2016, the

         Company embarked on a determined effort to enhance corporate efficiency—an initiative that

         included talent upgrades not only at the senior corporate management level, but also at each of

         the plant leadership levels. In this regard, the Company hired approximately 40% of its current

         professional level Employees within the past three years.

                        24.     One of the initial focuses of CTI’s corporate efficiency strategy was to

         restructure the operations of the Liguria business, which had been recently acquired to expand

         CTI’s product portfolio to pepperoni and dry sausage. Beginning in the fall of 2016, CTI

         identified a number of inefficiencies in the Liguria business’s Humboldt Facility’s operations. In

         response, and over the past two years, the Company has invested substantial resources to

         improve the business mix, planning, and scheduling at the plant, with an increased focus on

         product quality and customer service.

                        25.     CTI has also invested significant time and expense into improving its

         operations across each of its other facilities. In the fall of 2017, CTI engaged AlixPartners to

         help identify ways to improve operational efficiency and to execute on such opportunities in the
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         Company’s Owingsville Facility. As that engagement succeeded in identifying and

         implementing operational improvements, the Company worked with AlixPartners to expand the

         effort, developing and implementing a comprehensive transformation program (the “F1

         Program”) across all of CTI’s facilities. The F1 Program identifies, tracks, implements, and

         measures business improvements in manufacturing, procurement, transportation,

         commercialization, sales and operations planning, and finance and organizational effectiveness,

         with an increased emphasis on operational productivity.

                        26.     Since its inception, the F1 Program has yielded significant improvements

         across CTI, and particularly in its manufacturing operations. For example, the F1 Program

         resulted in a 50% reduction in overtime labor costs at one facility; an 80–90% reduction in

         product giveaway from overfilled packages; and improved scheduling efficiency through

         detailed sales forecasting and operational coordination. Overall, in 2018, the F1 Program led to

         approximately $17 million in cost savings, and the Company projects approximately $27 million

         in cost savings during 2019.

                2.      Recent Food Safety and Quality and Employee Safety Initiatives

                        27.     Company-wide, CTI has also dedicated significant resources toward

         enhancing food safety and quality at its production facilities, such as by performing detailed

         inspections of the plant and retaining experts to audit the facilities and identify any areas for

         improvement. Further, in the fall of 2018, CTI hired a new Senior Vice President of Quality

         Assurance with extensive experience in the food production industry.

                        28.     Additionally, beginning in 2015, the Company placed a renewed focus on

         its employee safety program and initiated an effort to enhance the safety-focused culture across

         all Company facilities. CTI’s efforts have already produced meaningful results. After CTI

         began executing its new employee safety initiatives, the Company cut its Total Reported Incident
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         Rates4 by more than half between 2015 and 2017, and the rate has continued to decline through

         the Petition Date.

                                 III.    Debtors’ Corporate and Capital Structure

         A.      Corporate Structure

                          29.      CTI is a privately held company, which Thomas H. Lee Partners (“T.H.

         Lee”) and Goldman Sachs & Co. (“Goldman Sachs”) acquired from Littlejohn & Co., LLC in

         June 2013. CTI’s current corporate structure is the result of organic growth coupled with the

         strategic acquisitions of the KOP Facility, Custom Food Products, LLC, and Liguria Foods, Inc.

         The Debtors’ seven production facilities are operated by the following distinct Debtor entities:

                                   Debtor Entity                                Facility

                                CTI Arlington, LLC                     Saginaw Soups Facility

                                CTI Saginaw I, LLC                     Saginaw Beans Facility

                            CTI King of Prussia, LLC                         KOP Facility

                          CTI-SSI Food Services, LLC                        Wilder Facility

                                 S & S Foods LLC                             Azusa Facility

                           Custom Food Products, LLC                     Owingsville Facility

                                Liguria Foods, Inc.                       Humboldt Facility

                          30.      CTI’s organizational structure, as of the Petition Date, is illustrated by the

         below chart:




         4
            The “Total Reported Incident Rate” is a metric used by the Occupational Safety and Health Administration to
         compare injury rates among businesses. The Total Reported Incident Rate is calculated as: (number of injuries and
         illnesses) x (200,000) / (employee hours worked)
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                      31.    Furthermore, the following table sets forth the names and positions of the

         Debtors’ executive management team:

                          Name                                   Position
                      Michael Buccheri             President and Chief Executive Officer
                         Kent Percy                     Chief Restructuring Officer
                      Jonathon Spiller                      SVP and General Counsel
                       Yogesh Sabnis                            SVP Operations
                        Sharon Beals                    SVP Food Safety and Quality
                      Rajan Nagarajan          SVP Supply Chain and Process Transformation
                        Kathy Schaaf                        SVP and Chief HR Officer




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         B.      Capital Structure

                 1.       Prepetition Funded Indebtedness

                          32.      The following table provides a summary of the Company’s prepetition

         funded debt capital structure:5

                                                           Interest          Maturity               Outstanding
                                                            Rate               Date                  Principal
         ABL Revolver                                     L + 1.75%        Mar. 28, 2020                $93,500,000
         Initial First Lien Term Loan                     L + 3.50%        June 28, 2020               $322,000,000
         Incremental First Lien Term Loan                 L + 5.50%        June 28, 2020                $25,000,000
                  Total First Lien Debt                                                                $440,500,000

         Second Lien Term Loan                            L + 7.25%        June 28, 2021                 $140,000,000
               Total Funded Debt                                                                         $580,500,000

                 (i)      ABL Revolver

                          33.      Certain of the Debtors (the “Obligor Debtors”)6 are party to that certain

         Revolving Credit Agreement, dated as of June 28, 2013 (as amended, restated, amended and

         restated, supplemented, or otherwise modified from time to time, the “ABL Credit

         Agreement”), with Wells Fargo Bank, National Association, as administrative agent (the “ABL

         Agent”), and certain other lenders party thereto (collectively, the “ABL Lenders”). Pursuant to

         the ABL Credit Agreement, the ABL Lenders provide the Company with an asset-based

         revolving credit facility in an amount up to $143 million, subject to a borrowing base formula

         (the “ABL Revolver”). Up to $50 million of the ABL Revolver is available for issuances of

         letters of credit (the “Letters of Credit”), and any such Letters of Credit reduce the amount

         available under the ABL Revolver on a dollar-for-dollar basis.



         5
          The Company is also party to several capital leases, on which an aggregate of approximately $12 million remained
         outstanding and owing to lessors as of the Petition Date. The Company intends to assume all of these capital leases
         pursuant to the Prepackaged Plan.
         6
          The specific Debtor entities obligated under the ABL Credit Agreement are indicated in the organizational chart
         provided above.
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                        34.     Obligations under the ABL Revolver (“ABL Obligations”) are secured by

         (i) a first-priority interest in all UCC Article 9 (a) accounts (excluding rights to payment for any

         property which specifically constitutes Term Loan Collateral (as defined below) which has been

         sold, leased, licensed, assigned, or otherwise disposed of), (b) chattel paper, (c) deposit accounts,

         (d) inventory, (e) certain investment-related property, (f) certain general intangible property,

         letters of credit, letter-of-credit rights, instruments, and documents, (g) insurance, (h) supporting

         obligations, (i) commercial tort claims in excess of $10,000,000, (j) certain books and records,

         customer lists, credit files, and related general intangibles, and (k) certain cash proceeds of the

         Obligor Debtors (the “ABL Collateral”) and (ii) a third-priority interest, junior to the interests

         securing obligations outstanding under the First Lien Term Loan Agreement and the Second

         Lien Term Loan Agreement, in, to the extent not constituting ABL Collateral, (a) certain cash

         accounts (depositing proceeds of sales or dispositions of Term Loan Collateral), (b) equipment,

         (c) fixtures, (d) certain general intangible property, including contracts and contract rights arising

         thereunder, (e) letters of credit, letter-of-credit rights, instruments, and documents, (f) investment

         related property, (g) intellectual property, (h) commercial tort claims in excess of $10,000,000,

         (i) real property, (j) other personal property, (k) insurance, (l) supporting obligations, (m) certain

         books and records, customer lists, credit files, and related general intangibles, and (n) certain

         cash proceeds of the Obligor Debtors (collectively, the “Term Loan Collateral”).

                        35.     Availability under the ABL Credit Agreement is capped by a borrowing

         base, which is calculated based on percentages of the value of certain of the Debtors’ inventory,

         receivables and cash, and is subject to certain reserves and sub-limits. The ABL Revolver

         matures on March 28, 2020. As of the date hereof, the aggregate principal amount outstanding

         under the ABL Revolver facility is $93,500,000.


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                (ii)    First Lien Term Loan

                        36.      The Obligor Debtors are also party to the First Lien Term Loan

         Agreement with Morgan Stanley Senior Funding, Inc., as administrative agent, and other lenders

         party thereto (collectively, the “Initial First Lien Lenders”). Pursuant to the First Lien Term

         Loan Agreement, the Company borrowed an aggregate principal amount of $322 million in term

         loans (collectively, the “Initial First Lien Term Loan”) from the Initial First Lien Lenders.

                        37.      On February 12, 2016, in connection with the Company’s acquisition of

         Liguria Foods, Inc., the Obligor Debtors entered into that certain First Amendment to the First

         Lien Term Loan Agreement (the “Term Loan Amendment”) with Antares Holdings LP

         (“Antares” and, together with the Initial First Lien Lenders, the “First Lien Term Loan

         Lenders”). Pursuant to the Term Loan Amendment, the Company borrowed an incremental

         principal amount of $25 million (the “Incremental First Lien Term Loan” and, together with

         the Initial First Lien Term Loan, the “First Lien Term Loan”) from Antares.

                        38.      Obligations under the First Lien Term Loan (the “First Lien

         Obligations”) are secured by (i) a first-priority interest in the Term Loan Collateral and (ii) a

         second-priority interest in the ABL Collateral, junior to the interests securing obligations

         outstanding under the ABL Revolver. The Initial First Lien Term Loan bears an interest rate of

         LIBOR plus 3.50% and matures on June 28, 2020, while the Incremental First Lien Term Loan

         bears an interest rate of LIBOR plus 5.50% and matures on June 28, 2020. As of the Petition

         Date, the aggregate principal amounts outstanding under the Initial First Lien Term Loan and the

         Incremental First Lien Term Loan are approximately $322 million and $25 million, respectively,

         plus accrued and unpaid interest thereon and out-of-pocket costs and expenses of the

         administrative agent.


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                (iii)    Second Lien Term Loan

                         39.    The Obligor Debtors are also party to the Second Lien Term Loan

         Agreement with the lenders party thereto (collectively, the “Second Lien Term Loan

         Lenders”). Pursuant to the Second Lien Term Loan Agreement, the Company borrowed an

         aggregate principal amount of $140 million in term loans (collectively, the “Second Lien Term

         Loan”) from the Second Lien Lenders.

                         40.    Obligations under the Second Lien Term Loan (the “Second Lien

         Obligations”) are secured by (i) a second-priority interest in the Term Loan Collateral, junior to

         the interests securing obligations outstanding under the First Lien Term Loan, and (ii) a third-

         priority interest in the ABL Collateral, junior to the interests securing obligations outstanding

         under the ABL Revolver and the First Lien Term Loan. The Second Lien Term Loan bears an

         interest rate of LIBOR plus 7.25% and matures on June 28, 2021. As of the Petition Date, the

         aggregate principal amount outstanding under the Second Lien Term Loan is approximately

         $140 million, plus accrued and unpaid interest thereon and out-of-pocket costs and expenses of

         the administrative agent.

                (iv)     Intercreditor Agreement

                         41.    The relative contractual rights of the holders of the ABL Obligations, the

         First Lien Obligations, and the Second Lien Obligations are governed by that certain

         Intercreditor Agreement, dated as of June 28, 2013 (as may be amended, restated, supplemented,

         or otherwise modified from time to time, the “Intercreditor Agreement”). The Intercreditor

         Agreement controls the rights and obligations of holders of the Debtors’ obligations outstanding

         under the ABL Revolver, the First Lien Term Loan, and the Second Lien Term Loan with

         respect to, among other things, priority, matters of debtor-in-possession financing, the use of

         cash collateral, and adequate protection.
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                 2.       Equity Ownership

                          42.     CTI is a privately held company. As of the Petition Date, affiliate entities

         of Goldman Sachs and T.H. Lee collectively hold approximately 94.31% of outstanding shares in

         Chef Holdings, Inc., with the remainder disparately held by former and existing management

         members. All other Debtors are all wholly-owned direct or indirect subsidiaries of Chef

         Holdings, Inc.7

                        IV.     Events Leading to Commencement of Chapter 11 Cases

                          43.     While the Debtors’ business as a whole remains operationally sound, a

         number of market factors and other unexpected events have led to a decline in profitability and a

         liquidity shortfall for the Company. Specifically, and as described in greater detail below, the

         Debtors have experienced increased competition, market softness with certain key customers,

         high upfront costs in connection with improving food safety and quality, a capital expenditure

         dispute, and large interest payments due under the First Lien Term Loan Agreement and Second

         Lien Term Loan Agreement. Consequently, the Debtors have negotiated the Prepackaged Plan

         with their key creditor constituencies to de-lever their balance sheet and increase operational

         liquidity.

         A.      Sales Decline from Market Competition with Recent Improvements

                          44.     CTI’s recent profitability decline is attributable in part to an increase in the

         number of protein processors in competitive segments of the food manufacturing and foodservice

         industries, which led to losses in customer shares and a decrease in new business for the

         Company. Simultaneously, as described below in more detail, the Company’s costs have

         increased over time. The combination of increased competition and increased costs resulted in


         7
          Certain non-Debtor individuals hold non-voting “Profit Units” in Chef Investment, LLC, but all Preferred Units
         and Common Units are held by Chef Holdings, Inc. and CTIF Holdings, Inc.
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         lower volumes and narrower profit margins. The losses were particularly acute for taco meat

         production—historically one of CTI’s top three products by sales volume—with an

         approximately 43.1% decline in volume sold between 2016 and 2018. While the issue was most

         severe for its taco meat production, the Company’s overall volume sold declined by

         approximately 13.6% over the same two-year period.

                        45.     Nonetheless, CTI’s recent business performance provides signs of an

         upward trend. In its fourth quarter of 2018, CTI achieved an EBITDA equal to the first three

         quarters of the year combined. These recent results were obtained through the reacquisition of

         lost business with existing customers, incremental sales to new customers, and the development

         of innovative products for new business channels.

         B.     Operational and Food Safety Cost Expenditures

                        46.     CTI’s recent profitability decline is also partly attributable to a spike in

         operational costs. First, as described above, the Company has lately expended a significant

         amount of resources to improve the productivity and food safety levels across all of its facilities.

         The Company has generated some initial returns on those investments already, such as with the

         decrease in plant safety incidents. Yet much of CTI’s recent corporate improvement efforts—

         such as investing in customer partnerships and overhauling its R&D and sales approaches—will

         likely require a longer time horizon before the Company is able to realize the bulk of the returns

         on its investments.

                        47.     The Company has also been exposed to a number of unexpected

         operational costs. For example, CTI acquired Liguria in 2016 expecting to capitalize

         immediately on Liguria’s presence in a niche market of the protein processing industry, and to

         incorporate Liguria’s products into the menu of options available to CTI’s other customers.

         Shortly after the acquisition, however, the Company discovered a number of issues at the
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         Humboldt Facility that delayed CTI’s ability to take advantage of the Liguria acquisition and

         incorporate the Liguria business into the rest of the Company effectively. Although the

         Company has made much headway in stabilizing the Liguria business, as with the Company’s

         other corporate efficiency initiatives, it will likely take additional time before the Company is

         fully able to realize the benefits of its investment.

                         48.     Other segments of CTI’s business experienced a number of recent

         financial and operational setbacks as well. For example, after expansion of its Owingsville

         Facility, the Company has been in the process of transitioning the production of certain meat

         products to the expanded Owingsville Facility. The Company has come across a number of

         difficulties in effecting that expansion and transition, largely due to the more complex

         operational processes and products. Additionally, several of the Company’s customer contracts

         provide that the Company bear the cost of freight. Consequently, after a substantial uptick in

         freight costs, CTI incurred expenses that were significantly greater than anticipated.

                         49.     The Company’s profitability also suffered from food quality incidents in

         2017 and 2018. Although the Company quickly identified and remedied the issues, those

         occurrences led to a loss of customer sales and to the incurrence of significant costs in remedying

         the situation and ensuring the integrity of products manufactured on a go-forward basis. These

         costs, albeit temporary, have collectively had a material impact on the Company’s recent

         profitability levels.

         C.      Capital Expenditure Reimbursement Issue

                         50.     CTI has also experienced diminished liquidity due to a capital recovery

         dispute with one of its customers. Specifically, in connection with one of CTI’s product lines at

         the Owingsville Facility, the Company invested in certain specialized packaging equipment at

         the customer’s request. CTI initially paid for the upfront costs of the equipment with the
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         agreement that it would recover such costs through reimbursement payments during the life of

         the contract; however, the customer subsequently unilaterally stopped making the reimbursement

         payments. As of the Petition Date, approximately $4.4 million in capital recovery expenses

         remain outstanding from the customer for the packaging equipment and CTI continues to

         evaluate potential resolutions.

         D.     Interest Payment

                        51.     Lastly, the immediate catalyst leading to the commencement of these

         chapter 11 cases is the approximately $9.25 million interest payment on the First Lien Term

         Loan and Second Lien Term Loan that became due and owing on January 8, 2019 (the “January

         Interest Payment”).

         E.     Debtors’ Prepetition Restructuring Efforts

                        52.     On June 25, 2018, the Debtors engaged Centerview Partners LLC

         (“Centerview”), as investment banker, to assist with, among other things, identifying and

         developing potential restructuring options. On August 9, 2018, the Debtors also engaged Weil,

         Gotshal & Manges, LLP (“Weil”) as restructuring counsel.

                        53.     In the time leading up to the Petition Date, the Debtors have taken

         significant steps to evaluate and implement strategies to increase liquidity and restore

         profitability. For example, the Company, with the assistance of its advisors, (i) implemented a

         series of cost-saving measures and productivity improvements through the F1 Program discussed

         above and (ii) explored various potential alternative transactions.

                        54.     In early November 2018, the Debtors and their advisors also began

         engaging in arms’ length negotiations with the Ad Hoc Group to develop a comprehensive

         financing and restructuring plan. Further, in November 2018, CTI’s board of directors


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         established an independent restructuring committee (the “Restructuring Committee”) to

         evaluate and negotiate a potential restructuring transaction for the Company, among other things.

                        55.     On November 20, 2018, the Restructuring Committee separately retained

         Katten Muchin Rosenman LLP (“Katten”) as independent counsel. Specifically, the

         Restructuring Committee, with the assistance of Katten, conducted a thorough investigation into

         whether any potentially material claims or causes of action existed against directors, officers, or

         existing equity holders of the Debtors, including Goldman Sachs and T.H. Lee. Katten made

         extensive diligence requests to the Debtors, reviewed materials provided in response,

         interviewed several potential witnesses, and prepared a report for the Restructuring Committee

         evaluating the strengths and weaknesses of any such potential claims or causes of action.

         Ultimately, based on that investigation and the report prepared in connection therewith, the

         Restructuring Committee determined it was unlikely that any such meritorious claims or causes

         of action exist that ought to be pursued.

                        56.     By January 8, 2019, the Debtors, the Ad Hoc Group, and the ABL Agent

         had not reached a final agreement on the terms of a consensual restructuring transaction, but

         remained engaged in good faith negotiations. To allow all parties to continue such discussions

         while mitigating concerns over the January Interest Payment, the Debtors, the Ad Hoc Group,

         and the ABL Agent entered into forbearance agreements (the “Forbearance Agreements”)

         pursuant to which the Ad Hoc Group and the ABL Agent agreed to forbear from exercising

         remedies under the First Lien Term Loan Agreement, the Second Lien Term Loan Agreement,

         and the ABL Credit Agreement until January 31, 2019. Certain of the parties subsequently

         agreed to extend the terms of the Forbearance Agreements to February 28, 2019.




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         F.      Restructuring Support Agreement and Prepackaged Plan

                         57.      On March 7, 2019, after months of negotiations, the Debtors, with the aid

         of their advisors and the approval of the Restructuring Committee and the board of directors,

         executed the Restructuring Support Agreement with the Consenting Creditors and the

         Consenting Sponsors in support of the restructuring. The restructuring transaction contemplated

         by the Restructuring Support Agreement, as further detailed in the Prepackaged Plan, will

         effectuate a debt-for-equity swap that deleverages the Company’s balance sheet, increases its

         liquidity, and allows CTI to continue operating in the ordinary course of business with minimal

         disruption.

                         58.      Upon its full implementation, the Prepackaged Plan will reduce the

         Company’s balance sheet liabilities from approximately $580 million in prepetition funded debt

         down to approximately $175 million in funded debt. In addition to reducing its funded debt

         burden by approximately 70%, the Company will emerge from chapter 11 with access to a new

         working capital facility that will provide sufficient liquidity to allow the Company to continue

         funding business operations.

                         59.      Under the terms of the Prepackaged Plan, in full and final satisfaction of

         their prepetition claims, holders of First Lien Term Loan Claims will receive their pro rata shares

         of:

                         (i)      97% of the equity in the reorganized Debtors (the “New Common
                                  Shares”),8 subject to dilution by New Common Shares issued on account
                                  of a proposed management incentive plan and a backstop fee; and

                         (ii)     a $50 million last-out tranche of loans under a first lien exit term loan
                                  facility (the “Exit Term Loan Facility”).


         8
           If holders of Second Lien Term Loan Claims do not vote to accept the Prepackaged Plan, holders of First Lien
         Term Loan Claims will also receive their pro rata shares of an additional 3% of New Common Shares, subject to
         dilution by New Common Shares issued on account of a proposed management incentive plan and a backstop fee.
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                        60.    Distributions to holders of Second Lien Term Loan Claims will depend

         upon whether that class of holders (the “Second Lien Class”) votes to accept the Prepackaged

         Plan. If the Second Lien Class votes to accept, then each holder of Second Lien Term Loan

         Claims will receive its pro rata share of 3% of the New Common Shares, subject to dilution by

         New Common Shares issued on account of a proposed management incentive plan and a

         backstop fee. If the Second Lien Class does not vote to accept the Prepackaged Plan, however,

         then holders of Second Lien Term Loan Claims will not receive any distributions.

                        61.    Irrespective of how the Second Lien Class votes on the Prepackaged Plan,

         General Unsecured Claims will be paid in the ordinary course and will be otherwise unimpaired,

         subject to all other rights or defenses the Company may otherwise have outside of chapter 11.

         Existing equity interests in Chef Holdings, Inc. will be cancelled on the Effective Date.

                        62.    Through the Restructuring Support Agreement, the Company has secured

         substantial support for the Prepackaged Plan from key stakeholders. The Restructuring Support

         Agreement, among other things, commits T.H. Lee and Goldman Sachs, as the Consenting

         Sponsors, and the Consenting Creditors to support the Prepackaged Plan and the broader

         restructuring transaction by, among other things:

                              Voting to accept the Prepackaged Plan;

                              Agreeing to provide the releases set forth in the Prepackaged Plan;

                              Supporting and taking all commercially reasonable steps to consummate
                               the Prepackaged Plan;

                              Refraining from taking any action that would delay or impede
                               consummation of the Prepackaged Plan;

                              Agreeing to certain procedures governing the transfer of the claims or
                               interests held by the Consenting Creditors or Consenting Sponsors, as
                               applicable; and


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                                  With respect to the Consenting Creditors, agreeing to forbear from
                                   exercising certain rights or remedies under the prepetition loan documents.

                          63.      Together, the Restructuring Support and the Prepackaged Plan provide a

         pathway toward a comprehensive restructuring of the CTI’s prepetition obligations, preserve the

         going-concern value of the Company’s business, maximize creditor recoveries, and provide for

         an equitable distribution to the Company’s stakeholders, all while minimizing disruption to day-

         to-day operations.

                     V.         Debtors’ Need for DIP Financing and Use of Cash Collateral

                          64.      As discussed above, CTI’s rapidly diminishing liquidity has necessitated

         the filing of these chapter 11 cases. In light of those liquidity issues, the Debtors require

         immediate access to debtor-in-possession financing and the authority to use cash collateral to

         ensure that they have sufficient working capital to operate their businesses and to administer

         their estates. The combination of market changes, unanticipated operational issues, and

         unsustainable interest expenses has led to an acute deterioration of the Company’s cash flows,

         which, if unaddressed, will stymie the Debtors’ business operations.

                          65.      In the fall of 2018, the Company and its advisors began evaluating the

         Company’s cash flow and liquidity needs in a chapter 11 scenario to determine how much

         postpetition financing would be required to operate the Debtors’ business and pay administrative

         costs during a chapter 11 process, including the financing costs of postpetition credit facilities.

         Among other things, they analyzed the potential acceleration of demands on available liquidity

         following the commencement of these chapter 11 cases, including potential working capital

         contraction and incremental letter of credit posting requirements. Based on this analysis, the

         Debtors and their advisors concluded that the Debtors would require access to at least



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         approximately $140 million in cash to finance their operations and maintain sufficient liquidity

         assuming a potential six-month duration for these chapter 11 cases.

                          66.      As of the Petition Date, the Debtors have only a small amount of cash on

         hand and require immediate access to postpetition financing and authority to use cash collateral.

         Absent the proposed DIP Financing,9 the Debtors will not have the liquidity necessary to, among

         other things, fund payroll and satisfy their other working capital and general corporate purposes.

         Access to sufficient working capital and liquidity is necessary and vital to avoid the liquidation

         of CTI and for the preservation of its going concern value and successful reorganization for the

         benefit of all of its stakeholders.

                          67.      Absent the authority to enter into and access the DIP Financing, even for a

         limited period of time, the Company will be unable to continue operating its businesses, which

         will cause irreparable harm to CTI and its stakeholders. I believe that the current DIP Budget (as

         attached to the DIP Motion as Exhibit D) provides an accurate reflection of the Debtors’ funding

         needs over the identified period and is reasonable and appropriate given the circumstances.

                          68.      It is also imperative to have sufficient DIP Financing in place because,

         without confirmation of the same, CTI’s business partners, employees, and customers may

         question whether the Company will be well-capitalized during these chapter 11 cases in order to

         ensure the business will continue as usual. It has become apparent through the ongoing dialogue

         between the Debtors and their advisors, on the one hand, and the Company’s customers and

         vendors, on the other, that any concerns regarding the Company’s go-forward liquidity and


         9
           Capitalized terms used but not otherwise defined in this Section V shall have the meanings ascribed to such terms
         in the Motion of Debtors Pursuant to 11 U.S.C. §§ 363 and 364 For Entry Of Orders (I) Authorizing Debtors to
         (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Superpriority
         Administrative Expense Status, (III) Granting Adequate Protection to Prepetition Secured Parties, (IV) Modifying
         Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief (the “DIP Motion”), filed
         contemporaneously herewith.
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         ability to operate the business may result in a decision to use alternative suppliers, which in turn

         would create a potential outflow of business that would irreparably harm the Company. To

         avoid losses to key customers and business partners, and to minimize unnecessary disruption to

         business operations, I believe it is crucial that CTI convey to the market that it will be able to

         sustain itself through these chapter 11 proceedings and continue to operate in the ordinary course

         of business. Consequently, I believe that the proposed DIP Financing is in the best interests of

         the Company and its stakeholders.

                                           VI.     First Day Pleadings

                        69.     The First Day Pleadings seek relief to allow the Debtors to meet necessary

         obligations and fulfill their duties as debtors in possession. I am familiar with the contents of

         each First Day Pleading and believe that the relief sought in each First Day Pleading is necessary

         to enable the Debtors to operate in chapter 11 with minimal disruption or loss of productivity and

         value, constitutes a critical element in achieving a successful reorganization of the Debtors, and

         best serves the Debtors’ estates and creditors’ interests. The facts set forth in each First Day

         Pleading are incorporated herein by reference. Capitalized terms used but not otherwise defined

         in this section of this Declaration shall have the meanings ascribed to them in the relevant First

         Day Pleadings. Below is an overview of each of the First Day Pleadings.

         A.     Administrative Motions and Applications

                1.      Joint Administration Motion

                        70.     Pursuant to the Motion of Debtors pursuant to Fed. R. Bankr. P. 1015(b)

         For Entry of Order Directing Joint Administration of Chapter 11 Cases (the “Joint

         Administration Motion”), the Debtors request entry of an order directing consolidation of their

         chapter 11 cases for procedural purposes only. There are 17 Debtors, and I have been informed

         that there are approximately 18,000 creditors and several other parties in interest in these cases. I
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         believe that joint administration of these cases will save the Debtors and their estates substantial

         time and expense because it would remove the need to prepare, replicate, file, and serve

         duplicative notices, applications, and orders. Joint administration will also relieve the Court

         from entering duplicative orders and maintaining duplicative files and dockets. Importantly, I do

         not believe that joint administration will adversely affect the substantive rights of any parties in

         interest because the administrative consolidation of the estates would only be for procedural

         purposes. Based on the foregoing, I believe that the relief requested in the Joint Administration

         Motion should be approved.

                2.      Prime Clerk Retention Application

                        71.     Pursuant to the Application of Debtors Pursuant to 11 U.S.C §105(a) and

         28 U.S.C. §156(c) For Appointment of Prime Clerk LLC as Claims and Noticing Agent Effective

         as of the Petition Date (the “Prime Clerk Retention Application”), the Debtors request entry of

         an order appointing Prime Clerk LLC as claims and noticing agent (“Claims and Noticing

         Agent”) in the Debtors chapter 11 cases, in accordance with the terms and conditions of that

         certain Engagement Agreement dated December 5, 2018, by and between Chef Holdings, Inc.

         and Prime Clerk effective as of the Petition Date. Prime Clerk’s duties will include preparing

         and serving required notices and documents in these chapter 11 cases in accordance with the

         Bankruptcy Code and the Bankruptcy Rules in the form and manner directed by the Debtors.

         The terms of Prime Clerk’s retention are set forth in the Engagement Agreement attached to, and

         filed contemporaneously therewith, the Prime Clerk Retention Application.

                        72.     I understand Prime Clerk is comprised of leading industry professionals

         with significant experience in both the legal and administrative aspects of large, complex

         chapter 11 cases. Prime Clerk’s professionals have experience in noticing, claims

         administration, solicitation, balloting and facilitating other administrative aspects of chapter 11
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         cases and experience in matters of this size and complexity. I believe that Prime Clerk’s rates

         are competitive and reasonable given Prime Clerk’s quality of services and expertise. Moreover,

         I understand that in view of the number of anticipated claimants and the complexity of the

         Debtors’ businesses, the Debtors submit that the appointment of a claims and noticing agent is

         required by Local Rule 2002-1(f) and is otherwise in the best interests of both the Debtors'

         estates and their creditors. Based on the foregoing, I believe that the relief requested in the

         Prime Clerk Retention Application should be approved.

         B.     Operational Motions Requesting Immediate Relief

                1.      Cash Management Motion

                        73.     Pursuant to the Motion of Debtors for Interim and Final Orders

         (I) Authorizing Debtors to (A) Continue Using Existing Cash Management System, Bank

         Accounts, and Check Stock, (B) Implement Ordinary Course Changes to Cash Management

         System, and (C) Honor Certain Prepetition Obligations Related Thereto, (II) Providing

         Administrative Expense Priority for Postpetition Intercompany Claims, (III) Extending Time to

         Comply with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief (the “Cash

         Management Motion”), the Debtors request: (i) authority to (a) continue using their existing

         Cash Management System, Bank Accounts, and check stock, (b) implement changes to their

         Cash Management System in the ordinary course of business, including, without limitation,

         opening new or closing existing Bank Accounts, and (c) honor certain prepetition obligations

         related to the Cash Management System, (ii) administrative expense priority for postpetition

         Intercompany Claims, (iii) a waiver or an extension of time to comply with certain requirements

         of section 345(b) of the Bankruptcy Code, and (iv) related relief.

                        74.     I understand that the Cash Management System is tailored to meet the

         Debtors’ operating needs as a provider of custom foods solutions to major chain restaurants in
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         North America. The Cash Management System enables the Debtors to collect and disburse cash

         generated by their business efficiently, pay their financial obligations, centrally control and

         monitor corporate funds and available cash, comply with the requirements of their financing

         agreements, reduce administrative expenses, and efficiently obtain accurate account balances and

         other financial data. I believe it is critical that the Cash Management System remain intact

         during these chapter 11 cases to ensure seamless continuation of transactions and uninterrupted

         collection of revenues.

                        75.     The Company also maintains a Corporate Credit Card Program, pursuant

         to which certain employees use credit cards issued by Wells Fargo to incur travel and meal

         expenses, business office expenses, postage, parking, and certain other Business Expenses in

         connection with their employment duties. I understand the Company incurs on average

         approximately $325,000 of aggregate Business Expenses through the Corporate Credit Card

         Program each month. CTI remits the requisite payments for the Corporate Credit Card Program

         directly to Wells Fargo on a monthly basis. I believe the Corporate Credit Card Program is

         essential to the Debtors’ operations. The Corporate Credit Card Program enables CTI’s

         employees to conduct business more efficiently by purchasing goods and services that benefit the

         Debtors’ business on the Debtors’ behalf. Without the program, I believe employees would

         likely either have to pay for the upfront costs of business travel and corporate expenses and then

         wait for reimbursement, or lose the ability to pay for such Business Expenses. I believe

         continuation of the Corporate Credit Card Program will help minimize the adverse effect of the

         commencement of these chapter 11 cases on the Debtors’ business.

                        76.     I understand that, in light of the Debtors’ corporate structure, the Cash

         Management System relies in part on the Debtors’ ability to engage in various Intercompany


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         Transactions in the ordinary course of business. The Debtors generally track all Intercompany

         Transactions and Intercompany Claims electronically in their centralized accounting system, the

         results of which are recorded concurrently on the applicable Debtor’s balance sheets and

         regularly reconciled. I am informed that the accounting system requires that all general ledger

         entries be balanced at the legal entity level, and, therefore, when the accounting system enters an

         intercompany receivable on one entity’s balance sheet, it also automatically creates a

         corresponding intercompany payable on the applicable affiliate’s balance sheet. This results in a

         net balance of zero when consolidating all intercompany accounts. In the past, Liguria Foods,

         Inc. has also made certain interest payments to CTI Foods Holding Co., LLC pursuant to that

         certain Promissory Note, dated February 12, 2016, entered into between Enzo Holdings, Inc., as

         the borrower, and CTI Foods Holding Co., LLC, as the lender (the “Intercompany Note”).10 I

         understand that the Intercompany Note was initially issued in connection with the Company’s

         acquisition of the Liguria Business in 2016 in order to optimize the tax efficiency of the

         corporate enterprise as a whole. However, no payments have been made on account of the

         Intercompany Note since June 2018 and the Company does not anticipate any payments to occur

         during these chapter 11 cases.

                          77.     If the Debtors are required to alter the way in which they collect and

         disburse cash throughout the Cash Management System, I believe their operations would

         experience severe disruptions, which ultimately would frustrate the Debtors’ ability to effectuate

         their restructuring strategy and maximize the value of their estates. Based on the foregoing, I

         believe that the relief requested in the Cash Management Motion is in the best interests of the

         Debtors, their estates, and all parties in interest and should be approved.

         10
           At the time of execution of the Intercompany Note, Liguria Foods, Inc. operated under the name Enzo Holdings,
         Inc.
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                2.      Employees Motion

                        78.     Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),

         363(b), and 507(a) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Orders

         (I) Authorizing Debtors to (A) Pay Prepetition Wages, Salaries, Employee Benefits, and Other

         Compensation, (B) Maintain Employee Benefit Programs and Pay Related Obligations, and

         (C) Pay Prepetition Employment Expenses, and (II) Granting Related Relief (the “Employees

         Motion”), the Debtors request authority to, in their sole discretion, (a) pay Employee

         Compensation Obligations and Employee Benefit Obligations, related expenses, and fees and

         costs incident to the foregoing, including amounts owed to third-party service providers and

         administrators and tax authorities, and (b) maintain, continue to honor, and pay amounts with

         respect to the Debtors’ business practices, programs, and policies for their employees as such

         were in effect as of the Petition Date and as such may be modified or supplemented from time to

         time in the ordinary course of business.

                        79.     As described more fully in the Employees Motion, compensation of the

         Debtors’ approximately 1,900 Employees, and Supplemental Workforce of between 130 and 170

         temporary employees and independent contractors, is critical to the Debtors’ continued

         operations and successful reorganization. I believe the Employees and Supplemental Workforce

         are critical to the success of the Debtors’ business, given that they are responsible for ensuring,

         among other things, that operations at each of the Debtors’ seven facilities continue running

         smoothly and customer satisfaction is met on a daily basis. I believe that any delay in paying or

         failure to pay the prepetition Employee Obligations could irreparably impair the morale of the

         Debtors’ workforce at the time when their dedication, confidence, retention, and cooperation are

         most crucial. Failure to pay the Employee Obligations could also inflict a significant financial

         hardship on the Employees’ and the Supplemental Workforce personnel’s families. The Debtors
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         cannot risk such a substantial disruption to their business operations, especially at this critical

         juncture, and it is inequitable to put Employees and the Supplemental Workforce at risk of such

         hardship. Without this relief, otherwise-loyal Employees may seek other employment

         opportunities, thereby putting at risk the Debtors’ continued operation as a reorganized

         enterprise.

                        80.     I similarly believe that payment of prepetition amounts incurred in

         connection with the Debtors’ Reimbursement Programs is necessary because any other treatment

         of Employees would be highly inequitable and risk alienation of the Debtors’ workforce.

         Employees who have incurred expenses in reliance on the Debtors’ historical practice of

         reimbursing Employees for such expenses should not be forced personally to bear the cost,

         especially because those Employees incurred such expenses for the Debtors’ benefit, in the

         course of their employment by the Debtors, and with the understanding that they would be

         reimbursed for doing so.

                        81.     I understand that, in the ordinary course of business, the Debtors make

         certain deductions from Employees’ gross pay—in some cases because the deductions are

         required by law—on account of certain things such as garnishments, child support, spousal

         support, service charges and similar deductions, as well as other pre- and post-tax deductions

         payable pursuant to certain employee benefit plans discussed in the Employees Motion. In

         addition to these Deductions, I understand that certain laws require the Debtors to withhold

         amounts from the Employees’ gross pay related to federal, state, and local income taxes, Social

         Security and Medicare taxes for remittance to the appropriate federal, state, or local taxing

         authority, which the Debtors must match, from their own funds, amounts for Social Security and




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         Medicare taxes and pay, based on a percentage of gross payroll, additional amounts for federal

         and state unemployment insurance.

                        82.    The Debtors also make certain Employee Benefits available to eligible

         Employees. The Employee Benefits fall within the following categories: (a) paid time off,

         including personal time off and holidays; (b) medical, dental, vision, and prescription drug

         benefits, life insurance, accidental death and dismemberment insurance, short and long term

         disability insurance, certain voluntary insurance programs, certain mental health and wellness

         support services, and health savings accounts; (c) retirement savings plans, including a 401(k)

         plan; (d) severance; and (e) certain other benefits. I believe that maintaining the Employee

         Benefits are critical for maintaining Employee morale during these chapter 11 cases, and to

         prevent Employees from seeking employment from other companies that offer similar benefits,

         including the Debtors’ competitors.

                        83.    As described in the Employees Motion, in certain instances the Debtors

         pay fees to third-party administrators and servicers of Employee Compensations Obligations and

         the Employee Benefits. Third-party administrators assist the Debtors with, among other things,

         servicing the Health Benefits Claims, administering the Employee Benefits, and payroll

         servicing and payroll transfer administration in connection with the Employee Compensation

         Obligations. I believe that continued payment to such third-party administrators is necessary,

         and without the continued service of these administrators, the Debtors will be unable to continue

         honoring their obligations to Employees in an efficient and cost-effective manner.

                        84.    With respect to the Supplemental Workforce, I believe the Debtors require

         the services provided by the Supplemental Workforce engaged through the Employment

         Agencies. The Supplemental Workforce includes individuals who have expertise related to the


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         Debtors’ operations and provide services in specific areas, including accounting, asset protection,

         real estate, marketing, operations, communications, merchandising, maintenance, and human

         resources. I believe that the relief sought in the Employees Motion in connection with the

         Supplemental Workforce is necessary and critical to avoid immediate and irreparable harm to the

         Debtors, and is in the best interests of the Debtors, their estates, and all parties in interest.

                         85.     I also believe that the total amount sought to be paid pursuant to the

         Employees Motion is modest compared to the magnitude of the Debtors’ overall business.

         Furthermore, the Debtors have sufficient funds to pay the Employee Obligations in the ordinary

         course using cash maintained by the Debtors and cash generated through operations.

         Accordingly, I believe the relief requested in the Employees Motion is necessary to avoid

         immediate and irreparable harm and is in the best interests of the Debtors, their estates, and all

         parties in interest.

                 3.      All Trade Motion

                         86.     Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),

         363(b), and 503(b) and Fed. R. Bankr. P. 6003 and 6004 for an Order (I) Authorizing Payment

         of Prepetition Trade Claims in the Ordinary Course of Business and (II) Granting Related Relief

         (the “All Trade Motion”), the Debtors request (i) authority to pay Trade Creditors, in the

         ordinary course of business, undisputed prepetition claims for goods and services related to the

         Debtors’ operations and other ordinary course claims and (ii) related relief. The Debtors also

         request authority to condition the payment of Trade Claims upon the Trade Creditors’ agreeing

         to maintain or reinstate Customary Trade Terms during the pendency of these chapter 11 cases

         that are at least as favorable as those existing on or prior to the Petition Date or such other

         Customary Trade Terms acceptable to the Debtors in their sole discretion.


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                        87.     To operate in the ordinary course of business, the Debtors utilize a number

         of Trade Creditors to provide the goods and services that facilitate such operations. These

         essential goods and services include logistics and transportation services, equipment, supply and

         packaging materials, technology support, raw materials, facilities maintenance, utilities,

         professional services, marketing services, and other items. I believe that Trade Creditors could

         refuse to continue doing business with the Debtors without the risk of incurring material

         damages or other contractual obligations. Such actions, however, would cause significant

         disruption to the Debtors’ business.

                        88.     For the 12 months prior to the Petition Date, the Debtors’ average monthly

         payment to Trade Creditors was approximately $86,280,000. The Debtors estimate, as of the

         Petition Date. The following table summarizes the Debtors’ estimate of the total amount of each

         category of Trade Claims outstanding as of the Petition Date, including estimates for amounts

         coming due within 21 days of the Petition Date.

                                                  Estimated Total         Estimated Amount
                  Type of Claim                 Amount Outstanding       Due Within 21 Days of
                                                 as of Petition Date         Petition Date
                  Logistics and
                                                     $1,908,000                 $1,822,000
                  Transportation
                  PACA/PASA Claims                  $12,232,000                $10,476,000
                  Miscellaneous Lien
                                                     $4,127,000                 $3,593,000
                  Claims

                  503(b)(9) Claims                   $6,466,000                 $5,162,000

                  Non-Priority Trade
                                                     $9,042,000                 $8,245,000
                  Claims
                  Total:                            $33,775,000                $29,298,000


                        89.     Notably, the majority of Trade Claims are held by the Debtors’ raw goods

         suppliers, including the Debtors’ meat distributors, many of which are sole source and “directed-

         buy” suppliers that are critical to meeting customer needs and difficult to replace. Moreover,
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         many of the Trade Creditors are not subject to long term contracts and instead operate under spot

         purchase orders such that they would have no obligation to continue shipping goods to the

         Debtors on a go-forward basis if the Debtors were to refuse or delay payment of their Trade

         Claims. Further, due to the perishable nature of raw materials, the Debtors require constant

         deliveries of such goods, making the Debtors highly dependent on many of the Trade Creditors.

         Accordingly, if Trade Creditors were to refuse to continue doing business with the Debtors, the

         Debtors business would be disrupted significantly.

                        90.       In addition, because the Trade Creditors are already familiar with the

         Debtors’ assets and business needs, often as a result of years-long relationships, I believe they

         are in the best position to provide the necessary goods and services to the Debtors and are the

         most likely to do so on commercially reasonably terms. Forcing the Debtors to obtain

         replacement goods and services, if replacement is an option, would likely cause substantial delay

         and significant costs.

                        91.       Further, the relief requested reflects only a difference in when Trade

         Creditors will be paid, not in how much. As indicated above, through the Prepackaged Plan, the

         Debtors intend to deleverage their balance sheet without interruption to their business operations.

         In this regard, the Consenting Creditors have agreed to the unimpaired treatment of Other

         Secured Claims, Other Priority Claims, and General Unsecured Claims under the Plan – one of

         which applies to each of the Trade Claims.

                        92.       I believe that paying the Trade Claims – approximately 6% of the total

         debt in these chapter 11 cases – in the ordinary course is prudent when compared to the amount

         the Debtors’ stakeholders stand to lose if the Debtors’ businesses were to be interrupted.

         Further, I understand that certain of the Trade Creditors may be entitled to assert liens, including


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         mechanic’s liens, against the Debtors’ property for their respective Trade Claims arising from

         improvements and repairs made to the Debtors’ property and equipment, as well as impose

         statutory trusts on certain of the Debtors’ inventory and proceeds arising therefrom under the

         Perishable Agricultural Commodities Act of 1930, as amended, 7 U.S.C. §§ 499a et seq., and

         Packers and Stockyards Act of 1921 as amended, 7 U.S.C. § 181 et seq. Therefore, in light of

         the above, I believe that the relief requested in the All Trade Motion furthers the Debtors’

         overarching restructuring goals without prejudice to the Debtors’ stakeholders.

                4.      Taxes Motion

                        93.     Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),

         363(b), 507(a), and 541(d) and Fed. R. Bankr. P. 6003 and 6004 for an Order (I) Authorizing

         Debtors to Pay Certain Prepetition Taxes and Fees and (II) Granting Related Relief (the “Taxes

         Motion”), the Debtors request authority to satisfy, in the Debtors’ sole discretion, all Taxes and

         Fees due and owing to various local, state, and federal Taxing Authorities that arose prior to the

         Petition Date, including all Taxes and Fees subsequently determined by audit or otherwise to be

         owed for periods prior to the Petition Date.

                        94.     The Taxes and Fees the Debtors typically incur in the ordinary course of

         business generally fall into the following categories: (a) franchise taxes, (b) property taxes,

         (c) sales and use taxes, (d) excise taxes, (e) income taxes, and (e) governmental fees. In the 12

         months prior to the Petition Date, the Debtors paid approximately $3,227,000 in Taxes and Fees,

         and I understand that approximately $1,384,000 of the Taxes and Fees relating to the prepetition

         period will become due and payable after the Petition Date, with approximately $250,000

         coming due within the 21 days following the Petition Date.

                        95.     Further, I believe that the failure to pay the aforementioned Taxes may

         cause the Taxing Authorities to take actions that would interfere with the Debtors’ continued
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         operations and potentially impose significant costs on the Debtors’ estates. Additionally, I

         understand that failure to satisfy the prepetition Taxes and Fees may jeopardize the Debtors’

         maintenance of good standing to operate in the jurisdictions in which they do business.

         Moreover, to the extent any prepetition Taxes and Fees remain unpaid by the Debtors, I

         understand that the Debtors’ officers and directors may be subject to lawsuits or criminal

         prosecution. Based on the foregoing, I believe that the relief requested in the Taxes Motion is in

         the best interests of the Debtors, their estates, and all parties in interest and should be approved.

                5.      Utilities Motion

                        96.     Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. § 105(a) and 366

         and Fed. R. Bankr. P. 6003 and 6004 for Entry of Interim and Final Orders (I) Approving

         Debtors’ Proposed Form of Adequate Assurance of Payment to Utility Companies, (II)

         Establishing Procedures for Resolving Objections by Utility Companies, (III) Prohibiting Utility

         Companies from Altering, Refusing, or Discontinuing Service, and (IV) Granting Related Relief

         (the “Utilities Motion”), the Debtors request (a) approval of the Debtors’ proposed form of

         adequate assurance of payment to the Utility Companies, (b) establishment of procedures for

         resolving objections by the Utility Companies relating to the adequacy of the proposed adequate

         assurance, (c) prohibition of the Utility Companies from altering, refusing, or discontinuing

         service to, or discriminating against, the Debtors on account of the commencement of these

         chapter 11 cases or outstanding prepetition invoices, and (d) related relief.

                        97.     As more fully described in the motion, in the ordinary course of business,

         the Debtors incur utility expenses, including on account of electricity, water, natural gas,

         information technology, waste, and other Utility Services from a number of Utility Companies,

         which the Debtors rely on to provide necessary support to their employees, vendors, and

         customers. I believe that preserving Utility Services on an uninterrupted basis is essential to the
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         Debtors’ ongoing operations and restructuring process. I believe that any interruption in Utility

         Services—even for a brief period—would seriously disrupt the Debtors’ ability to continue their

         loan origination and servicing operations. This disruption would adversely impact customer

         relationships and would result in a decline in the Debtors’ revenues. Such a result could

         seriously jeopardize the Debtors’ restructuring efforts to the detriment of all parties in interest.

         Therefore, I believe it is critical that Utility Services continue uninterrupted during these

         chapter 11 cases.

                        98.     My understanding is that the Debtors intend to pay postpetition obligations

         owed to the Utility Companies in a timely manner. The Debtors expect that cash flows from

         operations and their DIP Financing will be sufficient to pay postpetition obligations related to

         their Utility Services in the ordinary course of businesses. Based on a monthly average for the

         12 months prior to the Petition Date, the Debtors estimate that their cost of Utility Services for

         the next 30 days will be approximately $1,541,000. As of the Petition Date, the Debtors estimate

         that the total amount of the Adequate Assurance Deposit will be approximately $625,000.

                        99.     I believe the Adequate Assurance Deposit, in conjunction with the

         Debtors’ ability to pay for future Utility Services in the ordinary course of business, constitutes

         sufficient adequate assurance to the Utility Companies. Moreover, I believe the proposed

         Adequate Assurance Procedures are reasonable because they will ensure that the Utility Services

         continue while providing a streamlined process for Utility Companies to challenge the adequacy

         of the Proposed Adequate Assurance or seek an alternative form of adequate assurance. As a

         result, I believe that the relief requested in the Utilities Motion should be granted.

                6.      Insurance Motion

                        100.    Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),

         362(d), and 363(b) and Fed. R. Bankr. P. 4001, 6003, and 6004 for Interim and Final Orders
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         (I) Authorizing Debtors to Continue their Insurance Programs and Pay All Obligations with

         Respect Thereto and (II) Granting Related Relief (the “Insurance Motion”), the Debtors request

         authority to (a) continue all Insurance Programs in accordance with the applicable insurance

         policies and to perform with respect thereto in the ordinary course of business, (b) pay any

         prepetition obligations arising under the Insurance Programs, and (c) modify the automatic stay

         imposed by section 362 of the Bankruptcy Code to the extent necessary to permit the Debtors’

         employees to proceed with any claims they may have under the Workers’ Compensation

         Program.

                        101.    In the ordinary course of business, the Debtors maintain a workers’

         compensation insurance program and various liability, property, and other insurance programs

         that provide the Debtors with insurance related to, among other things, general liability,

         directors’ and officers’ liability, fiduciary liability, and property, crime, contamination, and

         umbrella coverage through several Insurance Carriers.

                        102.    Under the laws of the various states in which they operate, I understand

         that the Debtors are legally and contractually required to maintain certain Insurance Programs,

         including under state laws mandating that the Debtors maintain workers’ compensation coverage

         for their employees. The Insurance Carriers may also advance any part or all of the per claim

         retention under the Workers’ Compensation Program on behalf of the Debtors. Although the

         Debtors generally pay all deductibles in full themselves, in connection with the large deductible

         program, Arch Insurance Company may advance any part or all of the per claim retention on

         behalf of the Debtors. As a result, the Debtors were required to provide collateral to Arch

         Insurance Company in the form of a letter of credit issued under the ABL Credit Agreement,

         which Arch Insurance Company may draw upon in the event the Debtors fail to make the


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         deductible payments and it provides an advance. I understand that, as of the Petition Date, the

         face value of the applicable letter of credit is approximately $7,850,000, and there are

         approximately 110 open claims under the Workers’ Compensation Program.

                        103.    Through a variety of Insurance Carriers, the Debtors maintain various

         Liability and Property Insurance Programs, which provide the Debtors with insurance coverage

         for liabilities relating to, among other things, accidental contamination, property damage, general

         commercial crime, employment practices, automobile liability, umbrella, foreign liability, and

         various other property-related and general liabilities. The Liability and Property Insurance

         Programs help the Debtors manage the various risks associated with their businesses, and I

         understand that some of the Liability and Property Insurance Programs are also required by

         certain regulations, laws, and contracts that govern the Debtors commercial activities.

         Consequently, I believe that continuation of the Liability and Property Insurance Programs is

         essential to the ongoing operations of the Debtors’ businesses and the preservation of their

         estates.

                        104.    In addition to the Liability and Property Insurance Programs, the Debtors

         are party to four Professional Liability Programs that provide the Debtors with insurance

         coverage for directors’ and officers’ liability, fiduciary liability, and professional liability. The

         Debtors incur premiums under the Professional Liability Programs based upon fixed rates

         established and billed by the applicable Insurance Carriers, in addition to various deductibles.

                        105.    The Debtors utilize Marsh USA, Inc. as their insurance agent and broker

         for the Professional Liability Programs, as well as certain policies encompassed in the Liability

         and Property Insurance Programs, including the policies for contamination, employment

         practices, and commercial crime. The Debtors utilize Arthur J. Gallagher & Co. as their


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         insurance agent and broker for all other policies. The Insurance Brokers assist the Debtors with

         the procurement and negotiation of the applicable Insurance Programs and, in most

         circumstances, to remit premium payments to the Insurance Carriers on behalf of the Debtors.

         Additionally, the Insurance Brokers assist the Debtors with identifying and reviewing claims and

         other loss control and prevention services in connection with the Insurance Programs they

         brokered.

                        106.    The Debtors pay the Insurance Brokers certain Brokers’ Fees for their

         services. Marsh is paid on a commission basis for Insurance Programs procured by Marsh, with

         such commissions being earned upon inception of the applicable policy term. The Debtors pay

         Gallagher an annual fee of $190,000, which is paid on a quarterly basis. The Debtors may,

         however, credit against this annual fee the amount they pay Gallagher in commissions for

         procuring certain of the Insurance Programs. As of the Petition Date, the Debtors are not aware

         of any outstanding prepetition amounts owed to the Insurance Brokers on account of the Brokers

         Fees.

                        107.    In light of the risks applicable to the Debtors’ operations and the critical

         need for the Debtors to protect their assets from such risks, I believe it essential that the Debtors

         maintain the Insurance Programs and that they obtain authority to pay all Insurance Obligations

         related thereto. I believe the Debtors’ use of estate funds to pay the Insurance Obligations is

         justified because such obligations are necessary costs of preserving the Debtors’ estates.

         Furthermore, I understand that the Debtors are legally and contractually required to maintain

         certain Insurance Programs, including under state laws mandating that the Debtors maintain

         workers’ compensation coverage for their employees. Further, based on the Debtors’ current

         circumstances, I believe it is unlikely that the Debtors will be able to renew or replace their


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         existing Insurance Programs on terms more favorable than those currently offered by the

         Insurance Carriers, and the process of establishing new programs would also be burdensome and

         costly to the Debtors.

                         108.     In this regard, I believe the Insurance Programs are essential to the

         Debtors’ operations, as the Debtors would be exposed to significant liability if the Insurance

         Programs were allowed to lapse or terminate, which exposure could detrimentally impact the

         Debtors’ ability to reorganize successfully. It is similarly critical that the Debtors have the

         authority to supplement, amend, extend, renew, or replace their Insurance Programs as needed, in

         their business judgement. Based on the foregoing, I believe that the relief requested in the

         Insurance Motion is in the best interests of the Debtors, their estates, and all parties in interest

         and should be approved

                 7.      Customer Programs Motion

                         109.     Pursuant to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),

         363(b), and 507(a) and Fed. R. Bankr. P. 6003 and 6004 for an Order (I) Authorizing Debtors

         (A) to Honor Certain Prepetition Obligations to Customers and Continue Customer Programs in

         the Ordinary Course of Business and (B) File Under Seal Certain Supplements to the Debtors’

         Creditor Matrix, Professional Retention Applications, Affidavits of Service, and Related

         Documents and (II) Granting Related Relief (the “Customer Programs Motion”), the Debtors

         request authority, in their sole discretion, to maintain and administer customer-related programs,

         promotions, and practices, and pay and otherwise honor their obligations to customers relating

         thereto, whether arising prior to or after the Petition Date.

                         110.     The Debtors’ businesses depend upon the loyalty of the Debtors’

         customers. To maximize customer loyalty, the Debtors have maintained and followed, in the

         ordinary course of business, certain Customer Programs for the benefit of their customers,
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         including, rebate programs, customer bank programs, marketing programs, and research and

         conference programs. Many, if not all, of the Customer Programs are standard in the food

         service industry. Without the ability to continue their Customer Programs and to satisfy

         prepetition obligations in connection therewith, the Debtors risk losing market share and value of

         their businesses. The Customer Programs include: (a) the Rebate Program, (b) the Customer

         Banks, and (c) the Research and Conference Programs.

                        111.    The ability to continue administering the Customer Programs without

         interruption is essential to the Debtors’ valuable Customer relationships and goodwill, which will

         inure to the benefit of all of the Debtors’ stakeholders. I believe that if the Debtors are unable to

         continue the Customer Programs postpetition or honor the Customer Program Obligations, the

         Debtors risk alienating certain Customer constituencies, which may then form relationships with

         the Debtors’ competitors.

                        112.    The Customer Programs also are essential strategies for attracting new

         Customers and increasing sale volumes from existing Customers. Failure to continue the

         Customer Programs will place the Debtors at a significant – and potentially insurmountable –

         competitive disadvantage in the marketplace, amplifying the negative effect of customer

         uncertainty that may arise from the chapter 11 cases. The relief requested in the Customer

         Programs Motion will pay dividends with respect to their businesses, both in terms of

         profitability and the engendering of goodwill, especially at this critical time following the filing

         of the chapter 11 cases.

                        113.    Additionally, the Debtors’ business relationships with their Customers are

         a commercially sensitive matter. The Debtors are required by code and local rule to file a

         creditor matrix, professional disclosure schedules, and service affidavits which would necessarily


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         include the identities of, or other identifying information regarding, one or more of the Debtors’

         Customers. Such information, however, is not publicly known and is generally subject to

         confidentiality limitations contained in the Debtors’ Customer contracts.

                        114.   The Debtors are party to confidentiality agreements that prohibit public

         disclosure of certain of their customer relationships. Violation of those agreements could lead to

         a loss of business not only under such agreements but also on a wider scale to the extent that

         Customers perceive that their confidences cannot be kept by the Debtors. Disclosure of such

         relationships through public filing of the Confidential Customer Information could have a

         negative impact on the Debtors’ ability to retain and attract Customers and could also cause the

         Debtors to breach the terms of key Customer contracts that they wish to assume as part of the

         chapter 11 process.

                        115.   Accordingly, I believe that the Debtors have shown cause sufficient to

         warrant the authority to continue administering the Customer Programs, to honor any Customer

         Obligations relating thereto, and to file Confidential Customer Information under seal.

                                                    Conclusion

                        116.   This Declaration illustrates the factors that have precipitated the

         commencement of these chapter 11 cases and the critical need for the Debtors to implement the

         reorganization strategy embodied in the Prepackaged Plan.




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                        117.    I declare under penalty of perjury that, to the best of my knowledge and

         after reasonable inquiry, the foregoing is true and correct.

         Executed: March 11, 2019


                                                  Respectfully submitted,

                                                  By:       /s/ Kent Percy
                                                  Name:     Kent Percy
                                                  Title:    Chief Restructuring Officer


                                                  on behalf of


                                                  CTI FOODS, LLC
                                                  CHEF HOLDINGS, INC.
                                                  CHEF INTERMEDIATE, INC.
                                                  CTIF HOLDINGS, INC.
                                                  CHEF INVESTMENT, LLC
                                                  CTI FOODS ACQUISITION LLC
                                                  CTI FOODS HOLDING CO., LLC
                                                  CTI SERVICES CORPORATION
                                                  CTI ARLINGTON, LLC
                                                  CTI SAGINAW I, LLC
                                                  CTI KING OF PRUSSIA, LLC
                                                  CTI-SSI FOOD SERVICES, LLC
                                                  S & S FOODS LLC
                                                  CUSTOM FOOD PRODUCTS HOLDINGS, LLC
                                                  CUSTOM FOOD PRODUCTS, LLC
                                                  LIGURIA HOLDINGS, INC.
                                                  LIGURIA FOODS, INC.




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                                       Exhibit A

                            Restructuring Support Agreement




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                                                                              Execution Version



                       RESTRUCTURING SUPPORT AGREEMENT

       This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented, or
otherwise modified from time to time in accordance with the terms hereof, this “Agreement”),
dated as of March 7, 2019 is entered into by and among:

                (a)    Chef Holdings, Inc. (“Holdings”), Chef Intermediate, Inc., CTIF Holdings,
Inc., Chef Investment, LLC, CTI Foods Acquisition LLC, CTI Foods Holding Co., LLC, CTI
Services Corporation, CTI Foods, LLC, CTI Arlington, LLC, CTI Saginaw I, LLC, CTI King of
Prussia, LLC, CTI-SSI Food Services, LLC, S & S Foods LLC, Custom Food Products Holdings,
LLC, Custom Food Products, LLC, Liguria Holdings, Inc., and Liguria Foods, Inc., each such
entity a subsidiary of Holdings (collectively with Holdings, the “Company”);

                (b)    Thomas H. Lee Equity Fund VI, L.P., Thomas H. Lee Parallel Fund VI,
L.P., Thomas H. Lee Parallel (DT) Fund VI, L.P., Great-West Investors LP, Putnam Investments
Employees’ Securities Company III, LLC, THL Coinvestment Partners, L.P., THL Operating
Partners, L.P., Broad Street Principal Investments, L.L.C., MBD 2013 Holdings, L.P., and Bridge
Street 2013 Holdings, L.P. (collectively, in their capacities as such, the “Consenting Sponsors”);
and

               (c)     the undersigned lenders, or investment advisors or managers for the account
of lenders, party to that certain First Lien Term Loan Agreement, dated as of June 28, 2013 (as
amended, modified, or otherwise supplemented from time to time, the “First Lien Term Loan
Agreement”), by and among CTI Foods Holding Co., LLC, each of the guarantors named therein,
Cortland Capital Markets Services LLC, as successor administrative agent and collateral agent,
and the lenders holding outstanding loans issued thereunder (the “First Lien Term Loans”) party
thereto from time to time (the “First Lien Lenders” and, the undersigned First Lien Lenders,
together with their respective successors and permitted assigns and any subsequent First Lien
Lender that becomes party hereto in accordance with the terms hereof, the “Consenting First Lien
Creditors”) and/or that certain Second Lien Term Loan Agreement, dated as of June 28, 2013 (as
amended, modified, or otherwise supplemented from time to time, the “Second Lien Term Loan
Agreement”), by and among CTI Foods Holding Co., LLC, each of the guarantors named therein,
Morgan Stanley Senior Funding, Inc., as administrative agent and collateral agent, and the lenders
holding outstanding loans issued thereunder (the “Second Lien Term Loans”) party thereto from
time to time (“Second Lien Lenders,” together with their respective successors and permitted
assigns and any subsequent Second Lien Lender that becomes party thereto in accordance with the
terms hereof, the “Consenting Second Lien Creditors” and, together with the Consenting First
Lien Creditors, the Consenting Creditors”).

        The Company, each Consenting Creditor, each Consenting Sponsor, and any subsequent
Person that becomes a party hereto in accordance with the terms hereof are referred to herein as
the “Parties” and each individually as a “Party.” Capitalized terms used but not defined herein
shall have the meanings ascribed to them, as applicable, in the Plan (as defined below) attached
hereto as Exhibit A (including any schedules and exhibits attached thereto).

       When a reference is made in this Agreement to a Section, Exhibit, or Schedule, such
reference shall be to a Section, Exhibit, or Schedule, respectively, of or attached to this Agreement
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unless otherwise indicated. Unless the context of this Agreement otherwise requires, (i) words
using the singular or plural number also include the plural or singular number, respectively, (ii)
the terms “hereof,” “herein,” “hereby,” and derivative or similar words refer to this entire
Agreement, (iii) the words “include,” “includes,” and “including” when used herein shall be
deemed in each case to be followed by the words “without limitation,” and (iv) the word “or” shall
not be exclusive and shall be read to mean “and/or.” The Parties agree that they have been
represented by legal counsel during the negotiation and execution of this Agreement and, therefore,
waive the application of any law, regulation, holding, or rule of construction providing that
ambiguities in an agreement or other document shall be construed against the party drafting such
agreement or document.

                                           RECITALS

       WHEREAS, the Parties have agreed to a restructuring of the Company’s capital structure
(the “Restructuring”), which is anticipated to be implemented through a prepackaged plan of
reorganization (as may be supplemented, amended, or modified from time to time in accordance
with the terms hereof, the “Plan”), a solicitation of votes thereon (the “Solicitation”) pursuant to
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), and the commencement
by the Company of voluntary cases (the “Chapter 11 Cases”) under the Bankruptcy Code in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

       WHEREAS, as of the date hereof, the Consenting Sponsors, directly or indirectly, hold
approximately 94.31% of the outstanding equity interests in Holdings;

       WHEREAS, as of the date hereof, the Consenting Creditors hold, in the aggregate,
approximately 74.23% of the aggregate outstanding principal amount of the First Lien Term
Loans;

       WHEREAS, as of the date hereof, the Consenting Creditors hold, in the aggregate,
approximately 25.24% of the aggregate outstanding principal amount of the Second Lien Term
Loans;

        WHEREAS, certain of the Consenting Creditors (in such capacity, each a “DIP Term
Loan Commitment Party”) have agreed to commit to provide the DIP Term Loan Facility, and the
Company and the Consenting Creditors have reached an agreement for the consensual use of Cash
Collateral (as defined in the Bankruptcy Code), in accordance with and subject to the terms and
conditions set forth in the DIP Term Loan Term Sheet and pursuant to the terms and conditions
set forth in the DIP Orders;

       WHEREAS, the Restructuring will include the grant of a new Management Incentive Plan
consistent in form and substance with the term sheet attached hereto as Exhibit B;

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters set forth in the Plan and this Agreement.

      NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and



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sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

                    1.         Certain Definitions.

          As used in this Agreement, the following terms have the following meanings:

                (a)    “Alternative Restructuring” means any dissolution, winding up,
liquidation, reorganization, recapitalization, assignment for the benefit of creditors, merger,
transaction, consolidation, business combination, joint venture, partnership, sale, financing (debt
or equity), plan proposal, or restructuring of the Company, other than the Plan.

                    (b)        “Claim” has the meaning set forth in section 101(5) of the Bankruptcy
Code.

               (c)    “Confirmation Order” means the order of the Bankruptcy Court approving
the Disclosure Statement and confirming the Plan in the Chapter 11 Cases.

               (d)    “Consenting Class” means either the First Lien Lenders or the Second Lien
Lenders, as applicable.

               (e)     “Consenting Creditor Counsel” means Davis Polk & Wardwell LLP, as
counsel to a group of the Consenting Creditors.

               (f)      “Consenting Second Lien Creditor Consent Right” means the right of a
majority of Consenting Second Lien Creditors to consent to or approve Definitive Documents or
actions, as applicable, which right shall apply solely to the extent such Definitive Documents or
actions, as applicable, (i) adversely affect any of the rights or benefits granted to or received by,
or proposed to be granted to or received by, the Consenting Second Lien Creditors pursuant to this
Agreement or the Plan, (ii) affect the releases in favor of the Consenting Second Lien Creditors
provided, or proposed to be provided, under any Definitive Document, or (iii) adversely affect any
obligation the Consenting Second Lien Creditors may have pursuant to this Agreement or the Plan.

                (g)     “Consenting Sponsor Consent Right” means the Consenting Sponsors’
right to consent to or approve Definitive Documents or actions, as applicable, which right shall
apply solely to the extent such Definitive Documents or actions, as applicable, (i) adversely affect
any of the rights or benefits granted to or received by, or proposed to be granted to or received by,
the Consenting Sponsors pursuant to this Agreement or the Plan, (ii) affect the releases in favor of
the Consenting Sponsors provided, or proposed to be provided, under any Definitive Document,
or (iii) adversely affect any obligation the Consenting Sponsors may have pursuant to this
Agreement or the Plan.

               (i)     “Definitive Documents” means any material documents (including any
material related orders, agreements, instruments, schedules, or exhibits) that are described in or
contemplated by this Agreement and the Plan and necessary or desirable to implement the
Restructuring, including (i) this Agreement, (ii) the Plan, (iii) the Disclosure Statement, (iv) the
motion seeking approval by the Bankruptcy Court of the Disclosure Statement and the Solicitation
procedures, (v) the Confirmation Order, (vi) the motion seeking approval by the Bankruptcy Court


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of the DIP Facilities and the interim and final orders of the Bankruptcy Court approving the same
(the “Interim DIP Order” and the “Final DIP Order,” respectively), (vii) the DIP Term Loan
Agreement, (viii) the Plan Supplement, including the New Corporate Governance Documents, (ix)
the DIP ABL Agreement, (x) the Exit Facilities, (xi) the Exit Term Loan Agreement and the Exit
ABL Agreement, and (xii) the first day motions, second day motions and orders of the Bankruptcy
Court approving any first day motions or second day motions.

                    (h)        “DIP ABL Agreement” means the credit agreement evidencing the DIP
ABL Facility.

               (i)     “DIP ABL Facility” means a debtor-in-possession asset-based revolving
facility provided by the DIP ABL Lenders in an aggregate principal amount of $80,000,000
pursuant to the terms and conditions of the DIP Orders.

                    (j)        “DIP ABL Lenders” means Barclays Bank PLC and Wells Fargo Bank,
N.A.

             (k)     “DIP ABL Term Sheet” means the term sheet describing the terms of the
DIP ABL Facility attached hereto as Exhibit C.

             (l)    “DIP Facilities” means, collectively, the DIP ABL Facility and the DIP
Term Loan Facility.

                    (m)        “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP
Order.

             (n)               “DIP Term Loan Agreement” means the credit agreement evidencing the
DIP Term Facility.

               (o)    “DIP Term Loan Commitment” means the commitment of a DIP Term
Loan Commitment Party to provide the DIP Term Loan Facility in accordance with the terms set
forth in the DIP Term Loan Term Sheet.

                 (p)    “DIP Term Loan Facility” means the debtor-in-possession term loan
facility to be provided to the Company in accordance with the terms, and subject in all respects to
the conditions, as set forth in the DIP Term Loan Term Sheet, and pursuant to the terms and
conditions of the DIP Orders.

              (q)   “DIP Term Loan Term Sheet” means the term sheet describing the terms
of the DIP Term Loan Facility attached hereto as Exhibit D.

                (r)   “Disclosure Statement” means the disclosure statement in respect of the
Plan attached hereto as Exhibit E, including all exhibits and schedules thereto, as approved or
ratified by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

               (s)     “Effective Date” means the date upon which all conditions to the
effectiveness of the Plan have been satisfied or waived in accordance with the terms thereof and
the Plan becomes effective.



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              (t)     “Exit ABL Facility” means the DIP ABL Facility as amended, refinanced,
or otherwise modified in connection with the consummation of the Plan.

             (u)      “Exit ABL Term Sheet” means the term sheet describing the terms of the
Exit ABL Facility attached hereto as Exhibit F.

             (v)    “Exit Facilities” means, collectively, the Exit ABL Facility and the Exit
Term Loan Facility.

                 (w)    “Exit Term Loan Facility” means, collectively, the Exit First Out Term
Loans and the Exit Last Out Term Loans, which shall be consistent with the terms and conditions
set forth in the Exit Term Loan Term Sheet.

               (x)   “Exit Term Loan Term Sheet” means the term sheet describing the terms
of the Exit Term Loan Facility attached hereto as Exhibit G.

             (y)   “Loan Documents” means the First Lien Term Loan Agreement and the
Second Lien Term Loan Agreement.

                    (z)        “Loans” means the First Lien Term Loans and the Second Lien Term
Loans.

             (aa) “Management Incentive Plan” means the post-restructuring equity-based
management incentive plan to be adopted on the Effective Date.

               (bb) “New Corporate Governance Documents” means (i) the Amended By-
Laws, (ii) the Amended Certificate of Incorporation, and (iii) any other applicable material
governance and/or organizational documents of the Reorganized Debtors.

              (cc) “Requisite Creditors” means, as of the date of determination, Consenting
Creditors holding at least a majority of the outstanding First Lien Term Loans held by the
Consenting Creditors as of such date.

                    (dd)       “Securities Act” means the Securities Act of 1933, as amended.

                (ee) “Specified Defaults” means, collectively, (i) the Event of Default under the
First Lien Term Loan Agreement as a result of the Company’s failure to make a payment of interest
on December 31, 2018 with respect to the First Lien Term Loans; (ii) the Event of Default under
the First Lien Term Loan Agreement as a result of the Company’s failure to make an amortization
payment with respect to certain First Lien Term Loans; (iii) the Event of Default under the Second
Lien Term Loan Agreement as a result of the Company’s failure to make a payment of interest on
December 31, 2018 with respect to the Second Lien Term Loans; (iv) any defaults under the Loan
Agreements as a result of cross-defaults caused by the forgoing; and (v) any Events of Default or
defaults under the Loan Agreements as a result of the Solicitation, the filing of the Chapter 11
Cases, the entry into the Definitive Documents, or the implementation of the Restructuring.




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               (ff)  “Supermajority Requisite Creditors” means, as of the date of
determination, Consenting Creditors holding at least 66⅔% of the outstanding First Lien Term
Loans.

              (gg) “Supermajority Consent Documents” means (i) the Exit Facilities, (ii) the
Confirmation Order, and (iii) the New Corporate Governance Documents.

               (hh) “Support Effective Date” means the date on which counterpart signature
pages to this Agreement shall have been executed and delivered by (i) the Company, (ii)
Consenting Creditors holding at least 66⅔% in the aggregate principal amount outstanding of the
First Lien Term Loans, and (iii) the Consenting Sponsors.

               (ii)   “Support Period” means the period commencing on the Support Effective
Date and ending on the earlier of the (i) date on which this Agreement is terminated in accordance
with Section 6 hereof and (ii) the Effective Date.

                    2.         Bankruptcy Process; Plan of Reorganization.

               (a)    The Plan. The Plan is expressly incorporated herein and made a part of this
Agreement. The terms and conditions of the Restructuring are set forth in the Plan; provided,
however, that the Plan is supplemented by the terms and conditions of this Agreement. In the
event of any inconsistencies between the terms of this Agreement and the Plan, the terms of the
Plan shall govern. No material modifications shall be made by the Debtors to any substantive
provisions of the Plan without the consent of the Supermajority Requisite Creditors; provided,
however, that the foregoing shall not modify or otherwise impair (i) the Consenting Sponsor
Consent Right over the Plan or any other Definitive Documents as provided herein or (ii) the
Consenting Second Lien Creditor Consent Right over the Plan or any other Definitive Documents
as provided herein.

                (b)     Definitive Documents. Each of the Definitive Documents shall (i) contain
terms and conditions consistent in all material respects with this Agreement and the Plan and
(ii) otherwise be in form and substance reasonably acceptable to (A) the Requisite Creditors, (B)
solely to the extent required under the Consenting Sponsor Consent Right, the Consenting
Sponsors, and (C) solely to the extent required under the Consenting Second Lien Creditors
Consent Right, the Consenting Second Lien Creditors. Notwithstanding anything to the contrary
in this Agreement, (w) any documentation relating to the DIP Term Loan Facility, the motion
seeking authority to enter into the DIP Facilities, and the DIP Orders shall contain terms and
conditions consistent in all respects with this Agreement and otherwise be in form and substance
acceptable to the DIP Term Loan Commitment Parties, (x) the DIP ABL Agreement shall be
consistent in all respects with the ABL DIP Term Sheet, (y) the Plan, the Plan Supplement, and
the order regarding cash management shall contain terms and conditions consistent in all respects
with this Agreement and otherwise be in form and substance acceptable to the Requisite Creditors,
and (z) the Supermajority Consent Documents shall contain terms and conditions consistent in all
respects with this Agreement and otherwise be in form and substance acceptable to the
Supermajority Requisite Creditors; provided, however, that the Supermajority Requisite Creditors
shall be deemed to have consented to any provisions in the Exit Facilities that are consistent in all
respects with the Exit ABL Term Sheet and Exit Term Loan Term Sheet, as applicable.



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               (c)     Commencement of the Chapter 11 Cases. The Company hereby agrees that,
as soon as reasonably practicable, but in no event later than two (2) days after the Support Effective
Date, the Company will commence Solicitation. Provided that the Support Effective Date has
occurred, the Company further agrees that, as soon as reasonably practicable, but in no event later
than March 11, 2019 (the “Outside Petition Date”) (the date on which such filing occurs, the
“Petition Date”), the Company shall file with the Bankruptcy Court voluntary petitions for relief
under chapter 11 of the Bankruptcy Code and any and all other documents necessary to commence
the Chapter 11 Cases.

               (d)    Filing of the Plan and Disclosure Statement. No later than the close of
business on the next business day following the Petition Date, the Company shall file the Plan and
the Disclosure Statement with the Bankruptcy Court.

                (e)     Confirmation of the Plan. The Company shall use commercially reasonable
efforts to obtain confirmation of the Plan as soon as reasonably practicable following the Petition
Date in accordance with the Bankruptcy Code and on terms consistent with this Agreement, and
each Consenting Creditor and each Consenting Sponsor shall use its commercially reasonable
efforts to cooperate fully in connection therewith.

              (f)    DIP Financing and Cash Collateral. No later than the close of business on
the next business day following the Petition Date, the Company shall file a motion with the
Bankruptcy Court seeking entry of the DIP Orders.

                    3.         Agreements of the Consenting Creditors.

              (a)     Voting; Support. Each Consenting Creditor agrees that, for the duration of
the Support Period applicable to such Consenting Creditor, such Consenting Creditor shall:

                             i.     timely vote or cause to be voted any Claims it holds against the
                    Company (including First Lien Term Loan Claims and Second Lien Term Loan
                    Claims) to accept the Plan by delivering its duly executed and completed ballot or
                    ballots and consent to and, if applicable, not opt out of, the releases set forth in the
                    Plan against each Released Party, on a timely basis following commencement of
                    the Solicitation;

                           ii.     not change or withdraw (or cause or direct to be changed or
                    withdrawn) any such vote or release described in clause (i) above; provided,
                    however, that notwithstanding anything in this Agreement to the contrary, a
                    Consenting Creditor’s vote and release may, upon written notice to the Company
                    and the other Parties, be revoked (and, upon such revocation, deemed void ab initio)
                    by any Consenting Creditor at any time following the termination of this Agreement
                    pursuant to the terms hereof with respect to such Consenting Creditor;

                          iii.     timely vote (or cause to be voted) any Claims it holds against the
                    Company (including First Lien Term Loan Claims and Second Lien Term Loan
                    Claims) to reject any Alternative Restructuring;




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                          iv.      not directly or indirectly, through any Person (including any
                   administrative agent or collateral agent), seek, solicit, propose, support, assist,
                   engage in negotiations in connection with or participate in the formulation,
                   preparation, filing, or prosecution of any Alternative Restructuring or object to or
                   take any other action that would reasonably be expected to prevent, interfere with,
                   delay, or impede the Solicitation, approval of the Disclosure Statement, or the
                   confirmation and consummation of the Plan and the Restructuring; provided,
                   however, that (A) if the Supermajority Consent Documents have not been agreed
                   to by the Supermajority Requisite Creditors within twenty (20) days from the date
                   hereof or (B) a proposed material modification by the Debtors to any substantive
                   provision of the Plan has not been agreed to by the Supermajority Requisite
                   Creditors within the later of (y) twenty (20) days from the date hereof or (z) ten
                   (10) days from the date of such proposed material modification, Consenting
                   Creditors may engage in negotiations in connection with or participate in the
                   formulation or preparation of, any Alternative Restructuring, with (1) the Company
                   and (2) the DIP ABL Lenders, the First Lien Lenders, the Second Lien Lenders, or
                   the Consenting Sponsors;

                           v.      not direct any administrative agent or collateral agent (as applicable)
                   to take any action inconsistent with such Consenting Creditor’s obligations under
                   this Agreement or the Plan, and, if any applicable administrative agent or collateral
                   agent takes any action inconsistent with such Consenting Creditor’s obligations
                   under this Agreement or the Plan, such Consenting Creditor shall direct and use its
                   commercially reasonable efforts to cause such administrative agent or collateral
                   agent to cease, withdraw, and refrain from taking any such action;

                         vi.      neither object nor directly or indirectly support an objection, and
                   hereby agree, to the payment of $312,500 in Cash on account of management and
                   advisory fees due from the Company under that certain Advisory Services
                   Agreement dated as of June 28, 2013 (the “Advisory Services Agreement”) to the
                   Managers (as defined in the Advisory Services Agreement) as Allowed General
                   Unsecured Claims under the Plan on or prior to the Effective Date;

                         vii.     support and take all actions necessary or reasonably requested by
                   the Company to facilitate the Solicitation, approval and entry of the DIP Orders,
                   approval of the Disclosure Statement, and confirmation and consummation of the
                   Plan within the timeframes contemplated by this Agreement; and

                        viii.     to the extent any legal or structural impediment arises that would
                   prevent, hinder, or delay the consummation of the Restructuring, negotiate in good
                   faith appropriate additional or alternative provisions to address any such
                   impediment.




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                (b)            Rights of Consenting Creditors Unaffected. Nothing contained herein
                               shall limit:

                             i.     the rights of a Consenting Creditor under any applicable bankruptcy,
                    insolvency, foreclosure, or similar proceeding, including appearing as a party in
                    interest and to be heard in any matter concerning or arising in the Chapter 11 Cases,
                    in each case, so long as the exercise of any such right is consistent with this
                    Agreement and such Consenting Creditor’s obligations hereunder;

                           ii.     the ability of a Consenting Creditor to purchase, sell, or enter into
                    any transactions in connection with its Claims or interests, in compliance with the
                    terms hereof and applicable law;

                           iii.    subject to the terms and obligations hereof (including section 3(f))
                    and applicable law, including the Bankruptcy Code, any right of a Consenting
                    Creditor under the Loan Documents, any other applicable agreement, instrument,
                    or document that gives rise to a Consenting Creditor’s Claims or Interests, as
                    applicable, or constitute a waiver or amendment of any provision of any such
                    agreement, instrument, or document;

                           iv.      subject to any confidentiality provisions in this Agreement, the Loan
                    Documents, or any other confidentiality agreement entered into by the Company
                    and a Consenting Creditor, the ability of a Consenting Creditor to consult with any
                    other Parties or entities; or

                           v.      the ability of a Consenting Creditor to enforce any right, remedy,
                    condition, consent, or approval requirement under this Agreement or under any of
                    the Definitive Documents.

                (c)      Transfers. Each Consenting Creditor agrees that, for the duration of the
Support Period applicable to such Consenting Creditor, such Consenting Creditor shall not sell,
transfer, loan, issue, pledge, hypothecate, assign, or otherwise dispose of (each, a “Transfer”),
directly or indirectly, in whole or in part, any of its Claims or any option thereon or any right or
interest therein or any other claims against or interests in the Company (including grant any
proxies, deposit any Claims against or interests in the Company into a voting trust or entry into a
voting agreement with respect to any such Claims or interests), unless the transferee thereof (i) is
a Consenting Creditor or (ii) prior to such Transfer, agrees in writing for the benefit of the Parties
to become a Consenting Creditor and to be bound by all of the terms of this Agreement applicable
to Consenting Creditors (including with respect to any and all Claims or other claims or interests
it already may hold against or in the Company prior to such Transfer) by executing a joinder
agreement, a form of which is attached hereto as Exhibit H (the “Joinder Agreement”), and
delivering an executed copy thereof within two (2) business days following such execution, to
Weil, Gotshal & Manges LLP (“Weil”), as counsel to the Company, and the Consenting Creditor
Counsel, in which event (A) the transferee (including the Consenting Creditor transferee, if
applicable) shall be deemed to be a Consenting Creditor hereunder to the extent of such transferred
rights and obligations and (B) the transferor shall be deemed to relinquish its rights (and be released
from its obligations) under this Agreement to the extent of such transferred rights and obligations.



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Each Consenting Creditor agrees that any Transfer of any Claim or interest that does not comply
with the terms and procedures set forth herein shall be deemed void ab initio, and the Company
and each other Consenting Creditor shall have the right to enforce the voiding of such Transfer.
Notwithstanding anything to the contrary herein, a Consenting Creditor may Transfer its Claims
to an entity that is acting in its capacity as a Qualified Marketmaker 1 without the requirement that
the Qualified Marketmaker become a Party; provided, however, that (x) such Qualified
Marketmaker must Transfer such right, title, or interest by the earlier of seven (7) calendar days
following its receipt thereof and the Voting Deadline, (y) any subsequent Transfer by such
Qualified Marketmaker of the right, title, or interest in such Claims is to a transferee that is or
becomes a Consenting Creditor at the time of such transfer, and (z) such Consenting Creditor shall
be solely responsible for the Qualified Marketmaker’s failure to comply with the requirements of
this Section 3.

                 (d)     Additional Claims. To the extent any Consenting Creditor (i) acquires
additional Claims, (ii) holds or acquires any other claims against the Company entitled to vote on
the Plan, or (iii) Transfers any Claims, then, in each case, each such Consenting Creditor shall,
through the Consenting Creditor Counsel, promptly notify Weil. Each such Consenting Creditor
agrees that such additional Claims or other claims shall be subject to this Agreement and that, for
the duration of the Support Period applicable to such Consenting Creditor, it shall vote (or cause
to be voted) any such additional Claims or other claims entitled to vote on the Plan (to the extent
still held by it or on its behalf at the time of such vote), in a manner consistent with Section 4(a)
hereof.

                (e)    Additional Lenders. Any First Lien Lender or Second Lien Lender may, at
any time after the Support Effective Date, become a party to this Agreement as a Consenting First
Lien Lender and/or Consenting Second Lien Lender, as applicable (an “Additional Consenting
Lender”), by executing a Joinder Agreement, pursuant to which such Additional Consenting
Lender shall be bound by the terms of this Agreement as a Consenting First Lien Lender and/or
Consenting Second Lien Lender, as applicable, hereunder and shall be deemed a Consenting
Creditor for all purposes hereunder.

                (f)    Forbearance. Solely during the Support Period applicable to such
Consenting Creditor and without prejudice to any right such Consenting Creditor has or may have
with respect to anything other than a Specified Default (all of which are expressly reserved subject
to the terms of this Agreement and the Definitive Documents), each Consenting Creditor agrees to
forbear from the exercise of its rights (including any right of set-off) or remedies it may have under
the Loan Documents and any agreement contemplated thereby, as applicable, and under applicable
U.S. or foreign law or otherwise, in each case, with respect to the Specified Defaults; provided,
however, that, in accordance with the applicable Loan Documents, the accrual of interest
(including default interest, if any) shall be unaffected by the terms hereof and continue during the

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  As used herein, the term “Qualified Marketmaker” means an entity that (i) holds itself out to the public or the
applicable private markets as standing ready in the ordinary course of business to purchase from customers and sell
to customers Claims against the Company (or enter with customers into long and short positions in Claims against
the Company), in its capacity as a dealer or marketmaker in Claims against the Company and (ii) is, in fact,
regularly in the business of making a market in claims against issuers or borrowers (including debt securities or
other debt).



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Support Period, subject to applicable law and the Definitive Documents, with respect to the First
Lien Term Loans and the Second Lien Term Loans. Each Consenting Creditor further agrees that
if any applicable administrative agent or collateral agent takes any action inconsistent with any
such Consenting Creditor’s obligations under this Agreement, such Consenting Creditor shall use
commercially reasonable efforts to cause such administrative agent or collateral agent to cease and
refrain from taking such actions.

               (g)      D&O Claims. Regardless of whether or not the Bankruptcy Court approves
the releases set forth in the Plan against the Released Parties, each Consenting Creditor hereby
covenants and agrees not to pursue any claims that such Consenting Creditor may have against the
Released Parties.

                    (h)        DIP Term Loan Commitments.

                             i.     Subject to the conditions set forth in the DIP Term Loan Term Sheet,
                    each DIP Term Loan Commitment Party, severally and not jointly, agrees to
                    provide (or cause any of its designees to provide) its share of the DIP Term Loan
                    Commitments as set forth in Exhibit I attached hereto on the terms and conditions
                    substantially as set forth in the DIP Term Loan Term Sheet. For the avoidance of
                    doubt, upon termination or expiration of this Agreement in accordance with its
                    terms, the commitment of the DIP Term Loan Commitment Parties made pursuant
                    to this Section 3(h) to enter into the DIP Term Loan Agreement and provide its
                    share of the DIP Term Loan Commitments as set forth in Exhibit I shall terminate;
                    provided, however, that upon the closing of the DIP Term Loan Agreement, the
                    DIP Term Loan Agreement shall govern the DIP Term Loan Commitments and any
                    termination thereof.

                            ii.     The DIP Term Loan Commitment Parties listed on Exhibit J
                    attached hereto (the “Backstop Parties”) agree to backstop (or cause any of its
                    designees to backstop) the DIP Term Loan Facility on the terms and conditions
                    substantially as set forth in the DIP Term Loan Term Sheet and in the percentages
                    set forth opposite such Backstop Party’s name on Exhibit J. In consideration for
                    providing such backstop, the Company shall pay to the Backstop Parties the
                    Backstop Commitment Fee on the Effective Date and subject to the terms and
                    conditions of the Definitive Documents.

               (i)     New Corporate Governance Documents. The Consenting Creditors hereby
agree to provide drafts of the New Corporate Governance Documents acceptable to the
Supermajority Requisite Creditors as provided herein through the Consenting Creditor Counsel to
Weil no later than ten (10) calendar days before the Voting Deadline.

                    4.         Agreements of the Consenting Sponsors.

              (a)     Voting; Support. Each Consenting Sponsor agrees that, for the duration of
the Support Period, such Consenting Sponsor shall:




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                            i.     if solicited, timely vote or cause to be voted its Claims or Interests
                    to accept the Plan by delivering its duly executed and completed ballot or ballots
                    on a timely basis following the commencement of the Solicitation;

                            ii.    not change or withdraw (or cause or direct to be changed or
                    withdrawn) any such vote described in clause (i) above or release described in
                    clause (iii) below; provided, however, that notwithstanding anything in this
                    Agreement to the contrary, a Consenting Sponsor’s vote and release may, upon
                    written notice to the Company and the other Parties, be revoked (and, upon such
                    revocation, deemed void ab initio) by a Consenting Sponsor at any time following
                    the termination of this Agreement pursuant to the terms hereof with respect to such
                    Consenting Sponsor;

                           iii.     agree to provide, and to not opt out of or object to, the releases set
                    forth in the Plan against each Released Party;

                           iv.      if solicited, timely vote (or cause to be voted) its Claims or Interests
                    (as defined in the Bankruptcy Code) against any Alternative Restructuring;

                            v.      not directly or indirectly, through any Person, seek, solicit, propose,
                    support, assist, engage in negotiations in connection with or participate in the
                    formulation, preparation, filing, or prosecution of any Alternative Restructuring or
                    object to or take any other action that would reasonably be expected to prevent,
                    interfere with, delay, or impede the Solicitation, approval of the Disclosure
                    Statement, or the confirmation and consummation of the Plan and the
                    Restructuring;

                           vi.     except as otherwise provided in sections 3(a)vi and 5(a)ix of this
                    Agreement or any Definitive Document, not request or be entitled to (A) any other
                    management or similar fees payable by the Company and hereby waives the right
                    to receive payment on account of any such fees, or (B) any dividends, distributions,
                    or other payments in respect of its Claims and Interests except as otherwise
                    provided in this Agreement or any Definitive Document;

                         vii.     support and take all actions necessary or reasonably requested by
                    the Company to facilitate the Solicitation, approval of the Disclosure Statement,
                    and confirmation and consummation of the Plan within the timeframes
                    contemplated by this Agreement; and

                         viii.     to the extent any legal or structural impediment arises that would
                    prevent, hinder, or delay the consummation of the Restructuring, negotiate in good
                    faith appropriate additional or alternative provisions to address any such
                    impediment.

                (b)     Transfers. Each Consenting Sponsor agrees that, for the duration of the
Support Period, it shall not, directly or indirectly, sell, transfer, assign, or otherwise dispose of any
of its Claims (if any) against, or Interests in, the Company (including grant any proxy or deposit
any Claims against or Interests in the Company into a voting trust or entry into a voting agreement


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with respect thereto). For the avoidance of doubt, affiliates of the Consenting Sponsors shall not
be subject to the limitations set forth in this section 4(b) when acting in their capacity as Qualified
Marketmakers.

                    5.         Agreements of the Company.

               (a)    Covenants. Holdings agrees that, for the duration of the Support Period,
Holdings shall, and shall cause each of its subsidiaries included in the definition of Company, to:

                             i.     use commercially reasonable efforts to (A) obtain approval of the
                    Plan and consummate the Restructuring, including timely filing any objection or
                    opposition to any motion filed with the Bankruptcy Court seeking the entry of an
                    order modifying or terminating the Company’s exclusive right to file and/or solicit
                    acceptances of a plan of reorganization, directing the appointment of an examiner
                    with expanded powers or a trustee, converting the Chapter 11 Cases or for relief
                    that (1) is inconsistent with this Agreement in any respect or (2) would, or would
                    reasonably be expected to, frustrate the purposes of this Agreement, including by
                    preventing the consummation of the Restructuring, (B) obtain orders of the
                    Bankruptcy Court in respect of the Restructuring, and (C) support the release and
                    exculpation provisions contained in the Plan;

                            ii.     (A) seek entry of the DIP Orders and, if necessary, timely file a
                    formal written response in opposition to any objection filed with the Bankruptcy
                    Court by any Person with respect to entry of the DIP Orders or with respect to any
                    adequate protection proposed to be granted or granted to the Consenting Creditors
                    pursuant to the DIP Orders, (B) subject to professional responsibilities, prosecute
                    and defend any appeals related to the Restructuring, (C) execute and deliver any
                    other required agreements to effectuate and consummate the Restructuring, and (D)
                    operate its business in the ordinary course, taking into account the Restructuring;

                            iii.    provide reasonably prompt written notice (in accordance with
                    Section 20 hereof) to the Consenting Creditors and the Consenting Sponsors during
                    the Support Period of (A) the occurrence, or failure to occur, of any event of which
                    the Company has actual knowledge which occurrence or failure would be likely to
                    cause any condition precedent contained in the Plan not to timely occur or become
                    impossible to satisfy, (B) receipt of any notice from any third party alleging that
                    the consent of such party is or may be required in connection with the transactions
                    contemplated by the Restructuring, (C) receipt of any material notice, including
                    from any governmental unit with jurisdiction, of any proceeding commenced, or,
                    to the actual knowledge of the Company, threatened against the Company, relating
                    to or involving or otherwise affecting in any respect the transactions contemplated
                    by the Restructuring, and (D) any failure of the Company to comply with or satisfy,
                    each in any material respect, any covenant, condition, or agreement to be complied
                    with or satisfied by it hereunder;

                         iv.      not amend or modify, or file a pleading seeking authority to amend
                    or modify, the Definitive Documents or any other document related to the DIP



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                    Term Loan Facility or the Restructuring in a manner that is inconsistent with this
                    Agreement;

                            v.     use commercially reasonable efforts to obtain any and all required
                    regulatory and/or third-party approvals for the Restructuring embodied in the Plan,
                    if any;

                           vi.      not take any action that is inconsistent with, or is intended or is
                    reasonably likely to interfere with, consummation of the Restructuring, in each
                    case, to the extent consistent with, upon the advice of counsel, the fiduciary duties
                    of the boards of directors, managers, members, or partners, as applicable, of the
                    Company; provided, however, that the Company shall not be obligated to agree to
                    any modification of any document that is inconsistent with the Plan;

                           vii.     pay all the reasonable and documented fees and expenses, subject to
                    the terms of any applicable engagement letter or reimbursement letter, as the case
                    may be, and any applicable law or orders of the Bankruptcy Court, of
                    (a) Consenting Creditor Counsel and (b) Evercore Group L.L.C, as financial
                    advisor to the Consenting Creditors; provided, however, that the Company shall
                    pay any accrued but unpaid amounts owing under such engagement and/or fee
                    letters to the extent required under the terms thereof upon the termination of this
                    Agreement, but shall not be responsible for any fees and expenses incurred after
                    termination; provided, further, however, that any invoices shall not be required to
                    contain individual time detail;

                          viii.     provide draft copies of all material motions or applications and other
                    material documents related to the Restructuring (including all “first day” and
                    “second day” motions and orders, the Plan, the Disclosure Statement, ballots, and
                    other Solicitation materials in respect of the Plan and any proposed amended
                    version of the Plan or the Disclosure Statement, and a proposed Confirmation
                    Order) the Company intends to file with the Bankruptcy Court to the Consenting
                    Creditor Counsel, if reasonably practicable, at least two (2) business days prior to
                    the date when the Company intends to file any such pleading or other document
                    (provided that if delivery of such motions, orders, or materials at least two (2)
                    business days in advance is not reasonably practicable prior to filing, such motion,
                    order, or material shall be delivered as soon as reasonably practicable prior to
                    filing), and shall consult in good faith with the Consenting Creditor Counsel
                    regarding the form and substance of any such proposed filing with the Bankruptcy
                    Court;

                          ix.      neither object nor directly or indirectly support an objection, and
                    hereby agree, to the payment of $312,500 in Cash on account of management and
                    advisory fees due from the Company under the Advisory Services Agreement to
                    the Managers (as defined in the Advisory Services Agreement) as Allowed General
                    Unsecured Claims under the Plan on or prior to the Effective Date;




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                            x.      timely file with the Bankruptcy Court a written objection to any
                    motion filed with the Bankruptcy Court by a third party seeking the entry of an
                    order (A) directing the appointment of an examiner with expanded powers or a
                    trustee, (B) converting any of the Chapter 11 Cases to cases under chapter 7 of the
                    Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) modifying or
                    terminating the Company’s exclusive right to file and/or solicit acceptances of a
                    plan of reorganization; and

                          xi.      to the extent any legal or structural impediment arises that would
                    prevent, hinder, or delay the consummation of the Restructuring, negotiate in good
                    faith appropriate additional or alternative provisions to address any such
                    impediment.

                (b)     Automatic Stay. The Company acknowledges and agrees and shall not
dispute that after the commencement of the Chapter 11 Cases, the giving of notice of termination
of this Agreement by any Party pursuant to this Agreement shall not be a violation of the automatic
stay of section 362 of the Bankruptcy Code (and the Company hereby waives, to the fullest extent
permitted by law, the applicability of the automatic stay to the giving of such notice); provided,
however, that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of
default or termination was not proper under the terms of this Agreement.

                    6.         Termination of Agreement.

                (a)      This Agreement shall terminate as to all Parties two (2) business days
following the delivery of written notice (in accordance with Section 20 hereof): (i) from the
Requisite Creditors to the other Parties at any time after and during the continuance of any Creditor
Termination Event (as defined below); (ii) from Holdings to the other Parties at any time after the
occurrence and during the continuance of any Company Termination Event (as defined below); or
(iii) from a Consenting Sponsor to the other Parties at any time after the occurrence and during the
continuance of any Consenting Sponsor Termination Event (as defined below); provided, however,
that this Agreement shall be deemed to have been terminated only as to such Consenting Sponsor
providing notice of a Consenting Sponsor Termination Event and shall continue in full force and
effect in respect to all other Parties. Notwithstanding any provision to the contrary in this Section
6, no Party may exercise any of its respective termination rights as set forth herein if such Party
has failed to perform or comply in all material respects with the terms and conditions of this
Agreement (unless such failure to perform or comply arises as a result of another Party’s actions
or inactions), with such failure to perform or comply causing, or resulting in, the occurrence of a
Creditor Termination Event, Company Termination Event, or Consenting Sponsor Termination
Event specified herein. This Agreement shall terminate on the Effective Date without any further
required action or notice.

                    (b)        A “Creditor Termination Event” shall mean any of the following:

                             i.     the breach by the Company or the Consenting Sponsors of any of
                    the undertakings, representations, warranties, or covenants of the Company or the
                    Consenting Sponsors, to the extent applicable, set forth herein in any material
                    respect that remains uncured for a period of five (5) business days after the receipt



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                    of written notice of such breach pursuant to this Section 6 and in accordance with
                    Section 20 (as applicable);

                           ii.     the issuance by any governmental authority, including any
                    regulatory authority or court of competent jurisdiction, of any ruling, judgment, or
                    order enjoining the consummation of or rendering illegal the Plan or the
                    Restructuring, and either (A) such ruling, judgment, or order has been issued at the
                    request of or with the acquiescence of the Company, or (B) in all other
                    circumstances, such ruling, judgment, or order has not been stayed, reversed, or
                    vacated within fifteen (15) days after such issuance;

                           iii.   if, as of 11:59 p.m. prevailing Eastern Time on March 8, 2019, the
                    Company has not commenced the Solicitation in accordance with section 1126(b)
                    of the Bankruptcy Code;

                           iv.    if, as of 11:59 p.m. prevailing Eastern Time on the Outside Petition
                    Date, the Chapter 11 Cases have not been filed;

                           v.       if, as of 11:59 p.m. prevailing Eastern Time on the date that is five
                    (5) days after the Petition Date, the Interim DIP Order has not been entered by the
                    Bankruptcy Court;

                           vi.     if, as of 11:59 p.m. prevailing Eastern Time on the date that is thirty
                    (30) days after the Petition Date, the Final DIP Order has not been entered by the
                    Bankruptcy Court;

                           vii.    if, as of 11:59 p.m. prevailing Eastern Time on the date that is forty-
                    five (45) days after the Petition Date, the Supermajority Requisite Creditors have
                    not consented to the Supermajority Consent Documents;

                          viii.     if, as of 11:59 p.m. prevailing Eastern Time on the date that is the
                    later of (A) forty-five (45) days after the Petition Date or (B) ten (10) days after a
                    proposed material modification by the Debtors to any substantive provision of the
                    Plan, the Supermajority Requisite Creditors have not consented to such proposed
                    material modification;

                           ix.     if, as of 11:59 p.m. prevailing Eastern Time on the date that is ninety
                    (90) days after the Petition Date, the Confirmation Order has not been entered by
                    the Bankruptcy Court;

                            x.      if, as of 11:59 p.m. prevailing Eastern Time on the date that is one
                    hundred and five (105) days after the Petition Date, the Effective Date has not
                    occurred (the “Outside Date”); provided, however, that the Outside Date shall be
                    automatically extended one (1) day for each day that the Requisite Creditors fail to
                    deliver drafts of the New Corporate Governance Documents to Weil in accordance
                    with the deadline set forth in Section 3(i) hereof;




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                           xi.      the Company withdraws the Plan or Disclosure Statement, or the
                    Company files any motion or pleading with the Bankruptcy Court that is not
                    consistent with this Agreement or the Plan and such motion or pleading has not
                    been withdrawn prior to the earlier of (A) two (2) business days after the Company
                    receives written notice from the Requisite Creditors (in accordance with Section 20
                    hereof) that such motion or pleading is inconsistent with this Agreement or the Plan
                    and (B) entry of an order of the Bankruptcy Court approving such motion or
                    pleading;

                          xii.     the Company files any motion for the (A) conversion of one or more
                    of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code,
                    (B) appointment of an examiner with expanded powers beyond those set forth in
                    section 1106(a)(3) and (4) of the Bankruptcy Code or a trustee or receiver in one or
                    more of the Chapter 11 Cases, or (C) dismissal of one or more of the Chapter 11
                    Cases;

                          xiii.      the Bankruptcy Court enters an order (A) directing the appointment
                    of a trustee in the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to
                    cases under chapter 7 of the Bankruptcy Code, or (C) dismissing any of the Chapter
                    11 Cases;

                          xiv.      the Company (A) files any motion seeking to avoid, disallow,
                    subordinate, or recharacterize any First Lien Term Loan Claim or Second Lien
                    Term Loan Claim, lien, or interest held by any Consenting Creditor arising under
                    or relating to the First Lien Term Loan Agreement or Second Lien Term Loan
                    Agreement or (B) shall have supported any application, adversary proceeding, or
                    cause of action referred to in the immediately preceding clause (A) filed by a third
                    party, or consents (without the written consent of the Requisite Creditors) to the
                    standing of any such third party to bring such application, adversary proceeding, or
                    cause of action;

                           xv.     on or after the date hereof, the Company engages in any merger,
                    consolidation, disposition, acquisition, investment, dividend, incurrence of
                    indebtedness, or other similar transaction outside of the ordinary course of business
                    other than (A) the commencement of the Chapter 11 Cases, (B) as permitted under
                    the DIP Facilities, or (C) with the written consent of the Requisite Creditors;

                          xvi.      the Bankruptcy Court grants relief that (A) is inconsistent with this
                    Agreement in any material respect or (B) would, or would reasonably be expected
                    to, materially frustrate the purposes of this Agreement, including by preventing the
                    consummation of the Restructuring, unless the Company has sought a stay of such
                    relief within five (5) business days after the date of such issuance, and such order
                    is stayed, reversed, or vacated within fifteen (15) business days after the date of
                    such issuance;

                         xvii.     the Company files, propounds, or otherwise supports any plan of
                    reorganization other than the Plan;



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                        xviii.    on the date that an order is entered by the Bankruptcy Court or a
                    court of competent jurisdiction denying confirmation of the Plan or refusing to
                    approve the Disclosure Statement;

                         xix.     the failure of the Company to comply with the DIP Orders, which
                    remains uncured for a period of five (5) business days after the receipt of written
                    notice of such event, or is not otherwise waived in accordance with the terms
                    thereof;

                          xx.      notice of an “Event of Default” (as defined in the DIP Term Loan
                    Agreement or the DIP ABL Agreement, as applicable) has been given or declared
                    under either the DIP Term Loan Facility or the DIP ABL Facility and has not been
                    waived or timely cured in accordance therewith;

                         xxi.    the termination of this Agreement as to the Consenting Sponsors or
                    the Company;

                         xxii.     the Company makes any payment to the Consenting Sponsor, other
                    than as provided in this Agreement or any agreements relating to the Restructuring;
                    or

                         xxiii.    the entry by the Company into any material non-ordinary course
                    transaction or payment by the Company of any material non-ordinary course
                    payment in either case inconsistent with this Agreement or the Plan, including entry
                    into any new key employee incentive plan or key employee retention plan or similar
                    arrangement, or any new or amended agreement regarding executive compensation
                    without the written consent of the Requisite Creditors.

                    (c)        A “Company Termination Event” shall mean any of the following:

                            i.     the breach by one or more of the Consenting Creditors holding First
                    Lien Term Loan Claims of any of the undertakings, representations, warranties, or
                    covenants of the Consenting Creditors set forth herein in any material respect that
                    remains uncured for a period of five (5) business days after the receipt of written
                    notice of such breach pursuant to this Section 6 and in accordance with Section 20
                    hereof (as applicable), with such written notice to simultaneously be provided to
                    the Consenting Sponsors, but only if the non-breaching Consenting Creditors in the
                    applicable Consenting Class hold less than 66⅔% of the aggregate principal amount
                    of Claims in such Class;

                            ii.     the board of directors, managers, members, or partners, as
                    applicable, of any Company entity party hereto reasonably determines in good faith
                    based upon the advice of counsel that continued performance under this Agreement
                    would be inconsistent with the exercise of its fiduciary duties under applicable law;
                    provided, however, that such Company entity provides written notice of such
                    determination to the Consenting Creditors within three (3) business days after the
                    date thereof;



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                         iii.      if, as of 11:59 p.m. prevailing Eastern Time on March 8, 2019, the
                    Support Effective Date has not occurred;

                           iv.     the issuance by any governmental authority, including any
                    regulatory authority or court of competent jurisdiction, of any ruling, judgment, or
                    order enjoining the consummation of or rendering illegal the Plan or the
                    Restructuring, and such ruling, judgment, or order has not been stayed, reversed, or
                    vacated within fifteen (15) days after such issuance;

                           v.      the termination of this Agreement as to the Consenting Creditors
                    (with such termination by the Requisite Creditors);

                            vi.      the Bankruptcy Court enters an order (A) directing the appointment
                    of a trustee in the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to
                    cases under chapter 7 of the Bankruptcy Code, or (C) dismissing any of the Chapter
                    11 Cases; or

                          vii.        the occurrence of the Outside Date if the Effective Date has not
                    occurred.

                    (d)        A “Consenting Sponsor Termination Event” shall mean any the following:

                             i.     the breach by any of the other Parties hereto, of any of the
                    undertakings, representations, warranties, or covenants of such Party set forth
                    herein in any material respect, only if such breach adversely affects the treatment,
                    rights, or obligations under this Agreement or the Plan of the Consenting Sponsor
                    seeking such termination and remains uncured for a period of five (5) days after the
                    receipt of written notice of such breach pursuant to this Section 6 and in accordance
                    with Section 20 hereof;

                           ii.     the issuance by any governmental authority, including any
                    regulatory authority or court of competent jurisdiction, of any ruling, judgment, or
                    order enjoining the consummation of or rendering illegal the Plan or the
                    Restructuring, and such ruling, judgment, or order has not been stayed, reversed, or
                    vacated within fifteen (15) days after such issuance;

                           iii.    a Definitive Document modifies, removes, or impairs any of the
                    rights or benefits to be granted to a Consenting Sponsor under this Agreement or
                    the Plan and such Consenting Sponsor has not consented to such modification,
                    removal, or impairment, in each case, subject to the Consenting Sponsor Consent
                    Right;

                          iv.      the Company modifies the treatment of a Consenting Sponsor under
                    the Plan or files any motion or pleading with the Bankruptcy Court that is
                    inconsistent with this Agreement or the Plan, in each case, that adversely impacts
                    or would reasonably be expected to adversely impact such Consenting Sponsor; or




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                           v.   the occurrence of the Outside Date if the Effective Date has not
                    occurred.

                Notwithstanding the foregoing, any of the dates or deadlines set forth in (i) Section
6(b) and 6(c), except for Section 6(b)x and 6(c)vii, may be extended by Agreement of the Company
and the Requisite Creditors and (ii) Section 6(b)x, 6(c)vii, and 6(d)v may be extended by
Agreement of the Company, the Requisite Creditors, the Consenting Second Lien Creditors
holding a majority of the Second Lien Term Loan Claims, and the Consenting Sponsors.

               (e)   Mutual Termination. This Agreement may be terminated by mutual
agreement of the Company and the Requisite Creditors upon the receipt of written notice delivered
in accordance with Section 20 hereof.

                 (f)     Effect of Termination. Subject to the provisions contained in Section 6(a)
and Section 14 hereof, upon the termination of this Agreement in accordance with this Section 6,
this Agreement shall forthwith become null and void and of no further force or effect and each
Party shall, except as provided otherwise in this Agreement, be immediately released from its
liabilities, obligations, commitments, undertakings, and agreements under or related to this
Agreement and shall have all the rights and remedies that it would have had and shall be entitled
to take all actions, whether with respect to the Restructuring or otherwise, that it would have been
entitled to take had it not entered into this Agreement, including all rights and remedies available
to it under applicable law; provided, however, that in no event shall any such termination relieve
a Party from liability for its breach or non-performance of its obligations hereunder prior to the
date of such termination. Upon a termination of this Agreement, each Consenting Creditor and
each Consenting Sponsor may, upon written notice to the Company and the other Parties, revoke
its vote or any consents given prior to such termination, whereupon any such vote or consent shall
be deemed, for all purposes, to be null and void ab initio and shall not be considered or otherwise
used in any manner by the Parties in connection with the Restructuring and this Agreement. If this
Agreement has been terminated as to any Consenting Creditor or any Consenting Sponsor in
accordance with Section 6 hereof at a time when permission of the Bankruptcy Court shall be
required for a change or withdrawal (or cause to change or withdraw) of its vote to accept the Plan,
the Company shall not oppose any attempt by such Consenting Creditor or any Consenting
Sponsor to change or withdraw (or cause to change or withdraw) such vote at such time, subject
to all remedies available to the Company at law, equity, or otherwise, including those remedies set
forth in Section 13 hereof. Nothing herein shall be construed to prohibit the Company from
contesting the validity of any purported termination of this Agreement pursuant to Section 6
hereof.

               (g)    If the Restructuring is not consummated, nothing herein shall be construed
as a waiver by any Party of any or all of such Party’s rights, and the Parties expressly reserve any
and all of their respective rights. Pursuant to Federal Rule of Evidence 408 and any other
applicable rules of evidence, this Agreement and all negotiations relating hereto shall not be
admissible into evidence in any proceeding other than a proceeding to enforce its terms.

                (h)     Consenting Second Lien Creditor Termination. Notwithstanding anything
to the contrary herein, any Consenting Second Lien Creditor may terminate this Agreement solely
as to such Consenting Second Lien Creditor if (i) the treatment of Second Lien Term Loan Claims



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under the Plan or this Agreement, or any recovery granted to such Consenting Second Lien
Creditor, is modified in any manner adverse to such Consenting Second Lien Creditor; (ii) a
Creditor Termination Event occurs under Sections 6(b)ii, 6(b)xi, 6(b)xiv (but solely with respect
to the avoidance, disallowance, subordination, or recharacterization of any Second Lien Term
Loan Claim, lien, or interest held by such Consenting Second Lien Creditor arising under or
relating to the Second Lien Term Loan Agreement), 6(b)xvii, 6(b)xviii, or 6(b)xxi (but solely with
respect to termination by the Company) of this Agreement; or (iii) the class of the holders of
Second Lien Term Loan Claims has voted to reject the Plan.

                    7.         Definitive Documents; Good Faith Cooperation; Further Assurances.

               Each Party hereby covenants and agrees to cooperate with each other in good faith
in connection with, and shall exercise commercially reasonable efforts with respect to the pursuit,
approval, negotiation, execution, delivery, implementation, and consummation of the Plan and the
Restructuring, as well as the negotiation, drafting, execution and delivery of the Definitive
Documents. Furthermore, subject to the terms hereof, each of the Parties shall (i) take such action
as may be reasonably necessary or reasonably requested by the other Parties to carry out the
purposes and intent of this Agreement, including making and filing any required regulatory filings,
and (ii) refrain from taking any action that would frustrate the purposes and intent of this
Agreement.

                    8.         Representations and Warranties.

                (a)     Each Party, severally (and not jointly), represents and warrants to the other
Parties that the following statements are true, correct, and complete as of the date hereof (or as of
the date a Consenting Creditor becomes a party hereto):

                             i.     such Party is validly existing and in good standing under the laws of
                    its jurisdiction of incorporation or organization, and has all requisite corporate,
                    partnership, limited liability company, or similar authority to enter into this
                    Agreement and carry out the transactions contemplated hereby and perform its
                    obligations contemplated hereunder; and the execution and delivery of this
                    Agreement and the performance of such Party’s obligations hereunder have been
                    duly authorized by all necessary corporate, limited liability company, partnership
                    or other similar action on its part;

                            ii.      the execution, delivery, and performance by such Party of this
                    Agreement does not and will not (A) violate any material provision of law, rule, or
                    regulation applicable to it or any of its subsidiaries or its charter or bylaws (or other
                    similar governing documents) or those of any of its subsidiaries, or (B) conflict
                    with, result in a breach of, or constitute (with due notice or lapse of time or both) a
                    default under any material contractual obligation to which it or any of its
                    subsidiaries is a party except, in the case of the Company, for the filing of the
                    Chapter 11 Cases;

                         iii.    the execution, delivery, and performance by such Party of this
                    Agreement does not and will not require any material registration or filing with,



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                    consent or approval of, or notice to, or other action, with or by, any federal, state or
                    governmental authority or regulatory body, except such filings as may be necessary
                    and/or required by the SEC or other securities regulatory authorities under
                    applicable securities laws; and

                           iv.      this Agreement is the legally valid and binding obligation of such
                    Party, enforceable against it in accordance with its terms, except as enforcement
                    may be limited by bankruptcy, insolvency, reorganization, moratorium, or other
                    similar laws relating to or limiting creditors’ rights generally or by equitable
                    principles relating to enforceability or a ruling of the Bankruptcy Court.

               (b)      Each Consenting Creditor severally (and not jointly) represents and
warrants to the other Parties that, as of the date hereof (or as of the date such Consenting Creditor
becomes a party hereto), such Consenting Creditor (i) is the owner of the aggregate principal
amount of the Loans set forth below its name on the signature page hereto (or below its name on
the signature page of a Joinder Agreement for any Consenting Creditor that becomes a party hereto
after the date hereof) and does not own any other Loans, and/or (ii) has, with respect to the
beneficial owners of such Loans, (A) sole investment or voting discretion with respect thereto, (B)
full power and authority to vote on and consent to matters concerning such Loans or to exchange,
assign, and transfer such Loans, and (C) full power and authority to bind or act on the behalf of,
such beneficial owners.

               (c)     Each Consenting Sponsor severally (and not jointly) represents and
warrants to the other Parties that such Consenting Sponsor holds of record and owns beneficially
the number of shares of common stock of Holdings set forth below such Consenting Sponsor’s
name on its signature page to this Agreement, free and clear of any restrictions on transfer, liens
or options, warrants, purchase rights, contracts, commitments, claims, and demands.

                    9.         Disclosure; Publicity.

                The Company shall submit drafts to the Consenting Creditor Counsel and the
Consenting Sponsors of any press releases that constitute disclosure of the existence of the terms
of this Agreement or any amendment to the terms of this Agreement at least two (2) business days
prior to making any such disclosure. Except as required by applicable law or otherwise permitted
under the terms of any other agreement between the Company and any Consenting Creditor, no
Party or its advisors shall disclose to any Person (including, for the avoidance of doubt, any other
Party), other than advisors to the Company, the principal amount or percentage of any Loans held
by any Consenting Creditor without such Consenting Creditor’s consent; provided, however, that
(i) if such disclosure is required by law, subpoena, or other legal process or regulation, the
disclosing Party shall afford the relevant Consenting Creditor a reasonable opportunity to review
and comment in advance of such disclosure and shall take all reasonable measures to limit such
disclosure (the expense of which, if any, shall be borne by the relevant Consenting Creditor) and
(ii) the foregoing shall not prohibit the disclosure of the aggregate percentage or aggregate
principal amount of Loans held by all Consenting Creditors, collectively, on a facility by facility
basis. Notwithstanding the provisions in this Section 9, any Party may disclose, to the extent
consented to in writing by a Consenting Creditor, such Consenting Creditor’s individual holdings.




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                    10.        Amendments and Waivers.

                (a)     Other than as set forth in Section 10(b), this Agreement, including any
exhibits or schedules hereto, may not be waived, modified, amended, or supplemented except with
the written consent of the Company, the Requisite Creditors, the Consenting Sponsors (in the case
of the Consenting Sponsors, such consent shall be limited solely to the Consenting Sponsor
Consent Right, the definition of which, for the avoidance of doubt, shall not be modified, amended,
or changed without the consent of the Consenting Sponsors), and the Consenting Second Lien
Creditors (in the case of the Consenting Second Lien Creditors, such consent shall be limited solely
to the Consenting Second Lien Creditor Consent Right, the definition of which, for the avoidance
of doubt, shall not be modified, amended, or changed without the consent of the Consenting
Second Lien Creditors);

                    (b)        Notwithstanding Section 10(a):

                            i.      any waiver, modification, amendment, or supplement to this Section
                    10 shall require the written consent of all of the Parties;

                           ii.     any modification, amendment, or change to the definition of
                    “Requisite Creditors” shall require the written consent of each Consenting Creditor
                    included in such definition and the Company;

                          iii.    any modification, amendment, or change to the definition of
                    “Supermajority Requisite Creditors” shall require the written consent of each
                    Consenting First Lien Creditor and the Company;

                           iv.    any modification, amendment, or change to the definition of the
                    “Outside Date” shall require the written consent of Consenting Creditors owning at
                    least 75% of the outstanding relevant First Lien Term Loan Claims and Second
                    Lien Term Loan Claims, as applicable, held by the Consenting Creditors and the
                    Company; and

                            v.      any change, modification, or amendment to this Agreement or the
                    Plan that treats or affects any Consenting Creditor in a manner that is materially
                    and adversely disproportionate, on an economic or non-economic basis, to the
                    manner in which any of the other Consenting Creditors are treated (after taking into
                    account each of the Consenting Creditor’s respective holdings in the Company and
                    the recoveries contemplated by the Plan (as in effect on the date hereof)) shall
                    require the written consent of such materially adversely and disproportionately
                    affected Consenting Creditor.

               (c)     Notwithstanding the foregoing, in the event that a materially adversely and
disproportionately affected Consenting Creditor (“Non-Consenting Creditor”) does not consent
to a waiver, change, modification, or amendment to this Agreement requiring the consent of each
Consenting Creditor, but such waiver, change, modification, or amendment receives the consent
of the Requisite Creditors, this Agreement shall be deemed to have been terminated only as to such
Non-Consenting Creditor, but this Agreement shall continue in full force and effect in respect to



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all other members of the Consenting Class from time to time without the consent of any Consenting
Creditors who have so consented.

                    11.        Effectiveness.

               This Agreement shall become effective and binding upon each Party upon the
execution and delivery by such Party of an executed signature page hereto and shall become
effective and binding on all Parties on the Support Effective Date; provided, however, that
signature pages executed by Consenting Creditors shall be delivered to (i) other Consenting
Creditors and the Consenting Sponsors in a redacted form that removes such Consenting Creditors’
holdings of the Loans and (ii) the Company, Weil, and Consenting Creditor Counsel in an
unredacted form (to be held by Weil and Consenting Creditor Counsel on a professionals’ eyes
only-basis).

                    12.        GOVERNING LAW; JURISDICTION; WAIVER OF JURY TRIAL.

                (a)      This Agreement shall be construed and enforced in accordance with, and
the rights of the parties shall be governed by, the law of the State of New York, without giving
effect to the conflict of laws principles thereof.

                (b)    Each of the Parties irrevocably agrees that any legal action, suit, or
proceeding arising out of or relating to this Agreement brought by any Party shall be brought and
determined in any federal or state court in the Borough of Manhattan in the City of New York
(“NY Courts”) and each of the Parties hereby irrevocably submits to the exclusive jurisdiction of
the aforesaid courts for itself and with respect to its property, generally and unconditionally, with
regard to any such proceeding arising out of or relating to this Agreement or the Restructuring.
Each of the Parties agrees not to commence any proceeding relating to this Agreement or the
Restructuring except in the NY Courts, other than proceedings in any court of competent
jurisdiction to enforce any judgment, decree, or award rendered by any NY Courts. Each of the
Parties further agrees that notice as provided in Section 20 shall constitute sufficient service of
process and the Parties further waive any argument that such service is insufficient. Each of the
Parties hereby irrevocably and unconditionally waives, and agrees not to assert, by way of motion
or as a defense, counterclaim or otherwise, in any proceeding arising out of or relating to this
Agreement or the Restructuring, (i) any claim that it is not personally subject to the jurisdiction of
the NY Courts for any reason, (ii) that it or its property is exempt or immune from jurisdiction of
any such court or from any legal process commenced in such courts (whether through service of
notice, attachment prior to judgment, attachment in aid of execution of judgment, execution of
judgment, or otherwise) and (iii) that (A) the proceeding in any such court is brought in an
inconvenient forum, (B) the venue of such proceeding is improper, or (C) this Agreement, or the
subject matter hereof, may not be enforced in or by such courts. Notwithstanding the foregoing,
during the pendency of the Chapter 11 Cases, all proceedings contemplated by this Section 12(b)
shall be brought in the Bankruptcy Court.

          (c)  EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED



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HEREBY (WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                    13.        Specific Performance/Remedies.

                It is understood and agreed by the Parties that money damages would not be a
sufficient remedy for any breach of this Agreement by any Party and each non-breaching Party
shall be entitled to specific performance and injunctive or other equitable relief (including
attorneys’ fees and costs) as a remedy of any such breach, without the necessity of proving the
inadequacy of money damages as a remedy, including an order of the Bankruptcy Court requiring
any Party to comply promptly with any of its obligations hereunder. Each Party also agrees that it
will not seek, and will waive any requirement for, the securing or posting of a bond in connection
with any Party seeking or obtaining such relief.

                    14.        Survival.

                Notwithstanding the termination of this Agreement pursuant to Section 6 hereof,
the agreements and obligations of the Parties in this Section 14 and Sections 3(g), 6(f), 6(g), 9, 12,
13, 16, 17, 18, 19, 20 and 21 hereof (and any defined terms used in any such Sections) shall survive
such termination and shall continue in full force and effect in accordance with the terms hereof;
provided, however, that any liability of a Party for failure to comply with the terms of this
Agreement shall survive such termination.

                    15.        Headings.

               The headings of the sections, paragraphs, and subsections of this Agreement are
inserted for convenience only and shall not affect the interpretation hereof or, for any purpose, be
deemed a part of this Agreement.

                    16.        Successors and Assigns; Severability; Several Obligations.

                This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators and representatives;
provided, however, that nothing contained in this Section 16 shall be deemed to permit Transfers
of the Loans or Claims arising under the Loans other than in accordance with the express terms of
this Agreement. If any provision of this Agreement, or the application of any such provision to
any Person or circumstance, shall be held invalid or unenforceable in whole or in part, such
invalidity or unenforceability shall attach only to such provision or part thereof and the remaining
part of such provision hereof and this Agreement shall continue in full force and effect so long as
the economic or legal substance of the transactions contemplated hereby is not affected in any
manner materially adverse to any Party. Upon any such determination of invalidity, the Parties
shall negotiate in good faith to modify this Agreement so as to effect the original intent of the
Parties as closely as possible in a reasonably acceptable manner in order that the transactions


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contemplated hereby are consummated as originally contemplated to the greatest extent possible.
The agreements, representations, and obligations of the Parties are, in all respects, ratable and
several and neither joint nor joint and several.

                    17.        No Third-Party Beneficiaries.

               Unless expressly stated herein, this Agreement shall be solely for the benefit of the
Parties and no other Person shall be a third-party beneficiary hereof.

                    18.        Prior Negotiations; Entire Agreement.

               This Agreement, including the exhibits and schedules hereto (including the Plan),
constitutes the entire agreement of the Parties and supersedes all other prior negotiations, with
respect to the subject matter hereof and thereof, except that the Parties acknowledge that any
confidentiality agreements (if any) heretofore executed between the Company and each
Consenting Creditor shall continue in full force and effect.

                    19.        Counterparts.

               This Agreement may be executed in several counterparts, each of which shall be
deemed to be an original, and all of which together shall be deemed to be one and the same
agreement. Execution copies of this Agreement may be delivered by electronic mail, or otherwise,
which shall be deemed to be an original for the purposes of this paragraph.

                    20.        Notices.

               All notices hereunder shall be deemed given if in writing and delivered, if
contemporaneously sent by electronic mail, courier, or by registered or certified mail (return
receipt requested) to the following addresses:

                    (1)        If to the Company, to:

                    Chef Holdings, Inc.
                    3405 E. Overland Rd., Suite 360
                    Meridian, ID 83642
                    Attention: Jonathon Spiller
                                (jspiller@ctifoods.com)

                    With a copy to:

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, NY 10153
                    Attention: Matt Barr, Esq.
                               (matt.barr@weil.com)
                               Ronit J. Berkovich, Esq.
                               (Ronit.Berkovich@weil.com)
                               Lauren Tauro, Esq.


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                                   (lauren.tauro@weil.com)

                    (2)     If to a Consenting Creditor, or a transferee thereof, to the addresses set forth
                    below the Consenting Creditor’s signature (or as directed by any transferee
                    thereof), as the case may be, with copies to:

                    Davis Polk & Wardwell LLP
                    450 Lexington Avenue
                    New York, NY 10017
                    Attention: Damian Schaible, Esq.
                               (damian.schaible@davispolk.com)
                               Michelle McGreal, Esq.
                               (michelle.mcgreal@davispolk.com)
                               Stephen Piraino, Esq.
                               (stephen.piraino@davispolk.com)

                    (3)   If to the Consenting Sponsors, to the addresses set forth below each
                    Consenting Sponsor’s signature, with copies to:

                    Akin Gump Strauss Hauer & Feld LLP
                    One Bryant Park
                    Bank of America Tower
                    New York, NY 10036
                    Attention: Jason Rubin, Esq.
                               (jrubin@akingump.com)
                               Ira Dizengoff, Esq.
                               (idizengoff@akingump.com)

               Any notice given by delivery, mail, or courier shall be effective when received.
Any notice given by electronic mail shall be effective upon oral, machine, or electronic mail (as
applicable) confirmation of transmission.

                    21.        No Solicitation; Representation by Counsel; Adequate Information.

                (a)     This Agreement is not and shall not be deemed to be a solicitation for votes
in favor of the Plan in the Chapter 11 Cases. The acceptances of the Consenting Creditors with
respect to the Plan will not be solicited until such Consenting Creditor has received the Disclosure
Statement and related ballots and solicitation materials.

               (b)    Each Party acknowledges that it has had an opportunity to receive
information from the Company and that it has been represented by counsel in connection with this
Agreement and the transactions contemplated hereby. Accordingly, any rule of law or any legal
decision that would provide any Party with a defense to the enforcement of the terms of this
Agreement against such Party based upon lack of legal counsel shall have no application and is
expressly waived.




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                (c)     Each Consenting Creditor and Consenting Sponsor acknowledges, agrees,
and represents to the other Parties that it (i) is a “qualified institutional buyer” as such term is
defined in Rule 144A of the Securities Act, (ii) is an “accredited investor” as such term is defined
in Rule 501 of Regulation D of the Securities Act, (iii) understands that if it is to acquire any
securities, as defined in the Securities Act, pursuant to the Restructuring, such securities have not
been registered under the Securities Act and that such securities are, to the extent not acquired
pursuant to section 1145 of the Bankruptcy Code, being offered and sold pursuant to an exemption
from registration contained in the Securities Act, based in part upon such Consenting Creditor’s
or Consenting Sponsor’s, as applicable, representations contained in this Agreement and cannot
be sold unless subsequently registered under the Securities Act or an exemption from registration
is available, and (iv) has such knowledge and experience in financial and business matters that
such Consenting Creditor or such Consenting Sponsor, as applicable, is capable of evaluating the
merits and risks of the securities to be acquired by it (if any) pursuant to the Restructuring and
understands and is able to bear any economic risks with such investment.

                                     [Signature Pages Follow]




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                                        EXHIBIT A

                                     CHAPTER 11 PLAN



                                         [Omitted]




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                                       EXHIBIT B

                                     MIP TERM SHEET




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                                          Exhibit A

                                          [Omitted]




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                                       EXHIBIT C

                                 DIP ABL TERM SHEET




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                                                                                                Exhibit A

                                           CONFIDENTIAL

                                          Barclays Bank PLC

                                Wells Fargo Bank, National Association

                                 CTI FOODS HOLDINGS CO. LLC

                               $80,000,000 Senior Secured Superpriority

                      Debtor-In-Possession Asset-Based Revolving Credit Facility
                                    (“DIP ABL Credit Facility”)

                             Summary of Principal Terms and Conditions
                                       (“DIP Term Sheet”)


CTI Foods Holdings Co., LLC (the “Company”), CTI Foods Acquisition LLC (“Holdings”), Chef
Holdings, Inc. (“Parent”) and certain subsidiaries of the Parent have entered into an asset-based revolving
credit facility for which Wells Fargo Bank, National Association (“Wells Fargo”) is the administrative
and collateral agent (as successor to Goldman Sachs Lending Partners, LLC, in such capacity) as set forth
in the Revolving Credit Agreement, dated as of June 28, 2013, by and among the Company, Holdings and
certain subsidiaries of the Company, Wells Fargo (as successor administrative and collateral agent to
Goldman Sachs Lending Partners, LLC), and the Lenders party thereto including Barclays Bank PLC
(“Barclays”) (as the same has been amended, the “Existing Credit Agreement”). All capitalized terms
used herein and not defined herein shall have the meanings given to them in the Commitment Letter to
which this Exhibit A is attached (including the annexes and schedules hereto) or in the Existing Credit
Agreement, as applicable.



Cases:                     Parent, Holdings, the Company and all of the Parent’s Subsidiaries
                           (collectively, the “Debtors” and each a “Debtor”) will be debtors and debtors-
                           in-possession in connection with their respective cases under chapter 11 (the
                           “Cases”) of title 11 of the United States Code (the “Bankruptcy Code”).

Borrowers:                 The Company and any domestic subsidiaries of Holdings with assets to be
                           included in the Borrowing Base (together with the Company, individually, a
                           “Borrower” and collectively, the “Borrowers”).

Guarantors:                Parent and all of Parent’s present and future domestic subsidiaries and any
                           direct or indirect parent of the Company (individually, a “Guarantor” and
                           collectively, the “Guarantors,” and together with Borrowers, individually a
                           “Loan Party” and collectively, “Loan Parties”). It is understood and agreed
                           that each guarantor under the DIP Term Credit Facility, Pre-Petition First Lien
                           Loan Agreement and/or the Pre-Petition Second Lien Loan Agreement (each
                           as defined herein) shall be a Loan Party.


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Joint Lead Arrangers   Barclays and Wells Fargo (together, in such capacity, “DIP Arrangers”).
and Joint
Bookrunners:
Administrative and     Barclays (in such capacity, “DIP Agent”).
Collateral Agent:
Lenders:               Barclays, Wells Fargo and such other institutions that may become parties to
                       the financing arrangements as lenders (collectively, “DIP ABL Lenders”).

Letter of Credit       Barclays and Wells Fargo (in such capacity, “DIP Issuing Banks”).
Issuer:
Swing Line Lender:     Barclays (in such capacity, “DIP Swing Line Lender”).

DIP Term Credit        Concurrently with the entering into the DIP ABL Credit Facility (as defined
Facility:              below), the Company, certain of its subsidiaries, Holdings and the lenders
                       thereto (those lenders, the “DIP Term Lenders”) will enter into a secured
                       debtor-in-possession term loan credit facility in an aggregate principal amount
                       of up to $75,000,000 (the “DIP Term Credit Facility”) of which the entire
                       aggregate principal amount must be drawn not later than one (1) business day
                       following the entry of the Final Financing Order; provided that the proceeds of
                       any delayed draw loans, not to exceed $12,500,000, made upon the entry of
                       the Final Financing Order shall be funded into a segregated deposit account
                       subject to an account control agreement in favor of the administrative agent
                       under the DIP Term Credit Facility (the “DIP Term Funding Account”).

DIP ABL Credit         The DIP ABL Credit Facility will consist of a senior secured superpriority
Facility:              debtor-in-possession asset-based revolving credit and letter of credit facility of
                       up to $80,000,000 provided to Borrowers, each as a debtor and debtor-in-
                       possession upon the commencement of the Cases, subject to such other limits
                       as the Bankruptcy Court may require.

                       The revolving loans under the DIP ABL Credit Facility (“Revolving DIP
                       Loans”) will be available to Borrowers in a maximum principal amount at any
                       one time of up to the lesser of (a) the aggregate commitments of the DIP ABL
                       Lenders in the DIP ABL Credit Facility or (b) the Borrowing Base as
                       described below and subject to the terms and conditions of the DIP Loan
                       Documents.

                       The term “Maximum Credit” as used herein means the aggregate of the
                       commitments of the DIP ABL Lenders for the DIP ABL Credit Facility. The
                       term “Revolving DIP Loans” as used herein includes DIP Swing Line Loans
                       (as defined below), except as otherwise provided herein. In the event that the
                       maximum amount of the DIP ABL Credit Facility is at any time less than the
                       Maximum Credit based on any order of the Bankruptcy Court in the Cases or
                       any agreement of the parties approved by the Bankruptcy Court, then
                       Borrowers shall not be permitted to borrow in excess of the amount specified
                       in such order or pursuant to such agreement and the term “Maximum Credit”
                       as used herein shall mean such lesser amount.


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                       Revolving DIP Loans may be drawn, repaid and reborrowed.

Letters of Credit:     A portion of the DIP ABL Credit Facility will be available for standby letters
                       of credit arranged by the DIP Agent and issued by the DIP Issuing Banks
                       (sharing ratably in the DIP Letter of Credit Sublimit commitment) (“DIP
                       Letters of Credit”) in an aggregate amount at any time outstanding not to
                       exceed $40,000,000 (the “DIP Letter of Credit Sublimit”). DIP Letters of
                       Credit will reduce the amount of the Revolving DIP Loans available under the
                       Borrowing Base and the Maximum Credit.

                       DIP Letters of Credit will be issued by the DIP Issuing Banks and each DIP
                       ABL Lender will purchase an irrevocable and unconditional pro rata
                       participation in each DIP Letter of Credit.

Swing Line Loans:      A portion of the DIP ABL Credit Facility will be available as swing line loans
                       (“DIP Swing Line Loans”) with a sublimit on DIP Swing Line Loans to
                       Borrowers outstanding at any time of $10,000,000. DIP Swing Line Loans will
                       reduce the amount of the Revolving DIP Loans available under the Borrowing
                       Base and the Maximum Credit.

                       DIP Swing Line Loans will be made available by the DIP Swing Line Lender,
                       and each DIP ABL Lender will purchase an irrevocable and unconditional pro
                       rata participation in each DIP Swing Line Loan.

Borrowing Base:        The Revolving DIP Loans and DIP Letters of Credit shall be provided to
                       Borrowers subject to the terms and conditions of the DIP Loan Documents and
                       availability under the Borrowing Base, which will be calculated as follows:

                       (a) 85% multiplied by the net amount of the eligible accounts of Borrowers,
                           plus

                       (b) the amount equal to 85% of the NOLV Percentage of eligible inventory of
                           Borrowers (net of reserves with respect to inventory not already reflected
                           in the determination of the NOLV Percentage) multiplied by the value of
                           such category of eligible inventory of Borrowers; minus

                       (c) reserves.

                       The “value” of each category of eligible inventory will be determined in
                       accordance with the Existing Credit Agreement.

                       “NOLV Percentage” means, with respect to inventory of any person, the net
                       orderly liquidation value of inventory, expressed as a percentage of value, net
                       of all reasonable costs and expenses of liquidation thereof, as determined
                       based upon the most recent inventory appraisal conducted in accordance with
                       the DIP Loan Documents (or the Existing Credit Agreement, as the case may
                       be).

                       The term “Permitted Discretion” as used in this DIP Term Sheet with reference
                       to the DIP Agent or the DIP Arrangers, shall mean a determination made in
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                          good faith in the exercise of their reasonable business judgment based on how
                          an asset-based lender with similar rights providing a credit facility of the type
                          set forth herein would act in similar circumstances at the time with the
                          information then available to it.

Eligibility; Reserves:    Substantially the same as the Existing Credit Agreement, provided, that,
                          reserves will be established in respect of (a) the ABL Carve-Out Reserve
                          Amount (as defined below), (b) the amount of any senior liens or claims in or
                          against the Revolving Facility Priority Collateral that have priority over the
                          liens and claims of DIP Agent, and (c) the amount of priority or administrative
                          expense claims, which are superior to or rank in parity with DIP Agent’s
                          superpriority claim and which DIP Arrangers determine Loan Parties would be
                          required to pay before the obligations due DIP Agent and Lenders during the
                          Cases.

Optional Prepayment       Substantially the same as the Existing Credit Agreement.
and Commitment
Reductions:
Mandatory                 Substantially the same as the Existing Credit Agreement.
Prepayments:
Interest and Fees:        See Schedules 1 and 2 to this DIP Term Sheet.

Pre-Petition Facilities   The Existing Credit Agreement means that certain Revolving Credit
                          Agreement, dated as of June 28, 2013, among the parties thereto. The
                          “Secured Parties” thereunder are referred to herein as the “Pre-Petition ABL
                          Secured Parties” and the “Administrative Agent” thereunder is referred to
                          herein as the “Pre-Petition ABL Agent”. The “Loan Documents” entered in
                          connection with the Existing Credit Agreement are referred to as the “Pre-
                          Petition ABL Documents.”

                          “Pre-Petition First Lien Term Loan Agreement” means that certain First Lien
                          Term Loan Agreement, dated as of June 28, 2013, among Holdings, the
                          Company, the guarantors named therein, the financial institutions named
                          therein, and Cortland Capital Markets Services LLC, as successor
                          administrative agent (the “Pre-Petition First Lien Agent”). The “Secured
                          Parties” thereunder are referred to herein as the “Pre-Petition First Lien
                          Secured Parties.” The “Lenders” thereunder are referred to herein as the “Pre-
                          Petition First Lien Lenders.”

                          “Pre-Petition Second Lien Term Loan Agreement” means that certain Second
                          Lien Term Loan Agreement, dated as of June 28, 2013, among Holdings, the
                          Company, the guarantors named therein, the financial institutions named
                          therein, and an administrative agent to be appointed, as successor
                          administrative agent (the “Pre-Petition Second Lien Agent”). The “Secured
                          Parties” thereunder are referred to herein as the “Pre-Petition Second Lien
                          Secured Parties and together with the Pre-Petition First Lien Secured Parties
                          and Pre-Petition ABL Secured Parties, the “Pre-Petition Secured Parties.” The
                          “Lenders” thereunder are referred to herein as the “Pre-Petition Second Lien

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                       Lenders.”

                       The Pre-Petition First Lien Term Loan Agreement and the Pre-Petition Second
                       Lien Term Loan Agreement are referred to herein as the “Pre-Petition Term
                       Loan Agreements,” and the secured obligations thereunder, collectively, the
                       “Pre-Petition Term Loan Secured Obligations,” and all collateral securing such
                       Pre-Petition Term Loan Secured Obligations, together with collateral securing
                       the Existing Credit Agreement, the “Pre-Petition Collateral.”

                       The Pre-Petition First Lien Secured Parties and the Pre-Petition Second Lien
                       Secured Parties are collectively referred to herein as the “Pre-Petition Term
                       Loan Secured Parties.”

                       “Pre-Petition Intercreditor Agreement” means that certain intercreditor
                       agreement, dated as of June 28, 2013 (as amended, restated, supplemented or
                       otherwise modified from time to time), among the Company, the other
                       grantors party thereto, the Pre-Petition First Lien Agent, the Pre-Petition
                       Second Lien Agent and the agent under the Existing Credit Agreement.

Collateral:            To secure all obligations of each Loan Party under the DIP ABL Credit
                       Facility the following (the “Collateral”): (a) first priority, perfected security
                       interest and lien on the collateral of each Loan Party that constitutes Revolving
                       Facility Priority Collateral (to be defined in a manner consistent with Pre-
                       Petition Intercreditor Agreement and such other modifications to reflect the
                       commencement of the Cases and which will include unencumbered assets
                       immediately prior to the Closing Date of the same type and similar nature as
                       assets that secure on a first lien basis the Existing Credit Agreement); (b)
                       junior priority (subject to certain specified permitted liens and otherwise
                       subordinate only to the security interests and liens that secure the Pre-Petition
                       First Lien Term Loan Agreement and, on a second lien basis, the Pre-Petition
                       Second Lien Term Loan Agreement), perfected security interest and lien on
                       the collateral of each Loan Party that constitutes the Term Loan Priority
                       Collateral (to be defined in a manner consistent with Pre-Petition Intercreditor
                       Agreement and such other modifications to reflect the commencement of the
                       Cases and which will include unencumbered assets immediately prior to the
                       Closing Date of the same type and similar nature as assets that secure on a first
                       lien basis the the Pre-Petition First Lien Term Loan Agreement and the Pre-
                       Petition Second Lien Term Loan Agreement), in each case subject to the
                       Carve-Out, that is not subject to (x) valid, perfected and non-avoidable liens as
                       of the Petition Date (as defined below) or (y) valid liens in existence as of the
                       Petition Date that are perfected subsequent to the Petition Date as permitted by
                       Section 546(b) of the Bankruptcy Code, excluding avoidance actions but
                       including, subject to entry of the Final Financing Order, avoidance proceeds
                       and (c) be secured by a junior perfected security interest and lien on the
                       Collateral (i) of each Loan Party that constitutes Revolving Facility Priority
                       Collateral to the extent such Collateral is subject to (A) valid, perfected and
                       non-avoidable liens in favor of third parties that were in existence immediately
                       prior to the Petition Date and permitted under the Existing Credit Agreement
                       and (B) valid and non-avoidable permitted liens in favor of third parties that
                       were in existence immediately prior to the Petition Date that were perfected
                       subsequent to the Petition Date as permitted by Section 546(b) of the
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                       Bankruptcy Code, and (ii) of each Loan Party that constitutes Term Loan
                       Priority Collateral to the extent subject to Adequate Protection Liens in favor
                       of either the Pre-Petition First Lien Secured Parties or the Pre-Petition Second
                       Lien Secured Parties (the “Pre-Petition Term Loan Secured Parties Adequate
                       Protection Liens”).

                       The obligations secured may include hedging and bank product obligations of
                       the Loan Parties where a DIP ABL Lender or an affiliate of a DIP ABL Lender
                       is a counterparty.

                       For purposes of the DIP ABL Credit Facility, the Collateral will also include
                       (i) subject to the entry of a Final Financing Order (as defined below), all
                       present and future claims, rights, interests, assets, proceeds and properties
                       recovered by or on behalf of each Loan Party or any trustee of any Loan Party
                       (whether in the Cases or any subsequent case to which the Cases may be
                       converted), including without, limitation, all such property recovered as a
                       result of transfers or obligations avoided or actions maintained or taken
                       pursuant to, inter alia, Sections 542, 545, 548, 549, 550, 552 and 553 of the
                       Bankruptcy Code and (ii) assets of each Loan Party of the type constituting
                       Collateral existing on the date of the filing by each Loan Party of their
                       petitions to commence the Cases (the “Petition Date”) and arising or acquired
                       after the Petition Date.

                       All amounts owing by the Loan Parties under the DIP ABL Credit Facility at
                       all times will constitute allowed super-priority administrative expense claims
                       in the Cases against each of the Loan Parties on a joint and several basis
                       having priority over all other administrative expenses of the kind specified in
                       sections 503(b) and 507(b) of the Bankruptcy Code, subject only to the Carve-
                       Out to the extent provided in any Financing Order (as defined below).

                       For purposes of the DIP ABL Credit Facility, all of the security interests and
                       liens described herein shall be effective and perfected as of the entry of the
                       Interim Financing Order (as defined in Annex I hereto) and without the
                       necessity of the execution (or delivery or filing, as applicable) of mortgages,
                       security agreements, pledge agreements, financing statements or other
                       agreements, but without limitation of the right of the DIP Agent to reasonably
                       require any such agreements.

                       The Prepetition ABL Agent (for itself and for the benefit of the Prepetition
                       ABL Secured Parties) is granted the following adequate protection:

                           1. Adequate Protection Liens. Until the occurrence of the indefeasible
                              payment and discharge of obligations under the Pre-Petition ABL
                              Documents in accordance with the Financing Orders, a valid,
                              perfected replacement security interest in and lien upon the Collateral
                              to secure payment of any and all of the “Prepetition ABL Adequate
                              Protection Claim,” which is an amount equal to the aggregate
                              diminution in the value of the Prepetition ABL Secured Parties’
                              interest in the Pre-Petition Collateral. The Adequate Protection Liens
                              shall have the same priority vis-à-vis the other Pre-Petition Secured
                              Parties as set forth in the Pre-Petition Intercreditor Agreement, and

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                               shall be senior to all other liens on the Collateral except (i) the Carve-
                               Out, (ii) permitted prior liens, (iii) Pre-Petition Term Loan Secured
                               Parties Adequate Protection Liens (in respect of the Term Loan
                               Priority Collateral), (iv) the liens securing the DIP ABL Credit
                               Facility, and (v) the liens securing the DIP Term Credit Facility (in
                               respect of the Term Loan Priority Collateral).

                           2. Section 507(b) Claim. Until the occurrence of the indefeasible
                              payment and discharge of obligations under the Pre-Petition ABL
                              Documents in accordance with the Financing Orders, the Prepetition
                              ABL Secured Parties are granted against each of the Loan Parties on a
                              joint and several basis an allowed superpriority administrative expense
                              claims as provided for in section 507(b) of the Bankruptcy Code in the
                              amount of the Prepetition ABL Adequate Protection Claim. The
                              Section 507(b) Claim has the same priority vis-à-vis the other Pre-
                              Petition Secured Parties as set forth in the Pre-Petition Intercreditor
                              Agreement;

                           3. Prepetition ABL Agent Fees and Expenses. The Prepetition ABL
                              Agent shall receive, for the benefit of the Prepetition ABL Secured
                              Parties, current cash payments of the reasonable and documented
                              prepetition and postpetition fees and expenses incurred prior to the
                              effectiveness of the indefeasible payment and discharge of the
                              obligations under the Existing Credit Agreement; and

                           4. Information Rights. Until the occurrence of the indefeasible payment
                              and discharge of obligations under the Pre-Petition ABL Documents in
                              accordance with the Financing Orders, the Prepetition ABL Secured
                              Parties are entitled to information rights as to be agreed, including,
                              without limitation, reasonable access to the Company’s officers,
                              management, books and records, premises and properties.

                           5. The relative rights and priorities in the Collateral among the DIP Term
                              Lenders and the DIP ABL Lenders will be set forth in an intercreditor
                              agreement (the “DIP ABL Intercreditor Agreement”), in form and
                              substance satisfactory to the DIP ABL Lenders and the DIP Term
                              Lenders.

                       Notwithstanding anything to the contrary herein or in any loan document
                       executed and delivered in connection with the DIP ABL Credit Facility, in no
                       event shall the Collateral for the DIP ABL Credit Facility include the DIP
                       Term Funding Account, which shall consist solely of up to $12,500,000 of loan
                       proceeds funded under the DIP Term Credit Facility, and the Company shall
                       not under any circumstances grant a security interest in and liens on the DIP
                       Term Funding Account to secure the obligations under the DIP ABL Credit
                       Facility.

Carve-Out:             “Carve-Out” means an amount equal to the sum of (i) all fees required to be
                       paid to the clerk of the Court and to the Office of the United States Trustee
                       under section 1930(a) of title 28 of the United States Code plus interest at the
                       statutory rate (without regard to the notice set forth in (iii) below); (ii) all
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                       reasonable fees and expenses incurred by a chapter 7 trustee under section
                       726(b) of the Bankruptcy Code in an amount not to exceed $50,000 (without
                       regard to the notice set forth in (iii) below); (iii) to the extent allowed at any
                       time, whether by interim or final compensation order or any other order of the
                       Bankruptcy Court, all unpaid fees, costs, and expenses (the “Professional
                       Fees”) incurred or accrued by persons or firms retained by the Loan Parties
                       pursuant to section 327, 328 or 363 of the Bankruptcy Code (collectively, the
                       “Debtor Professionals”) and any official committee of unsecured creditors (the
                       “Committee Professionals” and, together with the Debtor Professionals, the
                       “Professional Persons”) appointed in the Cases pursuant to section 1103 of the
                       Bankruptcy Code at any time before or on the day of delivery by the DIP
                       Agent of a Carve-Out Trigger Notice (defined below), plus Professional Fees
                       incurred after the Carve-Out Trigger Notice in an amount not to exceed
                       $3,000,000 of Debtor Professionals; provided, that under no circumstances
                       shall any success, completion, or similar fees be payable from the Carve-Out
                       following delivery of a Carve-Out Trigger Notice (collectively, the “Carve-Out
                       Amount”), in each case subject to the limits imposed by the Financing Orders.
                       Notwithstanding the foregoing, (x) the Prepetition ABL Secured Parties’ and
                       the DIP ABL Lenders’ aggregate share of the Carve-Out shall not exceed an
                       amount equal to the ABL Carve-Out Reserve Amount (defined below) and
                       (y) the ABL DIP Liens, Prepetition ABL Adequate Protection Liens, ABL
                       Indemnification Liens, and the DIP Superpriority Claims (each as defined in
                       the Financing Orders) in favor of DIP ABL Lenders shall be subject to only
                       the ABL Carve-Out Reserve Amount.

                       For purposes of the foregoing, “Carve-Out Trigger Notice” shall mean a
                       written notice delivered by any of the DIP Agents (as defined in the Interim
                       Financing Order) describing the event of default that has occurred and is
                       continuing under the applicable DIP Documents (as defined in the Interim
                       Financing Order). Immediately upon delivery of a Carve-Out Trigger Notice,
                       and prior to the payment to any Prepetition Secured Party on account of the
                       Adequate Protection (as defined in the Interim Financing Order) or otherwise,
                       the Debtors shall be required to deposit, in a segregated account not subject to
                       the control of the DIP Agents or the Prepetition Agents (as defined in the
                       Interim Financing Order) (the “Carve-Out Account”), an amount equal to the
                       Carve-Out Amount. The funds on deposit in the Carve-Out Account shall be
                       available only to satisfy obligations benefitting from the Carve-Out, and the
                       DIP Agents and the Prepetition Agents, each on behalf of itself and the
                       relevant secured parties, (i) shall not sweep or foreclose on cash of the Debtors
                       necessary to fund the Carve-Out Account and (ii) shall have a security interest
                       upon any residual interest in the Carve-Out Account available following
                       satisfaction in cash in full of all obligations benefitting from the Carve-Out,
                       and the priority of such lien on the residual should be consistent with the DIP
                       ABL Intercreditor Agreement and the Interim Financing Order.

                       The DIP ABL Agent shall be entitled to maintain a reserve (the “ABL Carve-
                       Out Reserve Amount”) in an amount equal to (i) the amount of Professional
                       Fees budgeted for Professional Persons employed by the Debtors in the Initial
                       Budget or any subsequent Approved Budget, as applicable; plus
                       (ii) $3,000,000.


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                       No portion of the Carve-Out, any Cash Collateral (as such term is defined in
                       Section 363 of the Bankruptcy Code), any other Collateral, or any proceeds of
                       the DIP ABL Credit Facility, including any disbursements set forth in the
                       Budget or obligations benefitting from the Carve-Out, shall be used for the
                       payment of Professional Fees, disbursements, costs or expenses incurred by
                       any person, including, without limitation, any committee appointed in the
                       Cases, in connection with challenging the DIP Agent’s or the DIP ABL
                       Lenders’ liens or claims (including in connection with any pre-petition
                       obligations under the Existing Credit Agreement that may remain outstanding)
                       or initiating or prosecuting any claim or action against the DIP Agent or any
                       DIP ABL Lender, or any pre-petition agent or lender party to the Existing
                       Credit Agreement, (including, without limitation, (a) a request to use cash
                       collateral (as such term is defined in Section 363 of the Bankruptcy Code)
                       without the prior written consent of DIP Arrangers, (b) a request, without the
                       prior written consent of DIP Arrangers, for authorization to obtain debtor-in-
                       possession financing or other financial accommodations pursuant to Section
                       364(c) or (d) of the Bankruptcy Code that does not indefeasibly repay in full in
                       cash the obligations under the DIP ABL Credit Facility (and including any pre-
                       petition obligations under the Existing Credit Agreement that may remain
                       outstanding) on terms and conditions acceptable to DIP Arrangers, or (c) any
                       act which has the effect of materially or adversely modifying or compromising
                       the rights and remedies of the DIP Agent or any Lender as set forth herein and
                       in the other DIP Loan Documents, or which results in the occurrence of an
                       Event of Default) other than with respect to seeking a determination that an
                       Event of Default has not occurred or is not continuing and, with respect to the
                       Pre-Petition ABL Agent, the Pre-Petition ABL Lenders’ liens and claims, the
                       Investigation Budget Cap (defined below).

                       Proceeds from the DIP ABL Credit Facility and/or Cash Collateral not to
                       exceed $50,000 in the aggregate (the “Investigation Budget Cap”) may be used
                       on account of Professional Fees incurred by Committee Professionals in
                       connection with the investigation of avoidance actions (but not the prosecution
                       of such actions) on account of the Debtors’ prepetition facilities (but not the
                       DIP ABL Credit Facility), which obligations will benefit from the Carve-Out
                       in an amount not to exceed the Investigation Budget Cap to the extent unpaid
                       as of delivery of a Carve-Out Trigger Notice.

                       For the avoidance of doubt and notwithstanding anything to the contrary
                       herein or in the final DIP documents, the Carve-Out shall be senior to all liens
                       and claims securing the DIP ABL Credit Facility, any adequate protection
                       liens, if any, and superpriority claims (whether granted to secure the DIP ABL
                       Credit Facility or as adequate protection), and any and all other liens or claims
                       securing the DIP ABL Credit Facility.

Use of Proceeds:       The proceeds of the DIP ABL Credit Facility, together with a portion of the
                       proceeds of the DIP Term Credit Facility, will be used to repay in full the
                       obligations under the Pre-Petition ABL Documents in accordance with the
                       Financing Orders, and for the working capital and general corporate purposes
                       of Borrowers, including allowed administrative expenses incurred during the
                       Cases, all substantially consistent with the 13-Week Budget (as defined
                       below), provided, that, in no event shall any such use of proceeds result in
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                        variances from the 13-Week Budget that would be a Material Budget
                        Deviation (as defined below).

                        No portion of the administrative expenses or priority claims in the Cases, other
                        than those directly attributable to the operation of the business of the Loan
                        Parties or to which the DIP Arrangers have specifically agreed (including the
                        Carve-Out), shall be funded with the Revolving DIP Loans or DIP Letters of
                        Credit and the percentages and categories of permitted allocations of such
                        claims and expenses shall be approved by the DIP Arrangers.

                        Notwithstanding the foregoing, proceeds shall not be used to affirmatively
                        commence or support, or to pay any professional fees incurred in connection
                        with, any adversary proceeding, motion or other action that seeks to challenge,
                        contest or otherwise seek to impair or object to the validity, extent,
                        enforceability or priority of (i) the DIP Agent’s and the DIP ABL Lenders’
                        liens, claims and rights or (ii) other than subject to the Investigation Budget
                        Cap, the Pre-Petition Secured Parties’ liens, claims and rights.

                        The Financing Orders shall authorize the Debtors to use the Loan Parties Cash
                        Collateral (as defined in Section 363(a) of the Bankruptcy Code) and other
                        Collateral as provided in the 13-Week Budget and as otherwise provided
                        herein and in the DIP Loan Documents.

Closing Date:           For the DIP ABL Credit Facility, the date of the entry of the Interim Financing
                        Order and satisfaction of the Conditions Precedent to Initial Borrowing (the
                        “DIP Closing Date”)

Term:                   The DIP ABL Credit Facility shall be for a term ending on the earliest of: (a)
                        120 days after the date of the earliest commencement of the Cases (the “DIP
                        Maturity Date”), (b) 30 days after the entry of the Interim Financing Order (as
                        defined below) if the Final Financing Order has not been entered prior to the
                        expiration of such 30 day period, (c) the substantial consummation (as defined
                        in Section 1101 of the Bankruptcy Code and which for purposes hereof shall
                        be no later than the “effective date”) of an Acceptable Plan (as defined below)
                        that is confirmed pursuant to an order entered by the Bankruptcy Court, (d) the
                        acceleration of the loans and the termination of the commitments with respect
                        to the DIP ABL Credit Facility in accordance with the DIP Loan Documents
                        (which shall accelerate upon the occurrence of any Event of Default (as
                        defined below)) or (e) the date of consummation of a sale of all or substantially
                        all of the Debtors’ assets under Section 363 of the Bankruptcy Code (clauses
                        (a) through (e), the “Termination Date”).

                        Prior to the Termination Date, the Borrowers shall have the right to extend the
                        DIP Maturity Date for a period of up to 60 days (the “Extended DIP Maturity
                        Date”); provided that:

                            (i) the Debtors have provided the DIP Arrangers with not less than 5
                                Business Days prior written notice of such extension,

                            (ii) the Debtors shall have filed an “Acceptable Plan,” defined as a chapter

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                               11 plan of reorganization, in form and substance satisfactory to the
                               Arrangers (and with respect to those provisions thereof that affect the
                               rights and duties of the DIP Agent, satisfactory to the DIP Agent),
                               which, among other things, (i) contains releases in favor of the DIP
                               Agent, the DIP ABL Lenders, the Pre-Petition ABL Agent, the lenders
                               under the Pre-Petition ABL Credit Agreement, and their respective
                               affiliates, (ii) provides for the indefeasible payment in full in cash and
                               full discharge of the Loan Parties’ obligations under the DIP ABL
                               Credit Facility at emergence, but excluding payment of contingent
                               indemnity obligations, which shall survive confirmation of such a
                               plan, and (iii) contains the termination of the unused commitments
                               under the DIP ABL Credit Facility, confirmed by an order in form and
                               substance satisfactory to the Arrangers (and with respect to those
                               provisions thereof that affect the rights and duties of the DIP Agent,
                               satisfactory to the DIP Agent), and the plan and confirmation order
                               shall be in full force and effect and shall not have been stayed,
                               modified, altered, amended or otherwise changed or supplemented
                               without the prior written consent of the DIP Arrangers, all such
                               consents not to be unreasonably withheld. For the avoidance of doubt,
                               the Joint Prepackaged Chapter 11 Plan of CTI Foods, LLC and Its
                               Affiliated Debtors, filed on March 10, 2019, shall be deemed an
                               “Acceptable Plan”,

                           (iii) a hearing seeking confirmation with respect to such Acceptable Plan
                                 shall have been scheduled prior to the DIP Maturity Date (for the
                                 avoidance of doubt, such hearing may take place before the Extended
                                 DIP Maturity Date) and any continuance or adjournment to such
                                 hearing will require the written consent of the DIP Arrangers,

                           (iv) on or before the DIP Maturity Date, the Borrowers shall have
                                delivered to the DIP Arrangers an updated 13-Week Budget and
                                operating forecast covering the period up to the Extended DIP
                                Maturity Date in form and substance reasonably acceptable to the DIP
                                Arrangers,

                           (v) the Borrowers shall pay to the DIP Agent, for the account of the DIP
                               ABL Lenders, an extension premium in an amount equal to 0.50% of
                               the Maximum Credit;

                           (vi) no default or event of default under the DIP Loan Documents shall
                                have occurred and be continuing. It shall constitute an event of default
                                in the event that Debtors propose to file a plan of reorganization in the
                                Cases (other than an Acceptable Plan); and

                          (vii) the maturity date under the DIP Term Credit Facility shall have been
                               extended to a date that is not earlier than the Extended DIP Maturity
                               Date.

                       Any plan of reorganization or liquidation or confirmation order entered in the
                       Cases shall not discharge or otherwise affect in any way any of the joint and
                       several obligations of the Borrowers to the DIP ABL Lenders under the DIP

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                       ABL Credit Facility and the DIP Loan Documents, other than after the
                       indefeasible payment in full and in cash, to the DIP ABL Lenders of all
                       obligations (other than indemnities and other contingent obligations not then
                       due and payable) under the DIP ABL Credit Facility and the DIP Loan
                       Documents on or before the effective date of an Acceptable Plan and the
                       termination of the DIP ABL Credit Facility.

Documentation:         For the DIP ABL Credit Facility, definitive loan documentation (collectively,
                       the “DIP Loan Documents”) to reflect the terms hereof, and any other
                       agreements and documents related to the foregoing, each in form and
                       substance reasonably satisfactory to the DIP Arrangers and the Company.

                       It is anticipated that the DIP Loan Documents will be substantially similar in
                       all material respects, taken as a whole, to the Existing Credit Agreement and
                       such related documentation as in effect on the date hereof, subject to changes
                       to reflect the commencement of the Cases, the terms and conditions set forth
                       herein, the administrative requirements of the DIP Agent for financings under
                       the Bankruptcy Code, changes in law, EU Bail-in language, the Beneficial
                       Ownership Regulation (as defined below), the changes to the operational
                       practices and procedures of the DIP Agent, the results of updated field
                       examinations and other due diligence and subject to other changes as may be
                       agreed by the DIP Arrangers and the Company.

Representations and    Substantially the same as the Existing Credit Agreement, taken as a whole, as
Warranties:            applicable, and subject to modification as provided herein (and subject to
                       customary modifications required to reflect the Cases), provided that, the DIP
                       Loan Documents will include additional customary representations and
                       warranties with respect to the Financing Orders, the super-priority
                       administrative expense claim of the DIP Agent and the DIP ABL Lenders and
                       related bankruptcy matters.

Affirmative            Substantially the same as the Existing Credit Agreement, taken as a whole, as
Covenants:             applicable, and subject to modification as provided herein (and subject to
                       customary modifications required to reflect the Cases), provided that, the
                       affirmative covenants will include (i) that on or before the expiration of the
                       Interim Financing Order, the Bankruptcy Court shall have entered a final
                       financing order authorizing the secured financing under the DIP ABL Credit
                       Facility on the terms and conditions contemplated by this DIP Term Sheet,
                       granting to the DIP Agent the security interests and liens and super-priority
                       administrative expense claim status described above, modifying the automatic
                       stay and containing other provisions reasonably required by the DIP Arrangers
                       and their counsel and consistent with the terms hereof and (ii) that
                       simultaneously with the commencement of the Cases, the Debtors shall file a
                       motion seeking approval of the commitment fees, expenses and obligations
                       related to the exit financing, in form and substance satisfactory to Barclays
                       Bank PLC, in its capacity as the Exit Arranger (the “Exit Arranger”), and
                       within 30 days following the commencement of the Cases, the Bankruptcy
                       Court shall have entered an order (which can be the confirmation order),
                       approving the exit financing commitment, and all fees required to be paid in
                       regards to the exit financing, as superpriority administrative expenses of each
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                        of the Debtors, which order shall be in form and substance acceptable to the
                        Exit Arranger.

                        The DIP Agent and the DIP ABL Lenders will not provide any Revolving DIP
                        Loans or other credit under the DIP ABL Credit Facility other than those
                        authorized under the Interim Financing Order which has been entered into on
                        or before 5 days after the date of commencement of the Cases (or such other
                        date as the DIP Arrangers may agree) and is in full force and effect and has not
                        been vacated, reversed, modified, amended or stayed and is not subject to a
                        pending appeal or motion or motion for leave to appeal or other proceeding to
                        set aside any such order or the challenge to the relief provided for in it, except
                        as consented to by the DIP Arrangers, unless, on or before 30 days after the
                        date of the commencement of the Cases (or such other date as the DIP
                        Arrangers may agree), a final financing order shall have been entered and shall
                        not have been reversed, modified, amended, stayed or vacated (except in the
                        case of any modification or amendment as consented to by DIP Arrangers) and
                        shall not be subject to a stay pending appeal, and there shall be no appeal or
                        other contest with respect to any material matter in such order (except as DIP
                        Arrangers may otherwise agree based on their review of such appeal or other
                        contest) (such order to be acceptable to the DIP Arrangers and provide, among
                        other things, for waiver of Bankruptcy Code Section 506(c) and for waiver of
                        the equities of the case exception of Bankruptcy Code Section 552(b) with
                        respect to the DIP Agent, Lenders and Pre-Petition Secured Parties, the “Final
                        Financing Order” and together with any Interim Financing Order, collectively,
                        “Financing Orders” and individually, a “Financing Order”). In addition, the
                        affirmative covenants will include the requirement that Loan Parties cooperate
                        and provide information to any consultant engaged by DIP Agent and the
                        reimbursement by Loan Parties for the fees and expenses of such consultant.
                        The affirmative covenants will include the requirement that the Loan Parties
                        reimburse the DIP Agent for fees and expenses of its counsel and any required
                        local counsel for the DIP Agent, including in the jurisdiction of the
                        Bankruptcy Court.

                        Affirmative covenants will require Loan Parties to comply with the
                        Bankruptcy Milestones set forth in Annex II to the DIP Term Sheet, and any
                        waivers thereof subject to consent of the DIP Arrangers.

                        Affirmative covenants will require that the Loan Parties provide drafts of all
                        material Bankruptcy Court filings to the DIP Arrangers with commercially
                        reasonable time to review and comment, including (but not limited to) first and
                        second day motions/orders, any motions to approve bidding procedures for or
                        to approve a sale of substantially all of the assets of the Loan Parties, any
                        motions to extend exclusivity, any motions to approve a disclosure statement
                        and seek confirmation with respect to a plan of reorganization filed by the
                        Loan Parties, and any motions to approve deadlines and procedures related to
                        the solicitation of votes on a plan of reorganization filed by the Loan Parties.

Collateral Reporting:   For the DIP ABL Credit Facility, collateral reporting shall be usual and
                        customary for facilities of this nature and as may be deemed reasonably
                        appropriate by DIP Arrangers including,

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                       (a) as to borrowing base certificates, prior to the 23rd calendar day after the
                           last day of each Fiscal Period;

                       (b) as to reports of prior week sales volume in pounds, weekly on the
                           Wednesday of each week by 5:00 p.m. New York time; and

                       (c) other collateral reports otherwise substantially the same as provided in the
                           Existing Credit Agreement. In addition, the ability to conduct a field
                           examination and appraisal at the DIP Agent/ DIP Arrangers reasonable
                           discretion.

Financial Reporting:   Substantially the same as the Existing Credit Agreement and those additional
                       items deemed reasonably appropriate by DIP Arrangers for this transaction,
                       provided, that, for the DIP ABL Credit Facility, Borrowers shall only be
                       required to (i) hold a weekly conference call with the DIP ABL Lenders and
                       (ii) deliver to the DIP Arrangers (A) quarterly financial statements within 45
                       days following the end of each Fiscal Quarter other than the fourth Fiscal
                       Quarter and within 90 days following the end of the fourth Fiscal Quarter, (B)
                       unaudited annual financial statements within 90 days following the end of the
                       fourth Fiscal Quarter, (C) monthly financial statements within 35 days
                       following the end of each of the first two Fiscal Periods of each Fiscal Quarter,
                       (D) a weekly liquidity certificate, (E) a weekly schedule of professional fees
                       actually paid and (F) the following, which in the case of the initial 13-Week
                       Budget (as defined below) shall be in form and substance satisfactory to the
                       DIP Arrangers and in the case of each subsequent 13-Week Budget shall be in
                       a form substantially consistent with the initial 13-Week Budget (and in the
                       event that the Borrowers request that such subsequent 13-Week Budget replace
                       the initial 13-Week Budget for purposes of calculating the variances described
                       below under “ Financial Covenant” be in substance reasonably satisfactory to
                       the DIP Arrangers (and each referred to herein as a “13-Week Budget”):

                       (a) a 13-week statement of projected receipts, vendor disbursements, total
                           disbursements, liquidity, professional fee expenses, net cash flow, net
                           sales, loans and availability for the immediately following consecutive 13
                           weeks, set forth on a weekly basis, including the anticipated uses of the
                           DIP ABL Credit Facility for such period, and at the end of each weekly
                           period, an updated 13-Week Budget for the next succeeding 13-week
                           period;

                       (b) a weekly 13-Week Budget variance report/reconciliation on Wednesday of
                           each week by 5:00 p.m. New York time for the prior week and for the
                           period from the commencement of the first such 13-Week Budget to the
                           end of the prior week in each case (i) showing actual results for the
                           following items: (A) receipts / collections, noting therein variances from
                           values set forth for such periods in the 13-Week Budget, calculated on a
                           rolling 4 week basis and on a cumulative basis (B) disbursements, noting
                           therein variances from values set forth for such periods in the 13-Week
                           Budget, calculated on a rolling 4 week basis and on a cumulative basis (C)
                           net cumulative cash flow, (D) Excess Availability (as defined below) and
                           (E) loan balance, noting therein variances from values set forth for such
                           periods in the 13-Week Budget and (ii) a detailed narrative and
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                          explanation for all material variances, certified by the chief financial
                          officer of the Company.

                      Borrowers may provide an updated 13-Week Budget at any time; provided,
                      that (a) the DIP Arrangers have received not less than three (3) Business Days’
                      prior written notice of the delivery of such updated 13-Week Budget, (b) any
                      such updated 13-Week Budget must be approved by the DIP Arrangers and no
                      13-Week Budget shall be effective for testing purposes until so approved, (c)
                      to the extent any such updated 13-Week Budget is approved by the DIP
                      Arrangers, the line item amounts set forth therein shall only be used to
                      calculate the projected line items set forth above commencing with the week in
                      which such updated 13-Week Budget is approved by the DIP Arrangers and
                      for subsequent weeks set forth therein, and any prior weeks tested as part of
                      any then applicable rolling four week period shall be calculated using the
                      projected line items set forth in the applicable previous approved 13-Week
                      Budget. The DIP Arrangers upon three (3) Business Days’ prior written notice
                      may request from the Borrowers an updated 13-Week Budget.

Cash Management:      For the DIP ABL Credit Facility, Loan Parties shall maintain their existing
                      cash management system subject to any Financing Order consistent with the
                      terms of the Existing Credit Agreement, except that the DIP Agent shall have
                      the right to require the depository bank to transfer funds to the DIP Agent for
                      application to the obligations owing to the DIP Agent and the DIP ABL
                      Lenders upon a Cash Dominion Event (as defined below). Loan Parties will
                      continue to direct all customers making payments on receivables to remit
                      payments to deposit accounts that are the subject of control agreements (which
                      shall be executed and effective within 10 business days following the Closing
                      Date) among the applicable Loan Party, the DIP Agent, and the depository
                      bank in form and substance reasonably satisfactory to the DIP Agent.

                      For the DIP ABL Credit Facility, “Cash Dominion Event” means, at any time
                      (a) an event of default under the DIP ABL Credit Facility shall have occurred
                      and be continuing, (b) a breach of the Minimum Liquidity covenant shall have
                      occurred and be continuing or (c) Excess Availability shall have been less than
                      the greater of (i) 12.5% of the Line Cap and (ii) $10,000,000 for five (5)
                      consecutive business days and ending on the date that such event of default
                      under the DIP ABL Credit Facility is no longer continuing, the Borrowers are
                      in compliance with the Minimum Liquidity covenant or Excess Availability
                      shall have been not less than such amount for 30 consecutive calendar days.

                      “Line Cap” means, at any time, the lesser of the Borrowing Base minus the
                      ABL Carve-Out Reserve Amount at such time and the Maximum Credit.

                      “Excess Availability” means, an amount equal to (a) the Line Cap, minus (b)
                      the amount of Revolving DIP Loans outstanding at such time.

Negative Covenants:   Substantially the same as the Existing Credit Agreement, taken as a whole, as
                      applicable, and subject to modification as provided herein, provided that, the
                      negative covenants for the DIP ABL Credit Facility will include additional
                      provisions relating to bankruptcy matters and no restricted payments to

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                      persons other than Loan Parties will be permitted.

Financial Covenant:   For the DIP ABL Credit Facility, Borrowers shall maintain Minimum
                      Liquidity at all times of not less than $10,000,000. Borrowers shall not be
                      required to comply with the Fixed Charge Coverage Ratio in the Existing
                      Credit Agreement during the Cases.

                      For the DIP ABL Credit Facility, “Minimum Liquidity” means, at any time,
                      the sum of (a) Cash and Cash Equivalents held by the Borrowers and their
                      subsidiaries, not to exceed $6,000,000, in which the DIP Agent has a first
                      priority perfected security interest, plus (b) the Excess Availability.

                      The Borrowers shall be required to adhere to the 13-Week Budget as set forth
                      below (subject to variances permitted below) which shall be tested on the
                      Wednesday of each week following the Petition Date. Additionally, the DIP
                      Loan Documents will require that:

                      (a) total disbursements (excluding professional fees) paid by the Borrowers
                      shall not exceed the amounts in the 13-Week Budget by more than (i) 20%
                      solely during each of the first two weeks ending after the commencement of
                      the Cases, calculated on a cumulative basis for such two week period, (ii)
                      17.5% during the succeeding week, calculated on a cumulative basis for such
                      three week period, and (iii) at all times thereafter, 15%, in each case on a
                      rolling four week cumulative basis;

                      (b) operating cash receipts shall not be less than (i) 80% of the amounts in the
                      13-Week Budget, solely during each of the first two weeks ending after the
                      commencement of the Cases, calculated on a cumulative basis for such two
                      week period, (ii) 82.5% of the amounts in the 13-Week Budget during the
                      succeeding week, calculated on a cumulative basis for such three week period,
                      and (iii) at all times thereafter, 85% of the amounts in the 13-Week Budget,
                      calculated on a rolling four week cumulative basis; and

                      (c) tested weekly, commencing on the first full calendar week following the
                      DIP Closing Date, with respect to the cumulative period since the Closing
                      Date, the positive variance of the actual professional fee amount as compared
                      to the budgeted professional fee amount set forth in the initial 13-Week
                      Budget must not exceed (x) for the first month following the Closing Date,
                      $500,000 and (y) at all times thereafter, $1,000,000 (the “Initial Professional
                      Fee Expense Covenant”.
                      The violation of any of the foregoing budget covenants shall be referred to
                      herein as a “Material Budget Deviation”.

                      Any relief requested of the DIP Arrangers from the Initial Professional Fee
                      Expense Covenant will need to be requested separately from the permitted
                      updates of the 13-Week Budget, and the Initial Professional Fee Expense
                      Covenant will not be reset automatically with each subsequent approved
                      budget. Additionally, requests to modify the forecast for professional fees
                      must include an updated forecast by professional, through emergence.


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Events of Default:     Substantially the same as the Existing Credit Agreement, taken as a whole, as
                       applicable, and subject to modification as provided herein, provided, that, in
                       addition, the events of default for the DIP ABL Credit Facility will include,
                       but not be limited to, the following: (i) conversion of the Cases to Chapter 7
                       case(s); (ii) entry of an order authorizing the sale of substantially all assets of
                       the Loan Parties, unless obligations under the DIP ABL Credit Facility are
                       paid in full or the DIP Arrangers consent to such sale; (iii) entry of an order
                       terminating the Loan Parties’ exclusive right to file a plan, without consent of
                       the DIP Arrangers; (iv) the dismissal of the Cases (or any subsequent Chapter
                       7 case); (v) the failure of any Loan Party to comply with the Affirmative
                       Covenants (subject to exceptions and grace periods to be mutually agreed);
                       (vi) the failure of any Loan Party to comply with the Bankruptcy Milestones;
                       (vii) the failure of any Loan Party to comply with any Financing Order
                       (subject to grace periods to be mutually agreed); (viii) any Financing Order is
                       revoked, remanded, vacated, reversed, stayed or rescinded or modified (other
                       than, in the case of a modification as consented to by DIP Arrangers); (ix)
                       appointment of a trustee, examiner or disinterested person with expanded
                       powers relating to the operations or the business of any Loan Party in the
                       Cases or any administrative expense claim is allowed having priority or
                       ranking in parity with the rights of the DIP Agent; (x) the Company or other
                       debtor in a chapter 11 case proposes or otherwise supports any plan of
                       reorganization that is not an Acceptable Plan, without the DIP Arrangers’
                       consent; (xi) any plan of reorganization that is not an Acceptable Plan is
                       confirmed without the DIP Arrangers’ consent; (xii) payment of or granting
                       adequate protection with respect to the Pre-Petition First Lien Loan Agreement
                       and the Pre-Petition Second Lien Loan Agreement, other than to the extent
                       permitted, and in a manner consistent with, the Pre-Petition Intercreditor
                       Agreement and the Financing Orders, as approved by the Bankruptcy Court;
                       (xiii) liens or super-priority claims with respect to the DIP ABL Credit Facility
                       shall at any time cease to be valid, perfected and enforceable in all respects
                       with the priority described herein; (xiv) the occurrence of a Material Budget
                       Deviation as described under the heading “Financial Covenant” above; (xv)
                       Company or any debtor in a chapter 11 case brings a cause of action or any
                       suit against the Pre-Petition ABL Agent or Pre-Petition ABL Secured Parties
                       relating to any debt or liens contemplated or provided by pursuant to the
                       Existing Credit Agreement and other Pre-Petition ABL Documents; or (xvi) or
                       the Final Financing Order is not entered, as described under the heading
                       “Affirmative Covenants” above, on or prior to that date that is thirty (30) days
                       after the Petition Date (or such later date as DIP Arrangers may reasonably
                       agree).

                       The DIP Agent may exercise remedies consistent with the DIP Loan
                       Documents and the Financing Orders on or after the date that is five (5)
                       business days following delivery of written notice by the DIP Agent to counsel
                       for Borrowers and the U.S. trustee of the occurrence of an event of default and
                       declaring the DIP ABL Credit Facility obligations accelerated.

Conditions Precedent   Substantially the same as the Existing Credit Agreement, taken as a whole, as
to all Borrowings      applicable, and subject to modification as provided herein and also to include,
(other than Initial    (solely for purposes of this provision) receipt of executed Restructuring
Borrowings):           Support Agreement in effect as of the date hereof (as amended, modified or
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                         supplemented in accordance with its terms) that shall be in full force and
                         effect, and the Interim Financing Order or Final Financing Order, as the case
                         may be, shall be in full force and effect and shall not have been vacated,
                         reversed, modified, amended or stayed in any respect without the consent of
                         the DIP ABL Lenders.

Conditions Precedent     The conditions precedent to the initial borrowings under the DIP ABL Credit
to Initial Borrowings:   Facility will consist of the conditions precedent set forth in Annex 1 to this
                         DIP Term Sheet.

Assignments;             Substantially the same as the Existing Credit Agreement, taken as a whole, as
Participations:          applicable, and subject to modification as provided herein including that
                         consent of the Borrower Agent shall not be required for any assignment or
                         participation.

Amendments and           Substantially the same as the Existing Credit Agreement, taken as a whole, as
Waivers:                 applicable, and subject to modification as provided herein.

Governing Law:           New York but excluding any principles of conflicts of law or other rule of law
                         that would cause the application of the law of any jurisdiction other than the
                         State of New York.

                         The Loan Parties will submit to the exclusive jurisdiction and venue of the
                         Bankruptcy Court, or in the event that the Bankruptcy Court does not have or
                         does not exercise jurisdiction, then in any state or federal court of competent
                         jurisdiction in the State, County and City of New York, borough of Manhattan
                         and the other Loan Parties will submit to the exclusive jurisdiction and venue
                         of any state or federal court of competent jurisdiction in the State, County and
                         City of New York, borough of Manhattan.

Expenses, Waivers        Substantially the same as the Existing Credit Agreement, taken as a whole, as
and Indemnity:           applicable, and subject to modification as provided herein.

                         In addition, for the DIP ABL Credit Facility, waivers to include a waiver of
                         any right that any Loan Party may have to seek authority (i) to use Cash
                         Collateral of the DIP Agent and the DIP ABL Lenders under Section 363 of
                         the Bankruptcy Code except to the extent provided in any Financing Order and
                         the Budget, without the prior written consent of the DIP Arrangers, (ii) to
                         obtain post-petition loans or other financial accommodations, other than from
                         the DIP Agent and the DIP ABL Lenders, pursuant to Sections 364(c) or (d) of
                         the Bankruptcy Code without the prior written consent of the DIP Arrangers,
                         (iii) to challenge, contest or otherwise seek to impair or object to the validity,
                         extent, enforceability or priority of the DIP Agent’s post-petition liens and
                         claims, (iv) to challenge the application of any payments or collections
                         received by the DIP Agent or the DIP ABL Lenders to the obligations of Loan
                         Parties as provided for herein, (v) to propose or support a chapter 11 plan that
                         is not an Acceptable Plan, (vi) to surcharge the Collateral pursuant to Section
                         506(c) of the Bankruptcy Code, (vii) to seek application of the “equities of the
                         case” exception of Section 552(b) of the Bankruptcy Code with respect to any
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                       Collateral of the Pre-Petition Secured Parties or (viii) to seek relief under the
                       Bankruptcy Code, including without limitation, under Section 105, to the
                       extent any such relief would materially restrict or impair the rights and
                       remedies of the DIP Agent or any DIP ABL Lender as provided herein, the
                       DIP Loan Documents or the Financing Orders.

USA PATRIOT Act:       Each DIP ABL Lender subject to the USA PATRIOT Act (Title III of Pub.L.
                       107-56 (signed into law October 26, 2001) (the “Act”) and the requirements of
                       31 C.F.R. §1010.230 (the “Beneficial Ownership Regulation”) hereby notifies
                       the Loan Parties that pursuant to the requirements of the Act and the Beneficial
                       Ownership Regulation, it is required to obtain, verify and record information
                       that identifies each person or corporation who opens an account and/or enters
                       into a business relationship with it, which information includes the name and
                       address of the Loan Parties and other information that will allow such DIP
                       ABL Lender to identify such person in accordance with the Act and the
                       Beneficial Ownership Regulation. Loan Parties are hereby advised that any
                       commitment that might at any time be issued is subject to reasonably
                       satisfactory results of such verification.

First Lien Term Loan   Notwithstanding anything to the contrary set forth in this DIP Term Sheet,
Terms:                 other than with respect to interest rates and fees, the terms of the DIP ABL
                       Credit Facility shall be no less favorable to the DIP ABL Lenders in any
                       material respect that any comparable terms set forth in the DIP Term Credit
                       Facility.




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                                             SCHEDULE 1
                                                 TO
                                           DIP TERM SHEET

                                       Interest and Certain Fees

Interest Rate Options:   Borrowers may elect that Revolving DIP Loans (other than DIP Swing Line
                         Loans) bear interest at a rate per annum equal to (a) the Base Rate plus the
                         Applicable DIP Margin or (b) the LIBOR Rate plus the Applicable DIP
                         Margin. DIP Swing Line Loans will bear interest at a rate per annum equal to
                         the Base Rate plus the Applicable DIP Margin.

                         As used herein:

                         “Applicable DIP Margin” means for the DIP ABL Credit Facility, (i) 2.50% as
                         to Revolving DIP Loans bearing interest using the Base Rate and (ii) 3.50% as
                         to Revolving DIP Loans bearing interest using the LIBOR Rate.

                         “Base Rate” means the greatest of (a) the Federal Funds Rate plus ½%, (b) the
                         LIBOR Rate (which rate shall be calculated based upon an interest period of
                         one month and shall be determined on a daily basis), plus one percentage point,
                         and (c) the rate of interest which is published as the “Prime Rate” posted on the
                         Money Rates page of the Market Data section of The Wall Street Journal (or, if
                         more than one rate is published as the Prime Rate, then the highest of such
                         rates). If The Wall Street Journal no longer publishes the Prime Rate, or DIP
                         Agent determines in good faith that the rate so published no longer accurately
                         reflects an accurate determination of the prevailing Prime Rate, DIP Agent
                         may select a reasonably comparable source to use as the basis for the Base
                         Rate.

                         “LIBOR Rate” means the rate per annum as published by ICE Benchmark
                         Administration Limited (or in any case, any successor page or other
                         commercially available source as the DIP Agent may designate from time to
                         time) as of 11:00 a.m., London time, two (2) Business Days prior to the
                         commencement of the requested interest period, for a term, and in an amount,
                         and in the currency, comparable to the interest period and the amount and
                         currency of the LIBOR Rate Loan requested (whether as an initial LIBOR Rate
                         Loan or as a continuation of a LIBOR Rate Loan or as a conversion of a Base
                         Rate Loan to a LIBOR Rate Loan) by Borrowers in accordance with this
                         Agreement (and, if any such published rate is below zero, then the rate
                         determined pursuant to this clause shall be deemed to be zero).          Each
                         determination of the LIBOR Rate shall be made by the DIP Agent and shall be
                         conclusive in the absence of manifest error. The LIBOR Rate shall be available
                         for interest periods of one, two, three or six months.

                         Interest rate reference terms will be subject to customary provisions, including
                         applicable reserve requirements, limits on the number of outstanding LIBOR
                         Rate Loans and minimum amounts of each LIBOR Rate Loan.

Unused Line Fee:         Borrowers shall pay to the DIP Agent, for the account of the DIP ABL Lenders
                         (to the extent and in accordance with the arrangements by and among the DIP
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                         ABL Lenders) an unused line fee calculated at 0.375% per annum multiplied
                         by the difference between the then applicable Maximum Credit and the
                         average outstanding Revolving DIP Loans and DIP Letters of Credit during the
                         immediately preceding month, payable monthly in arrears. DIP Swing Line
                         Loans will not be considered in the calculation of the unused line fee.

Letter of Credit Fees:   Borrowers shall pay to (a) the DIP Agent, for the account of the DIP ABL
                         Lenders (to the extent and in accordance with the arrangements by and among
                         the DIP ABL Lenders), on the daily outstanding balance of DIP Letters of
                         Credit, a letter of credit fee calculated at a rate per annum based on the then
                         Applicable Margin for LIBOR Rate Loans and (b) to DIP Issuing Banks, a
                         fronting fee equal to 0.25% per annum, in each case under clauses (a) and (b),
                         payable monthly in arrears. In addition, Borrowers shall pay customary
                         issuance, arranging and other fees of the DIP Issuing Banks.

Default Rate:            After an event of default and for so long as the same is continuing, the
                         applicable rates of interest and rate for letter of credit fees shall be increased by
                         2.00% per annum above the otherwise then applicable rates.

Rate and Fee Basis;      All per annum rates and fees will be computed on basis of actual days elapsed
Payment Dates:           over a 360 day year (or 365 or 366 days, as the case may be, in the case of
                         Revolving DIP Loans for which the Base Rate is used). In the case of
                         Revolving DIP Loans for which the LIBOR Rate is used, interest is payable on
                         the last day of each relevant interest period or in the case of an interest period
                         longer than 3 months, then within 3 months, in arrears, and in the case of
                         Revolving DIP Loans for which the Base Rate is used, interest is payable
                         monthly in arrears.




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                                                  ANNEX I
                                                    TO
                                              DIP TERM SHEET

                Conditions Precedent to Initial Borrowings under DIP ABL Credit Facility

The conditions precedent to the initial borrowings under the DIP ABL Credit Facility will consist of the
following:

     (a)              Borrowers and Guarantors shall have commenced a voluntary case under Chapter 11
                      of the Bankruptcy Code in the Bankruptcy Court having exclusive jurisdiction over the
                      Cases. Borrowers and Guarantors shall have complied in full with the notice and other
                      requirements of the Bankruptcy Code in a manner reasonably acceptable to the DIP
                      Arrangers and its counsel, with respect to the Interim Financing Order (as defined
                      below) and the DIP Arrangers shall have received such evidence thereof as it shall
                      reasonably require. No trustee, or other disinterested person with expanded powers
                      pursuant to Section 1104(c) of the Bankruptcy Code, shall have been appointed or
                      designated with respect to any Borrower or Guarantor or their respective business,
                      properties or assets and no motion shall be pending seeking any such relief. Proposed
                      forms of all first and second day motions and orders, in form and substance
                      satisfactory to the DIP Arrangers, to be filed and all proposed first and second day
                      orders to contain a provision that all such orders, including the cash management
                      order, to be expressly subject to the terms of the Interim Financing Order. A cash
                      management order approving the cash management arrangements of Borrowers and
                      Guarantors consistent with the requirements under the DIP ABL Credit Facility shall
                      have been entered, in form and substance satisfactory to the DIP Arrangers, and shall
                      be in full force and effect. Simultaneously with the commencement of the Cases, the
                      Debtors shall file a motion seeking approval of the commitment fees, expenses and
                      obligations related to the exit financing as superpriority administrative expenses of
                      each of the Debtors, in form and substance satisfactory to the Exit Arranger.

     (b)              The Interim Financing Order as entered by the Bankruptcy Court authorizing the
                      secured financing under the DIP ABL Credit Facility on the terms and conditions
                      contemplated by this DIP Term Sheet and acceptable to the DIP Arrangers (the
                      “Interim Financing Order”), and, inter alia, modifying the automatic stay, authorizing
                      and granting the security interests and liens described above, and granting a super-
                      priority administrative expense claim to the DIP Agent and the DIP ABL Lenders with
                      respect to all obligations to the DIP Agent and the DIP ABL Lenders, subject to no
                      priority claim or administrative expenses of the Cases or any other entity, and any
                      future proceeding which may develop out of any such cases, including liquidation in
                      bankruptcy, shall have been entered within five (5) days after the commencement of
                      the Cases and be in full force and effect and not have been vacated, reversed,
                      modified, amended or stayed and not be subject to a pending appeal or motion or
                      motion for leave to appeal or other proceeding to set aside any such order or the
                      challenge to the relief provided for in it, except as consented to by the DIP Arrangers.

     (c)              Receipt by the DIP Arrangers of a proposed Acceptable Plan, confirmation order and
                      the cash management order, on terms and conditions satisfactory to the DIP Arrangers,

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                      which provides for, among other things, the indefeasible payment in full in cash of all
                      of the obligations owing under the DIP ABL Credit Facility (the modification or
                      amendment of such provision requiring the written consent of the DIP Arrangers).

     (d)              Receipt by the DIP Arrangers, each in form and substance reasonably satisfactory to
                      the DIP Arrangers, of (i) the initial 13-Week Budget, and (ii) projected monthly
                      balance sheets, income statements, statements of cash flows and availability of
                      Borrowers and Guarantors for the period through the end of the term of the DIP ABL
                      Credit Facility, in each case as to the projections, with the results and assumptions set
                      forth in all of such projections in form and substance reasonably satisfactory to DIP
                      Arrangers, and an opening pro forma balance sheet for the Loan Parties in form and
                      substance reasonably satisfactory to DIP Arrangers.

     (e)              Execution and delivery of all DIP Loan Documents for the DIP ABL Credit Facility by
                      the parties thereto (including the DIP ABL Intercreditor Agreement in form and
                      substance satisfactory to DIP Agent) and receipt by the DIP Agent of customary legal
                      opinions and other customary closing documents. The DIP Agent, for the benefit of
                      itself, the DIP ABL Lenders, DIP Issuing Banks and bank product providers, shall
                      hold perfected, security interests in and liens upon the Collateral with the priorities set
                      forth in the DIP Term Sheet, and the DIP Agent shall have received such evidence of
                      the foregoing as it reasonably requires.

     (f)              Minimum opening Excess Availability at closing after the application of proceeds of
                      the initial Revolving DIP Loans, if any, on such date and after provision for payment
                      of all fees and expenses of the transaction paid or payable on or about the DIP Closing
                      Date, of not less than $21,500,000.

     (g)              The DIP Arrangers shall have received all documentation and information at least
                      three business days prior to the DIP Closing Date as is reasonably requested in writing
                      by the DIP Arrangers about the Company and its subsidiaries required by regulatory
                      authorities under applicable “know your customer” and anti-money laundering rules
                      and regulations, including without limitation the Patriot Act and a beneficial
                      ownership certificate for any Borrower or Guarantor that qualifies as a “legal entity
                      customer” under the Beneficial Ownership Regulation, in each case to the extent
                      requested in writing at least ten business days prior to the DIP Closing Date.

     (h)              No material adverse change in the business, operations, profits or assets of Borrowers
                      and Guarantors, taken as a whole, shall have occurred since September 30, 2018 (it
                      being understood that the commencement of the Cases, the events and conditions
                      related and/or leading up thereto, any defaults under agreements that have no effect
                      under the terms of the Bankruptcy Code as a result of the commencement thereof,
                      reduction in payment terms by suppliers, and reclamation claims shall not be deemed a
                      material adverse change). No defaults or events of default on the closing date under
                      any of the DIP Loan Documents for the DIP ABL Credit Facility prior to, or after
                      giving effect to the Initial Borrowings under the DIP ABL Credit Facility, or on any
                      other debt or any material contract of Borrowers or Guarantors shall exist (other than
                      any defaults under agreements that have no effect under the terms of the Bankruptcy
                      Code as a result of the commencement thereof). DIP Agent and Lenders shall have
                      received the payment of all fees required to be paid under the terms hereof or
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                      otherwise under the Loan Documents. There shall be no material misstatements in or
                      omissions from the written materials previously furnished to DIP Agent by Borrowers
                      and Guarantors, after giving effect to any supplements thereto.

     (i)              All reasonable and documented out-of-pocket fees and expenses (including reasonable
                      fees and expenses of outside counsel, financial advisors, appraisals and field
                      examinations) required to be paid to the DIP Agent and the DIP ABL Lenders on or
                      before the Petition Date shall have been paid.

     (j)              On or prior to or substantially simultaneously with the initial extension of credit under
                      the DIP ABL Credit Facility, the Borrowers shall have entered into the DIP Term
                      Credit Facility on terms consistent in all respects with the DIP Term Loan Term Sheet
                      (as defined in the Restructuring Support Agreement (in effect as of the date hereof)) as
                      amended, modified or supplemented in a manner not materially adverse to the DIP
                      ABL Lenders without the consent of the DIP Arrangers (such consent not to be
                      unreasonably withheld, conditioned or delayed).

     (k)              Prior to or substantially simultaneously with the initial extension of credit under the
                      DIP ABL Credit Facility, the debt under the Existing Credit Agreement shall have
                      been repaid in cash in full, at least partially with all of the proceeds of the DIP Term
                      Credit Facility available on the Closing Date, pursuant to a payoff letter acceptable to
                      the DIP Arrangers and in accordance with the Financing Orders; provided further that
                      any surviving obligations expressly set forth in the Existing Credit Agreement,
                      including, without limitation, any indemnification obligations of any Loan Party, shall
                      continue after the Existing Credit Agreement has been indefeasibly repaid in full in
                      cash.

     (l)              The representations and warranties set forth in the Loan Documents shall be true and
                      correct in all material respects on the Closing Date; provided that to the extent such
                      representation and warranty refers to an earlier date, it shall be true and correct in all
                      material respects as of such earlier date; provided, further, any representation and
                      warranty that is qualified by materiality or similar language shall be true and correct in
                      all respects on such respective dates.




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                                                  ANNEX II
                                                    TO
                                              DIP TERM SHEET

                                            Bankruptcy Milestones

The Loan Parties shall achieve the following Bankruptcy Milestones by the dates set forth below (or such
later date as may be agreed to by the DIP Arrangers):

           (i)        No later than the close of business on the next business day following the Petition
                      Date, Debtors shall have filed a motion with the Bankruptcy Court seeking approval of
                      the DIP ABL Credit Facility.

           (ii)       No later than the close of business on the next business day following the Petition
                      Date, the Debtors shall have filed a disclosure statement and Acceptable Plan with the
                      Bankruptcy Court.

           (iii)      On or before five days after the Petition Date at 11:59p.m. prevailing Eastern time, the
                      Interim Financing Order shall have been entered by the Bankruptcy Court.

           (iv)       On or before 30 days after the Petition Date at 11:59p.m. prevailing Eastern time, the
                      Final Financing Order shall have been entered by the Bankruptcy Court.

            (v) On or before 90 days after the Petition Date at 11:59p.m. prevailing Eastern time, the
                Bankruptcy Court shall have entered an order, in form and substance satisfactory to the
                DIP Arrangers, confirming the Acceptable Plan, which consent is not to be unreasonably
                withheld.




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                                      EXHIBIT D

                               DIP TERM LOAN TERM SHEET




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                                                                                     Execution Version
                                  CTI FOODS HOLDING CO., LLC
                                DIP TERM FACILITY TERM SHEET

 This term sheet (the "DIP Term Facility Term Sheet") sets forth the principal terms of a secured debtor­
 in-possession term loan credit facility (the "DIP Term Facility"; the credit agreement evidencing the DIP
 Term Facility, the "DIP Term Credit Agreement" and, together with the other definitive documents
 governing the DIP Term Facility, the "DIP Term Documents," each of which shall be in form and
 substance consistent with this DIP Term Facility Term Sheet and otherwise acceptable to the DIP Term
 Facility Bonower, the DIP Term Facility Agent and the DIP Term Lenders (each as defined herein)) to be
 entered into by the DIP Term Facility Borrower, certain of its subsidiaries and the Parent Guar·antors (as
 defined herein) in connection with their respective cases under chapter 11 (the "Cases"; the debtors and
 debtors-in-possession thereunder, the "Debtors" and each, a "Debtor") of title 11 of the United States
 Code (the "Bankruptcy Code"). The DIP Term Facility will be subject to the approval of the United
 States Bankmptcy Comt for the District of Delaware (the "Bankruptcy Court") and consummated in the
 Cases in accordance with (i) the DIP Orders (as defined herein) of the Bankruptcy Comt authorizing the
 Debtors to enter into the DIP Term Facility and (ii) the DIP Term Loan Documents (as defined herein) to
 be executed by the Debtors. Capitalized terms used herein but not defined have the meanings ascribed to
 such terms in the Restrncturing Support Agreement to which this DIP Term Facility Term Sheet is
 attached (the "Restructuring Support Agreement").

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SC\L\IARY OF PRI�CIPAL TER\IS
DIP Term Facility    CTI Foods Holding Co., LLC, as a debtor and debtor-in-possession (the "DIP
Borrower             Term Facility Borrower" or the "Company'').
Guarantors                  (i) Chef Holdings, Inc., Chef Intermediate, Inc., CTIF Holdings, Inc., Chef
                            Investment, LLC, CTI Foods Acquisition LLC and any other direct or indirect
                            parent of the Borrnwer that provides a guaranty of the obligations under the
                            DIP Term Facility (the "Loan Guarantv") (collectively, the "Parent
                            Guarantors") and (ii) all subsidiaries of the DIP Term Facility Bonower other
                            than Excluded Subsidiar·ies (as defined below), each as debtors and debtors-in­
                            possession (collectively, the "Guarantors" and, together with the DIP Term
                            Facility Borrnwer, the "Loan Parties").

                            "Excluded Subsidiary" means (a) any domestic subsidiary that is not a wholly­
                            owned subsidiary, (b) any domestic subsidiary that is prohibited by law,
                            regulation or contractual obligations from providing a Loan Guaranty or that
                            would require a governmental (including regulatory) consent, approval, license
                            or authorization to provide such Loan Guaranty, (c) any Disregar·ded Domestic
                            Subsidiary (as defined below), (d) any foreign subsidiary that is a "controlled
                            foreign corporation" within the meaning of Section 957(a) of the U.S. Tax
                            Code (a "Foreign Subsidiary"), (e) any direct or indirect domestic subsidiary
                            of a Foreign Subsidiary or a Disregarded Domestic Subsidiary, (f) any
                            subsidiary for which the provision of a Loan Guar·anty would result in material
                            adverse tax consequences (as reasonably determined by the Required DIP Term
                            Lenders and the DIP Term Facility Bonower) and (g) any other subsidiary with
                            respect to which, in the reasonable judgment of the Required DIP Term Lenders
                            and the DIP Term Facility Bonower, the burden or cost of providing a Loan
                            Guaranty or a lien to secure such Loan Guar·anty outweighs the benefits to be
                            afforded thereby.

                            "Disre!!arded Domestic Subsidiarv" means any domestic subsidiary
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                          substantially all of the assets of which consist of equity interests of one or more
                          Foreign Subsidiaries.

                          It is understood and agreed that each direct or indirect parent of the DIP Term
                          Facility Borrower and each direct or indirect subsidiary of the DIP Term
                          Facility Borrower that is an obligor under the DIP ABL Facility, the Pre-
                          Petition First Lien Credit Agreement and/or the Pre-Petition Second Lien Credit
                          Agreement (each as defined herein) shall be a Guarantor.
DIP Term Facility Agent   Cortland Capital Markets Services LLC, as administrative agent and collateral
                          agent (in such capacities, the “DIP Term Facility Agent”).
DIP Term Lenders          The Backstop Parties and the other Consenting Creditors that agree to provide
                          the DIP Term Facility on the terms set forth herein (in such capacities,
                          collectively, the “DIP Term Lenders”); provided that (x) $15 million of
                          aggregate principal amount of the DIP Term Facility will be provided by the
                          Backstop Parties (allocated based on their ratable share of the aggregate
                          principal amount of the First Lien Term Loans) and (y) $60 million of
                          aggregate principal amount of the DIP Term Facility will be provided by the
                          participating Consenting Creditors (allocated based on their ratable share of the
                          aggregate principal amount of the First Lien Term Loans and Second Lien
                          Term Loans) and backstopped by the Backstop Parties in accordance with the
                          Restructuring Support Agreement.
Amount & Type             A multiple-draw senior secured debtor-in-possession US dollar term loan credit
                          facility in an aggregate principal amount not to exceed $75.0 million (the
                          commitments under the DIP Term Facility, the “DIP Term Commitments”;
                          the loans under the DIP Term Facility, the “DIP Term Loans”), subject to the
                          terms and conditions of this DIP Term Facility Term Sheet and the DIP Term
                          Loan Documents. The borrowing of DIP Term Loans shall permanently
                          decrease the DIP Term Commitments, and any DIP Term Loans repaid may not
                          be reborrowed.

                          The DIP Term Lenders shall make the DIP Term Loans available to the DIP
                          Term Facility Borrower in up to two draws in the following manner (in each
                          case upon the satisfaction of the conditions precedent described below):

                           (a)    The DIP Term Facility Borrower may make a single draw of DIP
                                  Term Loans on the closing date of the DIP Term Facility (the
                                  “Closing Date”) in an aggregate principal amount of up to $62.5
                                  million.

                           (b)    The DIP Term Facility Borrower may make a single draw of DIP
                                  Term Loans on the date the Final Order has been entered by the
                                  Bankruptcy Court (the “Delayed Draw Borrowing Date”) in an
                                  aggregate principal amount of up to $12.5 million (the “Delayed
                                  Draw Loans”); provided that the proceeds of the Delayed Draw
                                  Loans shall be deposited into the DIP Term Funding Account (as
                                  defined herein) concurrently with the funding thereof and the use of
                                  such proceeds shall be subject to the conditions set forth under the
                                  heading “DIP Term Funding Account.”

                          “Delayed Draw Commitment” means the aggregate amount of the DIP Term
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                         Lenders’ delayed draw commitments on the Closing Date not to exceed $12.5
                         million.

                         The DIP Term Commitments will automatically terminate on the earlier to
                         occur of (a) the date immediately following the Delayed Draw Borrowing Date
                         and (b) the DIP Termination Date (as defined below).

                         The “DIP Termination Date” shall mean the earliest of (a) the Initial Maturity
                         Date (as defined herein) or, if extended as described below, the Extended
                         Maturity Date, (b) the date of acceleration of the obligations under the DIP
                         Term Facility and the termination of the unfunded DIP Term Commitments in
                         accordance with the terms of the DIP Term Credit Agreement upon and during
                         the continuance of an event of default, (c) the effective date of any Acceptable
                         Plan of Reorganization (to be defined in a manner satisfactory to the DIP
                         Required Lenders (as defined herein)) (the “Plan Effective Date”) or any other
                         plan of reorganization, (d) the date of consummation of a sale of all or
                         substantially all of the Debtors’ assets under Section 363 of the Bankruptcy
                         Code and (e) the date that is thirty (30) days after the Petition Date (or such
                         later date as may be agreed by the Required DIP Term Lenders), unless the
                         Final Order has been entered by the Bankruptcy Court on or prior to such date
                         (such earliest date, the “DIP Termination Date”).
Maturity Date            The date (such date, the “Initial Maturity Date”) falling 120 days after the
                         commencement of the Cases (such commencement date, the “Petition Date”);
                         provided that the DIP Term Facility Borrower shall have the right to extend the
                         Initial Maturity Date for a period of up to 60 days (the “Extended Maturity
                         Date”) subject to the following conditions: (i) the Debtors have provided the
                         DIP Term Facility Agent (for distribution to the DIP Term Lenders) with not
                         less than 5 business days’ prior written notice of such extension, (ii) the
                         Debtors shall have filed an Acceptable Plan of Reorganization, (iii) a hearing
                         seeking confirmation with respect to such Acceptable Plan of Reorganization
                         shall have been scheduled prior to the Initial Maturity Date (for the avoidance
                         of doubt, such hearing may take place before the Extended Maturity Date) and
                         any continuance or adjournment to such hearing will require the written consent
                         of the Required DIP Term Lenders, (iv) on or before the Initial Maturity Date,
                         the DIP Term Facility Borrower shall have delivered to the DIP Term Facility
                         Agent an updated DIP Budget covering the period up to the Extended Maturity
                         Date in form and substance acceptable to the Required DIP Term Lenders, (v)
                         the DIP Term Facility Borrower shall pay to the DIP Term Facility Agent, for
                         the account of the DIP Term Lenders, an extension premium in an amount
                         equal to 0.50% of the DIP Term Loans then outstanding, (vi) no default or
                         event of default under the DIP Term Documents shall have occurred and be
                         continuing and (vii) the maturity date under the DIP ABL Facility shall have
                         been extended to a date that is not earlier than the Extended Maturity Date.
Conversion               On the Plan Effective Date, the aggregate outstanding principal amount of the
                         DIP Term Loans will convert into loans under the Exit Term Loan Facility .
Use of Proceeds          Solely in accordance with the DIP Orders and the Approved Budget (as defined
                         herein) (subject to any permitted variances) (i) to pay certain costs, fees and
                         expenses related to the Cases, (ii) to pay certain adequate protection payments
                         permitted by the DIP Orders, (iii) to repay a portion of the loans outstanding
                         under the Pre-Petition ABL Facility (as defined herein), (iv) to fund the Carve-

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                         Out from and after the delivery of the Trigger Notice to make payments under
                         the Carve-Out in accordance with the terms of the DIP Orders and (v) to fund
                         the working capital needs and expenditures of the Debtors during the Cases;
                         provided that up to $50,000 of any Carve-Out shall be made available to any
                         official committee of unsecured creditors for investigation costs in respect of
                         any Pre-Petition Facility and liens in accordance with the Interim Order or the
                         Final Order, as applicable.
DIP ABL Facility         Concurrently with the entering into the DIP Term Facility, the Debtors will
                         enter into a debtor-in-possession asset-based revolving facility in an aggregate
                         principal amount of up to $80.0 million (the “DIP ABL Facility” and, together
                         with the DIP Term Facility, the “DIP Facilities”), with Barclays Bank PLC as
                         the administrative agent thereunder (the “DIP ABL Facility Agent” and,
                         together with the DIP Term Facility Agent, the “DIP Agents”).
Interest Rate            LIBOR plus 8.00% per annum (or if applicable, ABR plus 7.00% per annum).
Default Interest         Upon the occurrence and during the continuation of an event of default, all
                         obligations will bear interest at (i) in the case of principal and interest, a rate
                         equal to 2.00% per annum, plus the otherwise applicable rate to the relevant
                         DIP Term Loans and (ii) in the case of all other amounts, such amounts will
                         bear interest at a rate equal to 2.00% per annum plus the rate applicable to DIP
                         Term Loans that are ABR loans.
Amortization             None.
Fees                     (a)     Upfront Fee: 2.00% of (i) the aggregate principal amount of each DIP
                                 Term Lender’s initial DIP Term Commitment on the Closing Date and
                                 (ii) the principal amount of each such DIP Term Lender’s aggregate
                                 Delayed Draw Commitment on the Delayed Draw Borrowing Date.

                         (b)     Backstop Party Fee: 4.50% of the aggregate amount of each Backstop
                                 Party’s backstop obligations in respect of the aggregate DIP Term
                                 Commitments on the Closing Date, payable on the Plan Effective Date in
                                 the reorganized equity interests of the DIP Term Facility Borrower (or
                                 any direct or indirect parent thereof) pursuant to an Acceptable Plan of
                                 Reorganization; provided that if the RSA is terminated in accordance
                                 with its terms, such fee shall be payable in cash on the Termination Date.

                         (c)     Exit Fee: 1.00% of the aggregate principal amount of the DIP Term
                                 Loans under the DIP Term Credit Agreement, which shall be payable in
                                 cash on the Plan Effective Date or, in the case of DIP Term Loans
                                 prepaid in whole or in part prior to the Plan Effective Date, on the date
                                 of such prepayment.

                         (d)     Unused Line Fee: 0.375% on the average daily unused amount of the
                                 Delayed Draw Commitment of such Lender from and including the
                                 Closing Date to but excluding the Delayed Draw Commitment
                                 Termination Date. The Delayed Draw Commitment Fee shall be
                                 payable on the Delayed Draw Borrowing Date.
Mandatory Prepayments    Mandatory prepayments under the DIP Facility shall be required with 100% of
                         the net cash proceeds from (a) issuance of any indebtedness (with exceptions
                         for permitted indebtedness), (b) sales or other dispositions (including casualty
                         events) of any assets (excluding sales of inventory in the ordinary course of

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                         business and other customary exceptions to the mutually agreed) in excess of
                         $75,000 for any single transaction or series of related transactions and (c)
                         extraordinary receipts in excess of $75,000 in the aggregate.

                         In addition, if, on the last day of any calendar week, the Loan Parties have any
                         Excess Cash Balance (as defined below) on such day, on the following business
                         day, such Excess Cash Balance shall be applied to prepay the outstanding DIP
                         Term Loans.

                         “Excess Cash Balance” means at any time, the amount by which (a) the
                         unrestricted cash and cash equivalents, minus (b) Excluded Funds, exceeds $6.0
                         million.

                         “Excluded Funds” means the sum of (a) the amount of any checks issued,
                         wires initiated or ACH transfers initiated that have not yet cleared or been
                         completed, plus (b) the amount of cash and cash equivalents held in accounts
                         designated and used solely for payroll or employee benefits.
Voluntary Prepayments    Amounts outstanding under the DIP Term Facility may be voluntarily repaid at
                         any time without premium or penalty, except as provided under the heading
                         “Fees.”
Interim Order            The interim order approving the DIP Facilities, which shall be in form and
                         substance satisfactory to the Required DIP Term Lenders and the required
                         lenders under the DIP ABL Facility (the “Interim Order”), shall, among other
                         things, authorize and approve (i) the borrowing and making of the DIP Term
                         Loans in an amount up to $62.5 million, (ii) the granting of the super-priority
                         claims and liens against the Debtors and their assets in accordance with this
                         DIP Facility Term Sheet and the DIP Term Loan Documents, (iii) the payment
                         of all reasonable and documented fees and expenses (including the fees and
                         expenses of outside counsel and financial advisors) required to be paid to the
                         DIP Term Facility Agent and the DIP Term Lenders as described under the
                         heading “Fees and Expenses & Indemnification” by the Debtors, (iv) the use of
                         cash collateral; provided that adequate protection shall be granted consistent
                         with the terms set forth in this DIP Term Facility Term Sheet and (v) the
                         payment of the fees described under the heading “Fees,” which payment shall
                         not be subject to reduction, setoff or recoupment.
Final Order              The final order of the Bankruptcy Court authorizing and approving on a final
                         basis, among other things, the DIP Term Loans and the transactions
                         contemplated by the DIP Term Loan Documents in the form of the Interim
                         Order (with only such modifications thereto as are necessary to convert the
                         Interim Order to a final order and such other modifications as are satisfactory to
                         the Required DIP Term Lenders and the required lenders under the DIP ABL
                         Facility) (as the same may be amended, supplemented, or modified from time
                         to time after entry thereof with the consent of the Required DIP Term Lenders
                         in their sole discretion) as to which no stay has been entered approving the DIP
                         Term Loan Facility (the “Final Order” and, together with the Interim Order,
                         the “DIP Orders”).




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Prepetition Facilities 1        “Pre-Petition ABL Credit Agreement” means that certain Revolving Credit
                                Agreement, dated as of June 28, 2013, among Holdings, the Company, the
                                other borrowers and guarantors named therein, the financial institutions named
                                therein and Wells Fargo Bank, N.A., as the successor administrative agent (the
                                “Pre-Petition ABL Agent”). The “Secured Parties” thereunder are referred to
                                herein as the “Pre-Petition ABL Secured Parties.” The indemnification
                                claims under the Pre-Petition ABL Credit Agreement are referred to herein as
                                the “Pre-Petition ABL Indemnification Claims” and the collateral securing
                                such indemnification claims is referred to herein as the “Pre-Petition ABL
                                Collateral.”

                                “Pre-Petition First Lien Term Loan Agreement” means that certain First
                                Lien Term Loan Agreement, dated as of June 28, 2013, among Holdings, the
                                Company, the guarantors named therein, the financial institutions named
                                therein, and Morgan Stanley Senior Funding, Inc. (or its successor) as
                                administrative agent (the “Pre-Petition First Lien Agent”). The “Secured
                                Parties” thereunder are referred to herein as the “Pre-Petition First Lien
                                Secured Parties.”

                                “Pre-Petition Second Lien Term Loan Agreement” means that certain
                                Second Lien Term Loan Agreement, dated as of June 28, 2013, among
                                Holdings, the Company, the guarantors named therein, the financial
                                institutions named therein, and Morgan Stanley Senior Funding, Inc. (or its
                                successor) as administrative agent (the “Pre-Petition Second Lien Agent”).
                                The “Secured Parties” thereunder are referred to herein as the “Pre-Petition
                                Second Lien Secured Parties.”

                                The Pre-Petition First Lien Term Loan Agreement and the Pre-Petition Second
                                Lien Term Loan Agreement are referred to herein as the “Pre-Petition Term
                                Loan Agreements,” and the secured obligations thereunder, collectively, the
                                “Pre-Petition Term Loan Secured Obligations,” and all “Collateral” securing
                                such Pre-Petition Term Loan Secured Obligations, the “Pre-Petition Term
                                Loan Collateral.”

                                The Pre-Petition First Lien Secured Parties and the Pre-Petition Second Lien
                                Secured Parties are collectively referred to herein as the “Pre-Petition Term
                                Loan Secured Parties.” The Pre-Petition Term Loan Secured Parties and the
                                Pre-Petition ABL Secured Parties are referred to herein as the “Pre-Petition
                                Secured Parties.”

                                The facilities governed by the Pre-Petition ABL Credit Agreement, the Pre-
                                Petition First Lien Term Loan Agreement and the Pre-Petition Second Lien
                                Term Loan Agreement are collectively referred to herein as the “Pre-Petition
                                Facilities.”

                                The Pre-Petition ABL Agent, the Pre-Petition First Lien Agent and the Pre-

  1
   In each case, as amended, restated, supplemented or otherwise modified prior to the date of the Restructuring
  Support Agreement.

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                          Petition Second Lien Agent are collectively referred to herein as the “Pre-
                          Petition Agents.”
DIP Collateral            All present and after acquired assets and property (whether tangible,
                          intangible, real, personal or mixed) of the Loan Parties, wherever located,
                          including (without limitation) all accounts, all deposit accounts (including,
                          without limitation, the DIP Term Funding Account), securities accounts and
                          commodities accounts, inventory, equipment, capital stock in subsidiaries of
                          the Loan Parties, including, for the avoidance of doubt, any equity or other
                          interests in the Loan Parties’ non-Debtor and/or jointly-owned subsidiaries,
                          investment property, instruments, chattel paper, real estate, leasehold interests,
                          contracts, patents, copyrights, trademarks and other general intangibles, and all
                          products and proceeds thereof, subject to customary exclusions and excluding
                          any causes of action under Bankruptcy Code sections 502(d), 544, 545, 547,
                          548, 549, 550 or 553 or any other avoidance actions under the Bankruptcy
                          Code or applicable non-bankruptcy law (“Avoidance Actions”) but, subject to
                          entry of the Final Order, including the proceeds thereof (“Avoidance
                          Proceeds”). The collateral described above is collectively referred to herein as
                          the “DIP Collateral” and the liens on the DIP Collateral securing the DIP
                          Facilities are referred to herein as the “DIP Liens.”

                          The relative rights and priorities in the DIP Collateral among the DIP Term
                          Lenders and the lenders under the DIP ABL Facility will be set forth in an
                          intercreditor agreement (the “DIP ABL Intercreditor Agreement”), which
                          will be in form and substance consistent with that certain Intercreditor
                          Agreement, dated as of June 28, 2013 (as amended, restated, supplemented or
                          otherwise modified from time to time), among the Company, the other grantors
                          party thereto, the Pre-Petition First Lien Agent, the Pre-Petition Second Lien
                          Agent and the Pre-Petition ABL Agent (the “Pre-Petition Intercreditor
                          Agreement”).

                          Notwithstanding anything to the contrary herein or in any other documentation
                          governing the DIP ABL Facility, in no event shall the DIP Term Funding
                          Account, all monies, securities, instruments and other investments held in the
                          DIP Term Funding Account or credited thereto or any proceeds of any of the
                          foregoing be included in the collateral securing the obligations under the DIP
                          ABL Facility or any adequate protection claims set forth below (and the
                          Debtors shall not grant a security interest in the DIP Term Funding Account or
                          any of the other related assets to secure the obligations under the DIP ABL
                          Facility).




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Priority Under the DIP   All obligations of the Loan Parties to the DIP Term Lenders and to the DIP
Term Facility            Term Facility Agent (collectively, the “DIP Obligations”) shall, subject to the
                         Carve-Out (as defined below), at all times:

                           (a).   be entitled to superpriority administrative expense status in the Case
                                  of such Loan Party;

                           (b).   be secured by a fully perfected (i) first priority security interest and
                                  lien on the DIP Collateral of each Loan Party that constitutes Term
                                  Loan Priority Collateral (to be defined in a manner consistent with
                                  Pre-Petition Intercreditor Agreement and such other modifications to
                                  reflect the commencement of the Cases) and (ii) second priority
                                  security interest and lien on the DIP Collateral of each Loan Party
                                  that constitutes the ABL Priority Collateral (to be defined in a
                                  manner consistent with Pre-Petition Intercreditor Agreement and
                                  such other modifications to reflect the commencement of the Cases),
                                  in each case that is not subject to (x) valid, perfected and non-
                                  avoidable liens as of the Petition Date or (y) valid liens in existence
                                  as of the Petition Date that are perfected subsequent to the Petition
                                  Date as permitted by Section 546(b) of the Bankruptcy Code,
                                  excluding Avoidance Actions but including, subject to entry of the
                                  Final Order, Avoidance Proceeds;

                              (c). except as otherwise provided in clause (d) below with respect to the
                                   existing liens of the Pre-Petition Secured Parties with respect to
                                   Term Priority Collateral, (i) be secured by a junior perfected security
                                   interest and lien on the DIP Collateral of each Loan Party to the
                                   extent such DIP Collateral is subject to (A) valid, perfected and non-
                                   avoidable liens in favor of third parties that were in existence
                                   immediately prior to the Petition Date and permitted under the Pre-
                                   Petition Term Loan Agreements and (B) valid and non-avoidable
                                   permitted liens in favor of third parties that were in existence
                                   immediately prior to the Petition Date that were perfected subsequent
                                   to the Petition Date as permitted by Section 546(b) of the Bankruptcy
                                   Code ((i) and (ii) together, the “Permitted Prior Liens”) and (ii) be
                                   secured by a junior perfected security interest and lien on the DIP
                                   Collateral that constitutes ABL Priority Collateral of each Loan Party
                                   to the extent subject to Pre-Petition ABL Secured Party Adequate
                                   Protection Liens; and

                              (d). be secured by a perfected priming security interest and lien on the
                                   DIP Collateral that constitutes Term Priority Collateral of each Loan
                                   Party to the extent such DIP Collateral is subject to existing liens that
                                   secure the obligations under the Pre-Petition Facilities.

                         The “Carve-Out” shall be in an amount equal to the sum of: (i) all fees
                         required to be paid to the clerk of the Court and to the Office of the United
                         States Trustee under section 1930(a) of title 28 of the United States Code plus
                         interest at the statutory rate (without regard to the notice set forth in (iii)
                         below); (ii) all reasonable fees and expenses incurred by a chapter 7 trustee
                         under section 726(b) of the Bankruptcy Code in an amount not to exceed
                         $50,000 (without regard to the notice set forth in (iii) below); (iii) to the extent
                         allowed at any time, whether by interim or final compensation order or any
                         other order of the Bankruptcy Court, all unpaid fees, costs, and expenses (the
                         “Professional Fees”) incurred or accrued by persons or firms retained by the
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                      Loan Parties pursuant to section 327, 328 or 363 of the Bankruptcy Code
                      (collectively, the “Debtor Professionals”) and any official committee of
                      unsecured creditors (the “Committee Professionals” and, together with the
                      Debtor Professionals, the “Professional Persons”) appointed in the Cases
                      pursuant to section 1103 of the Bankruptcy Code at any time before or on the
                      day of delivery by a DIP Agent of a Carve-Out Trigger Notice (defined below),
                      plus Professional Fees incurred after the Carve-Out Trigger Notice in an
                      amount not to exceed $3,000,000 of Debtor Professionals; provided that under
                      no circumstances shall any success, completion, or similar fees be payable from
                      the Carve-Out following delivery of a Carve-Out Trigger Notice (collectively,
                      the “Carve-Out Amount”), in each case subject to the limits imposed by the
                      Financing Orders.

                      “Carve-Out Trigger Notice” shall mean a written notice delivered by any of
                      the DIP Agents describing the event of default that has occurred and is
                      continuing under the applicable loan documentation under the DIP ABL
                      Facility or the DIP Term Facility. Immediately upon delivery of a Carve-Out
                      Trigger Notice, and prior to the payment to any Prepetition Secured Party on
                      account of any adequate protection under the Interim Order or otherwise, the
                      Debtors shall be required to deposit, in a segregated account not subject to the
                      control of the DIP Agents or the Prepetition Agents (the “Carve-Out
                      Account”), an amount equal to the Carve-Out Amount. The funds on deposit
                      in the Carve-Out Account shall be available only to satisfy obligations
                      benefitting from the Carve-Out, and the DIP Agents and the Prepetition Agents,
                      each on behalf of itself and the relevant secured parties, (i) shall not sweep or
                      foreclose on cash of the Debtors necessary to fund the Carve-Out Account and
                      (ii) shall have a security interest upon any residual interest in the Carve-Out
                      Account available following satisfaction in cash in full of all obligations
                      benefitting from the Carve-Out, and the priority of such lien on the residual
                      should be consistent with the DIP ABL Intercreditor Agreement and the Interim
                      Order.
Adequate Protection   Pre-Petition First Lien Secured Parties:

                      (a) the reasonable and documented prepetition and postpetition fees and
                      expenses of the Pre-Petition First Lien Agent and the ad hoc group of lenders
                      under the Pre-Petition First Lien Loan Agreement, including the reasonable and
                      documented fees and expenses of Davis Polk & Wardwell LLP, as primary
                      counsel, Evercore Group L.L.C., as financial advisor, and one counsel retained
                      by the Pre-Petition First Lien Agent;

                      (b) to the extent of diminution in value of their Pre-Petition Collateral, as
                      provided in the Bankruptcy Code, replacement liens on the DIP Collateral to
                      secure the Pre-Petition First Lien Secured Party Adequate Protection Claims (as
                      defined below) (the “Pre-Petition First Lien Secured Party Adequate
                      Protection Liens”), senior to all other liens on the DIP Collateral except (i) the
                      Carve-Out, (ii) the Permitted Prior Liens, (iii) any Pre-Petition ABL Secured
                      Party Adequate Protection Liens (as defined below) in respect of ABL Priority
                      Collateral, (iv) the DIP Liens securing the DIP Term Facility and (v) the DIP
                      Liens on the ABL Priority Collateral securing the DIP ABL Facility;

                      (c) to the extent of diminution in value of their Pre-Petition Collateral, as
                      provided in the Bankruptcy Code, allowed superpriority claims as provided for
                      in sections 503(b) and 507(b) of the Bankruptcy Code (the “Pre-Petition First
                      Lien Secured Party Adequate Protection Claims”);

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         (d) financial reporting and other reports and notices delivered by the DIP Term
         Facility Borrower under the DIP Term Facility; and

         (e) the Milestones (as defined below) may be amended, modified or extended,
         in each case, as to the Pre-Petition First Lien Secured Parties only by (i) order
         of the Bankruptcy Court or (ii) the prior written consent of the Required Pre-
         Petition First Lien Secured Parties (which shall mean Pre-Petition First Lien
         Secured Parties holding greater than 50% of the outstanding principal amount
         of loans under the Pre-Petition First Lien Credit Agreement).

         Pre-Petition Second Lien Secured Parties:

         (a) to the extent of diminution in value of their Pre-Petition Collateral, as
         provided in the Bankruptcy Code, replacement liens on the DIP Collateral to
         secure the Pre-Petition Second Lien Secured Party Adequate Protection Claims
         (as defined below), senior to all other liens on the DIP Collateral except (i) the
         Carve-Out, (ii) the Permitted Prior Liens, (iii) any Pre-Petition ABL Secured
         Party Adequate Protection Liens in respect of ABL Priority Collateral, (iv) the
         DIP Liens securing the DIP Term Facility, (v) Pre-Petition First Lien Secured
         Party Adequate Protection Liens and (vi) the DIP Liens on the ABL Priority
         Collateral securing the DIP ABL Facility;

         (b) to the extent of diminution in value of their Pre-Petition Collateral, as
         provided in the Bankruptcy Code, allowed superpriority claims as provided for
         in sections 503(b) and 507(b) of the Bankruptcy Code (the “Pre-Petition
         Second Lien Secured Party Adequate Protection Claims”); and

         (c) financial reporting and other reports and notices delivered by the DIP Term
         Facility Borrower under the DIP Term Facility.

         Pre-Petition ABL Secured Parties: Until the discharge of the obligations under
         the Pre-Petition ABL Credit Agreement as set forth in the Final Order:

         (a) the reasonable and documented prepetition and postpetition fees and
         expenses of the Pre-Petition ABL Agent;

         (b) to the extent of diminution in value of their Pre-Petition ABL Collateral, as
         provided in the Bankruptcy Code, replacement liens on the DIP Collateral to
         secure the Pre-Petition ABL Secured Party Adequate Protection Claims (as
         defined below) and the Pre-Petition ABL Indemnification Claims (the “Pre-
         Petition ABL Secured Party Adequate Protection Liens”), senior to all other
         liens on the DIP Collateral except (i) the Carve-Out, (ii) the Permitted Prior
         Liens, (iii) the Pre-Petition First Lien Secured Party Adequate Protection Liens
         and the Pre-Petition Second Lien Secured Party Adequate Protection Liens, in
         each case in respect of Term Priority Collateral, (iv) the DIP Liens on the Term
         Priority Collateral securing the DIP Term Facility and (v) the DIP Liens on the
         ABL Priority Collateral securing the DIP ABL Facility;

         (c) to the extent of diminution in value of their Pre-Petition ABL Collateral, as
         provided in the Bankruptcy Code, allowed superpriority claims as provided for
         in sections 503(b) and 507(b) of the Bankruptcy Code (the “Pre-Petition ABL
         Secured Party Adequate Protection Claims”);

         (d) financial reporting and other reports and notices delivered by the Company
         under the DIP ABL Facility; and
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                        (e) the Milestones (as defined below) may be amended, modified or extended,
                        in each case, as to the Pre-Petition ABL Secured Parties only by (i) order of the
                        Bankruptcy Court or (ii) the prior written consent of the required Pre-Petition
                        ABL Secured Parties (which shall mean Pre-Petition ABL Secured Parties
                        holding greater than 50% of the outstanding principal amount of loans under
                        the Pre-Petition ABL Credit Agreement).
Milestones              To be consistent with the milestones set forth in the Restructuring Support
                        Agreement.
Representations and     Usual and customary for debtor-in-possession financings of this type, including
Warranties              (without limitation) representations with respect to the Initial DIP Budget (as
                        defined herein), the Cases and the DIP Orders.

                        “Initial DIP Budget” means a budget in form and substance satisfactory to the
                        Required DIP Term Lenders delivered on or prior to the Closing Date depicting
                        on a weekly basis, among other things, the Debtors’ projected operating
                        receipts, vendor disbursements, total disbursements, liquidity, net operating
                        cash flow, professional fee expenses and net cash flow during the period
                        commencing from the Closing Date through the Initial Maturity Date. The
                        Initial DIP Budget may be updated from time to time upon the request of the
                        Required DIP Term Lenders or the Company; provided that (i) in the case of a
                        request by the Company, the DIP Term Lenders have received not less than 3
                        business days’ prior written notice of the delivery of such updated DIP Budget,
                        (ii) any such updated DIP Budget must be approved by the DIP Term Lenders
                        constituting the Required DIP Term Lenders and (iii) to the extent any such
                        updated DIP Budget is approved by the DIP Term Lenders constituting the
                        Required DIP Term Lenders, the line item amounts set forth therein shall only
                        be used to calculate the projected line items commencing with the week in
                        which such updated DIP Budget is approved by the Required DIP Term
                        Lenders and for subsequent weeks set forth therein, and any prior weeks tested
                        as part of any then applicable rolling four week period shall be calculated using
                        the projected line items set forth in the applicable previously approved DIP
                        Budget (the Initial Budget, together with any updated DIP Budget approved as
                        set forth above, the “Approved Budget”).
Affirmative Covenants   Usual and customary for debtor-in-possession financings of this type, including
                        (without limitation) weekly delivery of a rolling 13-week cash flow forecast in
                        a form consistent with the Approved Budget, liquidity certificate and variance
                        report, schedule of professional fees actually paid, delivery of annual, quarterly
                        and monthly financial statements, monthly lender calls and priority of liens and
                        claims.
Negative Covenants      Usual and customary for debtor-in-possession financings of this type, including
                        (without limitation), the Financial Covenants (as defined herein) and covenants
                        related to the RSA and other bankruptcy matters.
Financial Covenants     The DIP Term Facility shall contain the following financial covenants (the
                        “Financial Covenants”):

                        (a).    Budget Variance Covenant: Tested weekly, commencing on the second
                                full calendar week following the Closing Date, with respect to each
                                weekly period most recently ended: (a)(i) the negative variance of the
                                actual operating cash receipts as compared to the budgeted operating

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                               cash receipts set forth in the applicable Approved Budget must not
                               exceed 20% during the first two full weeks ending after the Closing
                               Date, calculated on a cumulative basis for such two week period, (ii)
                               the negative variance of the actual operating cash receipts as compared
                               to the budgeted operating cash receipts set forth in the applicable
                               Approved Budget must not exceed 17.5% during the first thee full
                               weeks ending after the Closing Date, calculated on a cumulative basis
                               for such three week period and (iii) the negative variance of the actual
                               operating cash receipts as compared to the budgeted operating cash
                               receipts set forth in the applicable Approved Budget must not exceed
                               15% at all times following the first three full weeks ending after the
                               Closing Date, calculated on a rolling four-week basis and (b)(i) the
                               positive variance of the actual total disbursement amount (excluding
                               professional fees) as compared to the total disbursement amount
                               (excluding professional fees) set forth in the Approved Budget must not
                               exceed 20% during the first two full weeks ending after the Closing
                               Date, calculated on a cumulative basis for such two week period, (ii)
                               the positive variance of the actual total disbursement amount
                               (excluding professional fees) as compared to the total disbursement
                               amount (excluding professional fees) set forth in the Approved Budget
                               must not exceed 17.5% during the first three full weeks ending after the
                               Closing Date, calculated on a cumulative basis for such three week
                               period and (iii) the positive variance of the actual total disbursement
                               amount (excluding professional fees) as compared to the total
                               disbursement amount (excluding professional fees) set forth in the
                               Approved Budget must not exceed 15% at all times following the first
                               three full weeks ending after the Closing Date, calculated on a rolling
                               four-week basis.

                       (b).    Liquidity: Liquidity (as defined below) at any time shall not be less
                               than $10.0 million.

                       (c).    Professional Fees: Tested weekly, commencing on the first full
                               calendar week following the Closing Date, with respect to the
                               cumulative period since the Closing Date, the positive variance of the
                               actual professional fee amount as compared to the budgeted
                               professional fee amount set forth in the Approved Budget must not
                               exceed (x) for the first month following the Closing Date, $500,000 and
                               (y) at all times thereafter, $1 million.

                       “Liquidity” means an amount equal to (a) the unrestricted cash and cash
                       equivalents of the Debtors at such time not to exceed $6.0 million plus (b) the
                       principal amount of the loans available for borrowing under the DIP ABL
                       Facility after giving effect to the outstanding extensions of credit thereunder,
                       undrawn and drawn but unreimbursed letters of credit thereunder, the
                       borrowing base formula and all applicable reserves, holdbacks, minimum
                       availability tests and conditions to borrowing thereunder.
Events of Default      Usual and customary for debtor-in-possession financings of this type, including
                       (without limitation), events of default related to dismissal or conversion of the
                       Cases, amending or vacating the DIP Orders, the automatic stay, milestones and
                       other bankruptcy-related events of default.

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Conditions Precedent to   Usual and customary for debtor-in-possession financings of this type,
Closing                   including (without limitation): (i) execution and delivery of the DIP Term
                          Credit Agreement and the other DIP Term Loan Documents evidencing the DIP
                          Term Facility; (ii) the Petition Date shall have occurred, and the DIP Term
                          Facility Borrower and each Guarantor shall be a debtor and a debtor-in-
                          possession; (iii) the entry of the Interim Order not later than five calendar
                          days following the Petition Date, (iv) the delivery of the Initial DIP Budget,
                          (v) the RSA shall have become effective and binding in accordance with its
                          terms and (vi) the entry of all “first day” orders and related pleadings with the
                          Bankruptcy Court that are acceptable in form and substance to the Required
                          DIP Term Lenders.
Conditions Precedent to   Conditions precedent customarily found in loan documents for similar debtor-
the Extension of each     in-possession financings including (without limitation): (i) no default or event
DIP Term Loan             of default; (ii) accuracy of representations and warranties in all material
                          respects; (iii) the Interim Order or the Final Order, as applicable, shall be in full
                          force and effect and shall not have been vacated or reversed, shall not be
                          subject to a stay, and shall not have been modified or amended in any respect
                          without the consent of the Required DIP Term Lenders, (iv) delivery of a
                          customary notice of borrowing, (v) satisfaction of all required milestones, (vi)
                          the RSA shall be in full force and effect and (vii) with respect to the funding of
                          the Delayed Draw Loans on the Delayed Draw Borrowing Date: (A) the
                          Company shall have opened a segregated deposit account to be established in
                          the name of the Company at a financial institution satisfactory to the Required
                          DIP Term Lenders (the “DIP Term Funding Account”), (B) the DIP Term
                          Facility Agent shall have received a fully executed account control agreement
                          (in form and substance satisfactory to the Required DIP Term Lenders)
                          covering the DIP Term Funding Account and (C) the proceeds of the Delayed
                          Draw Loans shall be deposited into the DIP Term Funding Account
                          concurrently with the making of the Delayed Draw Loans.
DIP Term Funding          Withdrawals from the DIP Term Funding Account shall be subject to the
Account                   satisfaction of the following conditions:

                              (a). The DIP Term Facility Borrower shall deliver a written notice to the
                                   DIP Term Facility Agent (the “DIP Term Funding Account Withdrawal
                                   Notice”) providing that the DIP Term Facility Borrower intends to
                                   withdraw funds on deposit in the DIP Term Funding Account and
                                   specifying the amount and date of such withdrawal, which such date
                                   shall be the second Business Day following the delivery of the
                                   Withdrawal Notice (the “Withdrawal Date”);

                              (b). Concurrently with the delivery of a DIP Term Funding Account
                                   Withdrawal Notice, the DIP Term Facility Borrower shall deliver an
                                   updated liquidity certificate, which shall reflect the Debtors’ Liquidity
                                   as of the end of business on the immediately preceding business day to
                                   be no greater than $15 million;

                              (c). The amount of such withdrawal shall not exceed the amount necessary
                                   to cause the Debtors’ Liquidity to equal $15 million; and

                              (d). No default or event of default shall have occurred and be continuing.


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                      Upon the occurrence of the Plan Effective Date, the Company shall have the
                      right to withdraw all funds remaining in the DIP Term Funding Account for
                      remittance to another deposit account of the DIP Term Facility Borrower and
                      subject to the use of proceeds provisions set forth in the credit agreement
                      governing the Exit Term Loan Facilities.
Voting                Amendments and waivers of the DIP Term Facility will require the approval of
                      DIP Term Lenders holding more than 50% of the outstanding unused DIP Term
                      Commitment and DIP Term Loans (the “Required DIP Term Lenders”),
                      subject to customary exceptions in debtor-in-possession financings of this type
                      for certain provisions which shall require the consent of each affected DIP
                      Term Lender or all DIP Term Lenders and customary protections for the DIP
                      Facility Agent; provided that any extension of the outside date of effectiveness
                      of the Acceptable Plan of Reorganization will require the approval of DIP Term
                      Lenders holding more than 75% of the outstanding unused DIP Term
                      Commitment and DIP Term Loans.
Fees and Expenses &   Usual and customary for debtor-in-possession financings of this type.
Indemnification
Assignments and       Usual and customary for debtor-in-possession financings of this type.
Participations
Governing Law         The laws of the State of New York (excluding the laws applicable to conflicts
                      or choice of law) and, to the extent applicable, by the Bankruptcy Code.
Counsel to DIP Term   Davis Polk & Wardwell LLP.
Facility Agent
DIP ABL Facility      Notwithstanding anything to the contrary set forth in this DIP Term Facility
                      Term Sheet, other than with respect to interest rates and fees, the terms of the
                      DIP Term Facility shall be no less favorable to the DIP Term Lenders in any
                      material respects than any comparable terms set forth in the DIP ABL Facility.




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                                      EXHIBIT E

                               DISCLOSURE STATEMENT



                                       [Omitted]




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                                      EXHIBIT F

                               EXIT ABL TERM SHEET




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                                                                                                Exhibit A

                                          CONFIDENTIAL

                                         Barclays Bank PLC

                                CTI FOODS HOLDINGS CO., LLC

                              $110,000,000 Senior Secured Asset-Based
                                   Exit Revolving Credit Facility
                                    (“Exit ABL Credit Facility”)

                            Summary of Principal Terms and Conditions
                                      (“Exit Term Sheet”)

This Summary of Principal Terms and Conditions (the “Exit Term Sheet”) is subject to the terms and
conditions of the Commitment Letter, dated of even date herewith, (the “Commitment Letter”) by and
among Barclays Bank PLC (“Barclays”), CTI Foods Holdings Co., LLC (the “Company”), CTI Foods
Acquisition LLC (“Holdings”), Chef Holdings, Inc. (“Parent”) and certain subsidiaries of the Parent. All
capitalized terms used herein and not defined herein shall have the meanings given to them in the
Commitment Letter to which this Exhibit A is attached (including the annexes and schedules hereto) or in
the DIP ABL Credit Agreement, as applicable.

Cases:                    Parent, Holdings, the Company and all of the Parent’s Subsidiaries that are
                          debtors and debtors-in-possession in connection with their respective cases
                          under chapter 11 (the “Cases”) of title 11 of the United States Code (the
                          “Bankruptcy Code”).

Borrowers:                The Company and any domestic subsidiaries of Holdings with assets to be
                          included in the Borrowing Base (together with the Company, individually, a
                          “Borrower” and collectively, the “Borrowers”). All references to Borrowers
                          shall mean the Company, Holdings and such subsidiaries of Holdings after
                          giving effect to the Plan (as defined below).

Guarantors:               Parent and all of Parent’s present and future subsidiaries that are not
                          Borrowers (individually, a “Guarantor” and collectively, the “Guarantors,” and
                          together with Borrowers, individually a “Loan Party” and collectively, “Loan
                          Parties”). It is understood and agreed that each loan party under the Exit Term
                          Loan Facility shall be a Loan Party.

Sole Lead Exit            Barclays (“Exit Arranger”).
Arranger and Sole
Bookrunner:
Administrative and        Barclays (in such capacity, “Exit Agent”).
Collateral Exit Agent:
Lenders:                  Barclays and such other institutions that may become parties to the financing
                          arrangements as lenders (collectively, “Exit ABL Lenders”).

Letter of Credit          Letters of credit under the Exit ABL Credit Facility will be issued by the Exit
Issuer:                   Agent and, if included as an additional Exit Issuing Bank, one or more Exit
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                          ABL Lenders acceptable to the Borrower and the Exit Agent (each, an “Exit
                          Issuing Bank”).

Exit Swing Line           Barclays (in such capacity, “Exit Swing Line Lender”).
Lender:
Exit Term Loan            Concurrently with the entering into the Exit ABL Credit Facility (as defined
Facility:                 below), the Company, certain of its subsidiaries, Holdings and the lenders
                          thereto will enter into a secured term loan credit facility in an aggregate
                          principal amount of up to $125,000,000 (including, for the avoidance of doubt,
                          both the “first out” and “last out” tranche thereunder) (the “Exit Term Loan
                          Facility”).

Exit ABL Credit           The Exit ABL Credit Facility will consist of a senior secured asset-based
Facility:                 revolving credit and letter of credit facility of up to $110,000,000 provided to
                          Borrowers, subject to the terms described below.

                          The revolving loans under the Exit ABL Credit Facility (“Revolving Exit
                          Loans”) will be available to Borrowers in a maximum principal amount at any
                          one time of up to the lesser of (a) the aggregate commitments of Lenders in the
                          Exit ABL Credit Facility or (b) the Borrowing Base as described below and
                          subject to the terms and conditions of the Exit Loan Documents.

                          The term “Maximum Credit” as used herein means the aggregate of the
                          commitments of Lenders for the Exit ABL Credit Facility. The term
                          “Revolving Exit Loans” as used herein includes Exit Swing Line Loans,
                          except as otherwise provided herein.

                          Revolving Exit Loans may be drawn, repaid and reborrowed.

Exit Letters of Credit:   A portion of the Exit ABL Credit Facility will be available for standby letters
                          of credit arranged by Exit Agent and issued by the Exit Issuing Banks (sharing
                          ratably in the Exit Letter of Credit Sublimit commitment) (“Exit Letters of
                          Credit”) in an aggregate amount at any time outstanding not to exceed
                          $40,000,000 (the “Exit Letter of Credit Sublimit”). Exit Letters of Credit will
                          reduce the amount of the Revolving Exit Loans available under the Borrowing
                          Base and the Maximum Credit.

                          Exit Letters of Credit will be issued by the Exit Issuing Banks and each Lender
                          will purchase an irrevocable and unconditional pro rata participation in each
                          Letter of Credit. Letters of credit outstanding under the DIP ABL Credit
                          Agreement on the Closing Date and issued by an Exit ABL Lender shall be
                          rolled into the Exit ABL Credit Facility on the Closing Date.

Exit Swing Line           A portion of the Exit ABL Credit Facility will be available as swing line loans
Loans:                    (“Exit Swing Line Loans”) with a sublimit on Exit Swing Line Loans to
                          Borrowers outstanding at any time of $15,000,000. Exit Swing Line Loans
                          will reduce the amount of the Revolving Exit Loans available under the
                          Borrowing Base and the Maximum Credit.

                          Exit Swing Line Loans will be made available by Exit Swing Line Lender and
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                         each Lender will purchase an irrevocable and unconditional pro rata
                         participation in each Exit Swing Line Loan.

Increase Option:         None.

Borrowing Base:          The Revolving Exit Loans and Exit Letters of Credit shall be provided to
                         Borrowers subject to the terms and conditions of the Exit Loan Documents and
                         availability under the Borrowing Base, which will be calculated as follows:

                         (a) 85% multiplied by the net amount of the eligible accounts of Borrowers,
                             plus

                         (b) the amount equal to 85% of the NOLV Percentage of eligible inventory of
                             Borrowers (net of reserves with respect to inventory not already reflected
                             in the determination of the NOLV Percentage) multiplied by the value of
                             such category of eligible inventory of Borrowers; plus

                         (a) 100% of Qualified Cash (as defined in the Existing Credit Agreement)
                             subject to a cap to be agreed; minus

                         (c) reserves (as described below).

                         The “value” of each category of eligible inventory will be determined in
                         accordance with the DIP ABL Credit Agreement.

                         “NOLV Percentage” means, with respect to inventory of any person, the net
                         orderly liquidation value of inventory, expressed as a percentage of value, net
                         of all reasonable costs and expenses of liquidation thereof, as determined
                         based upon the most recent inventory appraisal conducted in accordance with
                         the Exit Loan Documents (or the DIP ABL Credit Agreement, as the case may
                         be).

                         The term “Permitted Discretion” as used in this Exit Term Sheet with
                         reference to the Exit Agent, shall mean a determination made in good faith in
                         the exercise of their reasonable business judgment based on how an asset-
                         based lender with similar rights providing a credit facility of the type set forth
                         herein would act in similar circumstances at the time with the information then
                         available to it.

Eligibility; Reserves:   Substantially the same as the DIP ABL Credit Agreement (other than
                         bankruptcy related reserves therein which are no longer applicable for an exit
                         facility) subject to additions or modifications made by the Exit Agent in its
                         Permitted Discretion and as appropriate under the circumstances as reasonably
                         determined by the Exit Agent in its Permitted Discretion pursuant to field
                         examinations and other due diligence, provided, that, reserves will be
                         established as may be applicable under the circumstances in connection with
                         the confirmation by the U.S. Bankruptcy Court of the Plan, including (x)
                         reserves in respect of administrative expenses, priority tax claims, and
                         reclamation claims arising in the Cases and any other claims that remain
                         outstanding after the Closing Date and (y) distributions that are not made
                         pursuant to the Plan at closing, in each case to the extent resulting in liens on
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                           the Borrowing Base assets that are senior to or pari passu with the Exit Agent’s
                           liens.

Optional Prepayment        Usual and customary for financings of this type consistent with the
and Commitment             Documentation Principles.
Reductions:
Mandatory                  Usual and customary for financings of this type consistent with the
Prepayments:               Documentation Principles.

Interest and Fees:         See Schedules 1 and 2 to this Exit Term Sheet.

DIP ABL                    The DIP ABL Credit Agreement means that certain senior secured
Facilities/DIP Term        superpriority debtor-in-possession asset-based revolving credit, of up to
Loan Facilities            $80,000,000 provided to Borrowers, each as a debtor and debtor-in-possession
                           upon the commencement of the Cases (the “DIP ABL Credit Agreement”).
                           The lenders, thereunder the “DIP ABL Lenders” and the agent, thereunder the
                           “DIP ABL Agent”.

                           The DIP Term Loan Credit Agreement means that certain secured debtor-in-
                           possession term loan credit facility in an aggregate principal amount of up to
                           $75,000,000, provided to the Company and guaranteed by the Parent and each
                           subsidiary of the Parent party thereto, each as a debtor and debtor-in-
                           possession upon the commencement of the Cases (the “DIP Term Loan Credit
                           Agreement”). The lenders, thereunder the “DIP Term Loan Lenders” and the
                           agent, thereunder the “DIP Term Loan Agent”.

                           “DIP Intercreditor Agreement” means that certain intercreditor agreement, (as
                           amended, restated, supplemented or otherwise modified from time to time),
                           among the Company, the other grantors party thereto, the DIP ABL Agent and
                           the DIP Term Loan Agent.

Pre-Petition Facilities:   “Existing Credit Agreement” means that certain Revolving Credit Agreement,
                           dated as of June 28, 2013, by and among the Company, Holdings and certain
                           subsidiaries of the Company, Wells Fargo Bank, N.A. (as successor
                           administrative and collateral agent to Goldman Sachs Lending Partners, LLC)
                           (the “Existing Credit Agreement Agent”) and the Lenders party thereto.

                           “Pre-Petition Intercreditor Agreement” means that certain Intercreditor
                           Agreement, dated as of June 28, 2013, by and among the Company, Holdings,
                           certain subsidiaries of the Company, the Existing Credit Agreement Agent and
                           the administrative agents under the First Lien Term Loan Agreement and
                           Second Lien Term Loan Agreement (each as defined in the Restructuring
                           Support Agreement).

Collateral:                To secure all obligations of each Loan Party under the Exit ABL Credit
                           Facility, the following (the “Collateral”): (a) first priority, perfected security
                           interest and lien on the collateral of each Loan Party that constitutes Revolving
                           Facility Priority Collateral (to be defined in a manner consistent with the DIP
                           Intercreditor Agreement); (b) second priority (subordinate only to the security
                           interests and liens that secure the Exit Term Loan Facility), perfected security
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                    interest and lien on the collateral of each Loan Party that constitutes the Term
                    Loan Priority Collateral (to be defined in a manner consistent with the DIP
                    Intercreditor Agreement); provided that, the Exit Agent shall have the right in
                    its sole discretion to release its security interest in real property at any time.

                    The obligations secured may include hedging and bank product obligations of
                    the Loan Parties where an Exit ABL Lender or an affiliate of an Exit ABL
                    Lender is a counterparty.

Use of Proceeds:    The proceeds of the Exit ABL Credit Facility will be used to repay (i) the
                    outstanding allowed administrative expenses and allowed claims all in
                    accordance with the Plan, (ii) in full the obligations under the DIP ABL Credit
                    Agreement and (iii) other debt to be specified, or costs, expenses and fees in
                    connection with the Exit ABL Credit Facility in accordance with the Plan and
                    for working capital and general corporate purposes of the Borrowers.

Closing Date:       The date on which all of the conditions precedent to the initial Revolving Exit
                    Loans and Exit Letters of Credit under the Exit ABL Credit Facility are
                    satisfied or waived (the “Closing Date”), but in no event later than four (4)
                    months from closing date of the DIP ABL Credit Agreement, unless the
                    maturity of the DIP ABL Credit Agreement has been extended in accordance
                    with the terms thereof, then in that case, in no event later than six (6) months
                    from closing date of the DIP ABL Credit Agreement.

Term:               The Exit ABL Credit Facility shall be for a term ending on the earlier of (a)
                    four and half (4.5) years from the Closing Date and (b) six months prior to the
                    maturity of the Company’s Exit Term Loan Facility (the “Exit ABL Maturity
                    Date”).

Documentation:      For the Exit ABL Credit Facility, definitive loan documentation (collectively,
                    the “Exit Loan Documents”), including a credit agreement, all supplemental
                    security agreements, pledge agreements, guarantees, control agreements,
                    intercreditor agreements, UCC financing statements, consents, waivers,
                    acknowledgments and other agreements from third persons that Exit Arrangers
                    may reasonably deem necessary or desirable, in each case consistent with this
                    Exit Term Sheet, together with evidence of insurance coverage and a lender’s
                    loss payee endorsement in favor of Exit Agent as to casualty and business
                    interruption insurance and any other agreements and documents related to the
                    foregoing, each of the foregoing in form and substance reasonably satisfactory
                    to the Exit Arrangers and the Company, and any other agreements and
                    documents related to the foregoing, each in form and substance reasonably
                    satisfactory to the Exit Arrangers and the Company; provided that the Exit
                    Loan Documents will be based on the DIP ABL Credit Agreement and related
                    documents, and the Pre-Petition Intercreditor Agreement and will include, but
                    not be limited to, the confirmation by the U.S. Bankruptcy Court of the Plan,
                    the terms and conditions set forth herein, the practices and procedures of the
                    Exit Agent for exit financings, changes in law or accounting standards, EU
                    Bail-in language, the Beneficial Ownership Regulation (as defined below), the
                    operational practices and procedures of the Exit Agent and the results of
                    updated field examinations and other due diligence (collectively, the
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                        “Documentation Principles”).

Representations and     Usual and customary for financings of this type consistent with the
Warranties:             Documentation Principles and to include representations and warranties with
                        respect to the Plan, its consummation and related bankruptcy matters.

Affirmative             Usual and customary for financings of this type consistent with the
Covenants:              Documentation Principles.


Collateral Reporting:   For the Exit ABL Credit Facility, collateral reporting shall be usual and
                        customary for facilities of this nature and consistent with the Documentation
                        Principles, including:

                        (a) monthly borrowing base certificates, so long as a Cash Dominion Event
                            does not exist, otherwise weekly (and in such event the delivery of
                            borrowing base certificates on a weekly basis shall continue for not less
                            than four (4) consecutive weeks);

                        (b) field examinations and appraisals as Exit Agent may from time to time
                            require, but no more than:

                            (i) 1 field examination and 1 appraisal in any fiscal year at the expense of
                                Borrowers, or in the event that Excess Availability is less than the
                                greater of (x) 15.0% of the Line Cap or (y) $16,500,000 for five
                                consecutive business days, no more than 2 field examinations and 2
                                appraisals during any fiscal year at the expense of Borrowers,

                            (ii) such other field examinations and appraisals as Exit Agent may
                                 request at any time upon the occurrence and during the continuance of
                                 an event of default at the expense of Borrowers or otherwise at any
                                 time at the expense of the Exit Agent;

Financial Reporting:    Usual and customary for financings of this type consistent with the
                        Documentation Principles, including monthly and quarterly financial
                        statements and annual audited financial statements and projections, except
                        that, (i) annual audited financial statements shall be delivered within 120 days
                        after the end of each fiscal year (or in the case of the fiscal year ended
                        December 31, 2018, a later date to be agreed), (ii) quarterly financial
                        statements shall be delivered within 45 days after the end of each of the first
                        three fiscal quarters of each fiscal year and (iii) monthly financial statements,
                        are to be delivered within 35 days following the end of each of the first two
                        months of each fiscal quarter.

Cash Management:        For the Exit ABL Credit Facility, Loan Parties shall maintain their existing
                        cash management system in a manner consistent with the terms of the DIP
                        Credit Agreement, including that Exit Agent shall have the right to require the
                        depository bank to transfer funds to Exit Agent for application to the
                        obligations owing to Exit Agent and Lenders upon a Cash Dominion Event as
                        defined below. Loan Parties will continue to direct all customers making
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                      payments on receivables to remit payments to deposit accounts that are the
                      subject of control agreements among the applicable Loan Party, Exit Agent,
                      and the depository bank in form and substance reasonably satisfactory to Exit
                      Agent.

                      For the Exit ABL Credit Facility, “Cash Dominion Event” means, at any time
                      (a) an event of default under the Exit ABL Credit Facility or (b) Excess
                      Availability shall have been less than the greater of (i) 12.5% of the Line Cap
                      and (ii) $13,750,000 for five consecutive days and ending on the date that no
                      event of default under the Exit ABL Credit Facility has existed and Excess
                      Availability shall have been not less than the greater of such amount, in each
                      case, for 30 consecutive calendar days.

                      “Line Cap” means, at any time, the lesser of the Borrowing Base at such time
                      or the Maximum Credit.

                      “Excess Availability” means, an amount equal to (a) the Line Cap, minus (b)
                      the amount of Revolving Exit Loans outstanding at such time.

Negative Covenants:   Usual and customary for financings of this type consistent with the
                      Documentation Principles; provided that the negative covenants on
                      investments, repayments of certain debt, dividends, distributions, redemptions
                      and repurchases of capital stock will expressly allow such investments,
                      repayments of debt, dividends, distributions, redemptions and repurchases,
                      provided, that, as of the date of any such payment or transaction in respect
                      thereof, and after giving effect thereto, each of the Payment Conditions is
                      satisfied.

                      The definition of Payment Conditions is to be agreed.

                      Interest in respect of the Exit Term Loan Facility (for both the “first out” and
                      “last out” tranches thereunder) shall be first required to be made by payment in
                      kind up to the applicable payment in kind interest caps under the Exit Term
                      Loan Agreement, in the event that, at any time such interest is due and
                      payable, on a pro forma basis after giving effect to such interest payment, the
                      average Excess Availability for such day and for the sixty (60) days
                      immediately prior to the PIK election date under the Exit Term Loan Facility,
                      is less than the greater of (i) 20.0% of the Line Cap and (ii) $22,000,000,
                      which shall be certified by the chief financial officer of the Company.

Financial Covenant:   Minimum Fixed Charge Coverage Ratio. During any FCCR Test Period (as
                      defined below) the Borrowers shall maintain a minimum fixed charge
                      coverage ratio (“FCCR”) of 1.00 to 1.00 to be tested quarterly, for the most
                      recently-ended period for which quarterly financial statements have been
                      received and each quarter thereafter for which a FCCR Test Period is in effect.

                      “FCCR Test Period” means a period (a) when an event of default under the
                      Exit ABL Credit Facility has occurred and is continuing or (b) commencing on
                      the day Excess Availability is less than the greater of (i) 12.5% of the Line Cap
                      and (ii) $13,750,000 and continuing until the day, (a) no event of default under
                      the Exit ABL Credit Facility shall have been continuing and (b) where Excess
                      Availability has been greater than the greater of (i) 12.5% of the Line Cap and
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                         (ii) $13,750,000 such amount, in each case, for a period of at least 30
                         consecutive days.

                         The definitions of EBITDA and Consolidated Net Income will be defined in
                         the Exit Loan Documents as set forth on Annex 2 to this Exit Term Sheet.

Events of Default:       Usual and customary for financings of this type consistent with the
                         Documentation Principles; provided, that, the events of default for the Exit
                         ABL Credit Facility will include, but not be limited to, the following: (a) any
                         failure by Borrowers or Guarantors to observe or perform any of the material
                         terms or conditions of any material order, stipulation, or other arrangement
                         entered by or with the Bankruptcy Court in the Cases or otherwise under or in
                         connection with the Plan; (b) any material provision of the Plan or
                         Confirmation Order (as defined below) shall be vacated, reversed or stayed or
                         modified or amended, without the consent of the Exit Arranger; and (c)
                         Change of Control, which shall include, but not be limited to, no person or
                         “group” (within the meaning of Rules 13d-3 and 13d-5 under the Securities
                         Exchange Act of 1934 as in effect on the Closing Date), (x) shall have
                         acquired Capital Stock representing 50.1% or more on a fully diluted basis of
                         the total voting power of all of the outstanding voting stock of Parent or
                         Holdings or (y) shall have the power, directly or indirectly, to appoint board
                         members representing 50.1% or more of the total composition of the board of
                         directors of Parent or Holdings (a “Change of Control Event”); provided, that
                         none of the transactions contemplated or authorized by the Plan shall
                         constitute, or be deemed to constitute, a Change of Control Event (it being
                         understood and agreed for the avoidance of doubt that if any entity (together
                         with its affiliates) acquires Capital Stock described in clause (x) above
                         (including, without limitation, pursuant to a distribution under the Plan) or
                         power described in clause (y) above, such occurrence shall constitute a Change
                         of Control Event even if contemplated or authorized by the Plan).

Conditions Precedent     Usual and customary for financings of this type consistent with the
to all Borrowings:       Documentation Principles.

Conditions Precedent     The conditions precedent to the initial borrowings under the Exit ABL Credit
to Initial Borrowings:   Facility will consist of the Conditions Precedent set forth on Annex 1 to this
                         Exit Term Sheet.

Assignments;             Usual and customary for financings of this type consistent with the
Participations:          Documentation Principles.

Amendments and           Usual and customary for financings of this type consistent with the
Waivers:                 Documentation Principles.

Governing Law:           New York but excluding any principles of conflicts of law or other rule of law
                         that would cause the application of the law of any jurisdiction other than the
                         State of New York.

Expenses, Waivers        Usual and customary for financings of this type consistent with the
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and Indemnity:     Documentation Principles.

USA PATRIOT Act:   Each Lender subject to the USA PATRIOT Act (Title III of Pub.L. 107-56
                   (signed into law October 26, 2001) (the “Act”) and the requirements of 31
                   C.F.R. §1010.230 (the “Beneficial Ownership Regulation”) hereby notifies the
                   Loan Parties that pursuant to the requirements of the Act and the Beneficial
                   Ownership Regulation, it is required to obtain, verify and record information
                   that identifies each person or corporation who opens an account and/or enters
                   into a business relationship with it, which information includes the name and
                   address of the Loan Parties and other information that will allow such Lender
                   to identify such person in accordance with the Act and the Beneficial
                   Ownership Regulation. Loan Parties are hereby advised that any commitment
                   that might at any time be issued is subject to satisfactory results of such
                   verification.
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                                             SCHEDULE 1
                                                  TO
                                           EXIT TERM SHEET


                                       Interest and Certain Fees

Interest Rate Options:   Borrowers may elect that Revolving Exit Loans (other than Exit Swing Line
                         Loans) bear interest at a rate per annum equal to (a) the Base Rate plus the
                         Applicable Margin or (b) the LIBOR Rate plus the Applicable Margin. Exit
                         Swing Line Loans will bear interest at a rate per annum equal to the Base Rate
                         plus the Applicable Margin.

                         As used herein:

                         “Applicable Margin” means a percentage determined in accordance with the
                         pricing grid attached hereto as Schedule 2 to Exhibit A.

                         “Base Rate” shall have the meaning set forth in the DIP ABL Credit
                         Agreement.

                         “LIBOR Rate” shall have the meaning set forth in the DIP ABL Credit
                         Agreement. The LIBOR Rate shall be available for interest periods of one,
                         two, three or six months.

                         Interest rate reference terms will be subject to customary provisions, including
                         applicable reserve requirements, limits on the number of outstanding LIBOR
                         Rate Loans, minimum amounts of each LIBOR Rate Loan and LIBOR
                         “replacement” language.

Unused Line Fee:         Borrowers shall pay to Exit Agent, for the account of Lenders (to the extent
                         and in accordance with the arrangements by and among Lenders), an unused
                         line fee calculated at 0.375% per annum until the last day of the first full month
                         after closing and adjusted thereafter every month to an amount equal to
                         0.375% per annum if the average outstanding Revolving Exit Loans and Exit
                         Letters of Credit during the immediately preceding month are equal to or
                         greater than 50% of the Maximum Credit and 0.50% per annum if the average
                         outstanding Revolving Exit Loans and Exit Letters of Credit during the
                         immediately preceding month are less than 50% of the Maximum Credit,
                         multiplied by the difference between the Maximum Credit and the average
                         outstanding Revolving Exit Loans and Exit Letters of Credit during the
                         immediately preceding month, payable quarterly in arrears. Exit Swing Line
                         Loans will not be considered in the calculation of the Unused Line Fee.

Letter of Credit Fees:   Borrowers shall pay to (a) Exit Agent, for the account of Lenders (to the extent
                         and in accordance with the arrangements by and among Lenders), on the daily
                         outstanding balance of Exit Letters of Credit, a letter of credit fee calculated at
                         a rate per annum based on the then Applicable Margin for LIBOR Rate Loans
                         and (b) to the Exit Issuing Bank, a fronting fee equal to 0.25% per annum, in
                         each case under clauses (a) and (b), payable quarterly in arrears. In addition,
                         Borrowers shall pay customary issuance, arranging and other fees of the Exit
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                      Issuing Bank.

Default Rate:         After a payment event of default and for so long as the same is continuing, the
                      applicable rates of interest and rate for letter of credit fees shall be increased by
                      2.00% per annum above the otherwise then applicable rates.

Rate and Fee Basis;   All per annum rates and fees will be computed on basis of actual days elapsed
Payment Dates:        over a 360 day year (or 365 or 366 days, as the case may be, in the case of
                      Revolving Exit Loans for which the Base Rate is used). In the case of
                      Revolving Exit Loans for which the LIBOR Rate is used, interest is payable on
                      the last day of each relevant interest period or in the case of an interest period
                      longer than 3 months, then within 3 months, in arrears, and in the case of
                      Revolving Exit Loans for which the Base Rate is used, interest is payable
                      quarterly in arrears.
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                                               SCHEDULE 2
                                                    TO
                                             EXIT TERM SHEET



Revolving Exit Loan Applicable Margin

                                                          Applicable LIBOR          Applicable
Tier    Quarterly Average Excess Availability             Margin                    Base Rate Margin


1       Equal to or greater than 66% of the
        Maximum Credit                                    1.75%                     .75%


2       Greater than or equal to 33% of the
        Maximum Credit but less than 66% of the           2.00%                     1.00%
        Maximum Credit


3       Less than 33% of the Maximum Credit               2.25%                     1.25%

The Applicable Margin for the interest rates shall be the applicable percentage calculated based on the
percentage set forth in Tier 2 of the chart above until the last day of the first full quarter after the Closing
Date. The interest rates will be adjusted every quarter thereafter based on the chart above.

The Applicable Margin shall be calculated and established once every quarter, effective as of the first day
of such quarter and shall remain in effect until adjusted thereafter as of the last day of such quarter.

The term “Applicable Margin” as used in the Term Sheet means, at any time (subject to the paragraph
above), (a) as to Revolving Exit Loans for which interest is calculated based on the Base Rate, the
Applicable Base Rate Margin as set forth above, and (b) as to Revolving Exit Loans for which interest is
calculated based on LIBOR, the Applicable LIBOR Margin as set forth above.

The term “Quarterly Average Excess Availability” shall mean, at any time, the daily average of the
aggregate amount of the Excess Availability for the immediately preceding calendar quarter, commencing
on the first day of such calendar quarter.
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                                                ANNEX I
                                                  TO
                                              TERM SHEET

                Conditions Precedent to Initial Borrowings under Exit ABL Credit Facility

The conditions precedent to the initial borrowings under the Exit ABL Credit Facility will consist of the
following:

(a) Exit Agent shall have received a docketed copy of the order confirming the plan of reorganization of
    Borrowers (the “Plan”) in the Cases (the “Confirmation Order”), which order shall be in form and
    substance acceptable to Exit Arranger, entered by the U.S. Bankruptcy Court after due notice to all
    creditors and other parties-in-interest and as entered on the docket of the Clerk of such Bankruptcy
    Court, and there shall be no appeal or other contest or certiorari proceeding taken or pending with
    respect to such order and the time to appeal or contest such order shall have expired and such
    Confirmation Order shall be in full force and effect and neither the Plan nor the Confirmation Order
    shall have been modified, reversed, stayed or vacated. Exit Agent shall have received all information
    as to the amounts of significant administrative expenses, priority tax claims, and reclamation claims
    arising in the Chapter 11 Cases that are to be paid at closing or to the extent to remain outstanding
    after closing are in the amounts set forth in the projections received by Exit Agent prior to the date
    hereof.

(b) The Plan and any amendments and supplements thereto (other than the Plan Supplement (except for
    the Exit ABL Agreement and the New Intercreditor Agreement, the form and substance of which are
    subject to the relevant documentation provisions of this Exit Term Sheet), which shall be governed by
    condition precedent (o) below) shall be in form and substance acceptable to the Exit Arranger. The
    Plan shall be substantially consummated and effective concurrently with the closing of the Exit ABL
    Credit Facility and all agreements and undertakings of the parties thereunder to be performed by such
    time shall have been satisfied and performed or waived in writing, the Confirmation Order shall be
    final, valid, subsisting and continuing and all conditions precedent to the effectiveness of the Plan
    shall have been fulfilled, including, without limitation, the settlement and/or payment of all other debt
    and claims payable under the Plan. No motion, action or proceeding shall be pending against a
    Borrower or Guarantor by any creditor or other party-in-interest in the Bankruptcy Court or any other
    court of competent jurisdiction that adversely affects or may reasonably be expected to adversely
    affect the Plan in any material respect, the post-consummation business of any Borrower or Guarantor
    in any material respect or the Exit ABL Credit Facility.

(c) Receipt by Exit Arranger, each in form and substance reasonably satisfactory to Exit Arranger, of (i)
    audited consolidated balance sheets and related statements of income and cash flows of the Company
    and its subsidiaries for the fiscal years ended December 31, 2017 and December 31, 2016, (ii)
    unaudited consolidated balance sheets and related statements of income and cash flows of the
    Company and its subsidiaries for the fiscal year ended December 31, 2018, if the Closing Date shall
    not have occurred prior to 90 days after December 31, 2018, (iii) unaudited consolidated balance
    sheets and related statements of income, stockholders’ equity and cash flows of the Company and its
    subsidiaries for each subsequent fiscal quarter (other than fiscal year end) ended at least 45 days
    before the Closing Date, (iv) copies of satisfactory interim unaudited financial statements for each
    month ended since the last audited financial statements for which financial statements are available
    and will include each month ended at least 45 days before the Closing Date, (v) projected monthly
    balance sheets, income statements, statements of cash flows and availability of Borrowers and
    Guarantors for the period beginning on the Closing Date through the first anniversary of the Closing
    Date, in each case as to the projections, with the results and assumptions set forth in all of such
    projections in form and substance reasonably satisfactory to Exit Arranger, and an opening pro forma
    balance sheet for the Loan Parties in form and substance acceptable to Exit Arranger, (vi) projected
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    quarterly balance sheets, income statements, statements of cash flows and availability of Borrowers
    and Guarantors for the period beginning on the first anniversary of the Closing Date through the third
    anniversary of the Closing Date, in each case as to the projections, with the results and assumptions
    set forth in all of such projections in form and substance reasonably satisfactory to Exit Arranger,
    (vii) projected annual balance sheets, income statements, statements of cash flows and availability of
    Borrowers and Guarantors for the period beginning on the third anniversary of the Closing Date
    through the Exit ABL Maturity Date, in each case as to the projections, with the results and
    assumptions set forth in all of such projections in form and substance reasonably satisfactory to Exit
    Arranger and (viii) any updates or modifications to the projected financial statements of Borrowers
    and Guarantors previously received by Exit Arranger, in each case in form and substance satisfactory
    to Exit Arranger.

(d) Exit Agent shall have received a certificate from the chief financial officer of the Company certifying
    that the Loan Parties, taken as a whole and after giving effect to the transactions contemplated by the
    Exit Loan Documents to occur at closing, are solvent.

(e) Execution and delivery of all Exit Loan Documents for the Exit ABL Credit Facility by the parties
    thereto that are required to be executed on the Closing Date, which shall include: (i) customary legal
    opinions, (ii) customary evidence of authority from each Loan Party, (iii) customary officer’s
    certificates from each Loan Party, (iv) good standing certificates in the respective jurisdictions of
    organization of each Loan Party, (v) lien searches with respect to each Loan Party, (vi) UCC
    financing statements for each Loan Party and (vii) security and pledge agreements consistent with this
    Exit Term Sheet. Exit Agent, for the benefit of itself, the Exit ABL Lenders, Exit Issuing Banks and
    bank product providers, shall hold perfected security interests in and liens upon the Revolving
    Facility Priority Collateral and the Term Loan Priority Collateral with the priorities set forth in the
    Exit Term Sheet to which this Annex is attached; provided that it is understood and agreed that there
    shall be no requirement to perfect any security interest in any Collateral as a condition to closing
    hereunder other than the filing of UCC financing statements and the delivery of certificated equity
    securities as and to the extent required under the Exit Loan Documents.

(f) The Exit Term Loan Facility shall be consistent in all respects with the Exit Term Loan Term Sheet
    and shall have been consummated and the proceeds thereof shall have been or, substantially
    concurrently with the initial borrowing under the Exit ABL Credit Facility, received by the Loan
    Parties. Exit Arranger shall have received a fully executed copy of the intercreditor agreement
    between the Exit Agent and the agent under the Exit Term Facility substantially in the form of the
    Pre-Petition Intercreditor Agreement with such changes reasonably satisfactory to the Exit ABL
    Arranger.

(g) Minimum opening Excess Availability on the Closing Date after the application of proceeds of the
    initial Revolving Exit Loans, if any, on such date and after provision for payment of all fees and
    expenses of the transaction paid or payable on or about the Closing Date, of not less than
    $30,000,000.

(h) Minimum Liquidity on the Closing Date after the application of proceeds of the initial Revolving Exit
    Loans, if any, on such date and after provision for payment of all fees and expenses of the transaction
    paid or payable on or about the Closing Date, of not less than $35,000,000. “Liquidity” means, the
    sum of (i) unrestricted Cash and Cash Equivalents held by the Loan Parties, plus (ii) Excess
    Availability.

(i) Maximum funded indebtedness on the Closing Date under the Exit ABL Credit Facility and the Exit
    Term Facility shall not be in excess of $175,000,000.

(j) The Exit Agent shall have received all documentation and information at least three business days
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    prior to the Closing Date as is reasonably requested in writing by the Exit Agent about the Company
    and its subsidiaries required by regulatory authorities under applicable “know your customer” and
    anti-money laundering rules and regulations, including without limitation the Patriot Act and a
    beneficial ownership certificate for any Borrower or Guarantor that qualifies as a “legal entity
    customer” under the Beneficial Ownership Regulation, in each case to the extent requested in writing
    at least ten business days prior to the Closing Date.

(k) No material adverse change in the business, operations, profits, assets or prospects of Borrowers and
    Guarantors shall have occurred since September 30, 2018 (it being understood that the
    commencement of the Cases, any defaults under agreements that have no effect under the terms of the
    Bankruptcy Code as a result of the commencement thereof, reduction in payment terms by suppliers,
    and reclamation claims shall not be deemed a material adverse change). No defaults or events of
    default (including without limitation a default or Event of Default arising in connection with a
    Change of Control Event) on the Closing Date under any of the Exit Loan Documents shall exist.
    There shall be no material misstatements in or omissions from the written materials previously
    furnished to Exit Agent by Borrowers and Guarantors, after giving effect to any supplements
    thereafter.

(l) The representations and warranties set forth in the Exit Loan Documents shall be true and correct in
    all material respects on the Closing Date; provided that to the extent such representation and warranty
    refers to an earlier date, it shall be true and correct in all material respects as of such earlier date;
    provided, further, any representation and warranty that is qualified by materiality or similar language
    shall be true and correct in all respects on such respective dates.

(m) All reasonable and documented out-of-pocket fees and expenses (including reasonable fees and
    expenses of outside counsel, financial advisors, appraisals and field examinations) required to be paid
    to the Exit Agent and the Exit ABL Lenders on or before the Closing Date shall have been paid to the
    extent invoiced not less than two (2) business days prior to the Closing Date.

(n) Prior to or substantially simultaneously with the initial extension of credit under the Exit ABL Credit
    Facility, with respect to any obligations under the DIP ABL Credit Agreement (i) the indefeasible
    payment in full in Cash of such obligations, (ii) to the extent not otherwise rolled into and deemed
    issued under the Exit ABL Credit Facility or backstopped in a manner reasonably satisfactory to the
    issuer of such letter of credit, the termination, cash collateralization or replacement in accordance
    with the DIP ABL Credit Agreement of all undrawn letters of credit outstanding thereunder, and (iii)
    the termination of all commitments under the DIP ABL Credit Agreement, at least partially with the
    full proceeds of the Exit ABL Credit Facility, pursuant to a payoff letter acceptable to the Exit Agent;
    provided further that any surviving obligations expressly set forth in the DIP ABL Credit Agreement,
    including, without limitation, any indemnification obligations of any Loan Party, shall continue after
    the DIP ABL Credit Agreement has been indefeasibly repaid in full in cash.

(o) Any of the documents executed in connection with the implementation of the Plan, to the extent they
    contain provisions differing in any material respect from, or not described in, the Plan, that are
    adverse in any material respect to the rights or interest of any or all of the Exit Arranger, the Exit
    Agent and the Lenders, in their capacities as such, shall be in form and substance satisfactory to the
    Arranger.

(p) Prior to or substantially simultaneously with the initial extension of credit under the Exit ABL Credit
    Facility, the remaining proceeds of the DIP Term Loan Agreement, not to exceed $12,500,000, that
    were funded into a restricted and/or blocked account for the benefit of the DIP Term Loan Lenders
    shall have been released from such account.
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                                               ANNEX 2
                                                 TO
                                             TERM SHEET

“Consolidated Adjusted EBITDA” means, as to any Person for any period, an amount determined for
such Person on a consolidated basis equal to the total of (a) Consolidated Net Income for such period plus
(b) the sum, without duplication, of (to the extent deducted in calculating Consolidated Net Income) the
amounts of:

(i)       consolidated interest expense (including (A) fees and expenses paid to the Administrative Agent
in connection with its services hereunder and to the administrative agent under any First Lien Facility,
any Second Lien Facility, (B) other bank, administrative agency (or trustee) and financing fees, (C) costs
of surety bonds in connection with financing activities, (D) commissions, discounts and other fees and
charges owed with respect to letters of credit, bank guarantees, bankers’ acceptance or any similar
facilities or financing and hedging agreements and (E) amortization of debt discounts or premiums);

(ii)     Taxes paid (including pursuant to any Tax sharing arrangements) and provisions for Taxes of the
Borrower Agent and its Subsidiaries, including, in each case federal, state, provincial, local, foreign,
unitary, franchise, excise, property, withholding and similar Taxes, including any penalties and interest,
plus, without duplication, Tax Distributions paid or accrued during such period;

(iii)   total depreciation and amortization expense;

(iv)    other non-Cash charges or losses, including the excess of GAAP rent expense over actual Cash
rent paid during such period due to the use of a straight line rent for GAAP purposes; provided that if any
such non-Cash charge, loss or expense represents an accrual or reserve for potential Cash items in any
future period, (A) the Borrower Agent may determine not to add back such non-Cash charge, loss or
expense in the current period and (B) to the extent the Borrower Agent does decide to add back such non-
Cash charge, loss or expense, the Cash payment in respect thereof in such future period shall be
subtracted from Consolidated Adjusted EBITDA in the period in which such payment is made;

(v)      transaction fees, costs and expenses incurred in connection with the consummation of any
transaction (or any transaction proposed and not consummated) permitted under this Agreement,
including the issuance or offering of Capital Stock, Investments, acquisitions, Dispositions,
recapitalizations or the incurrence, repayment, refinancing, amendment or modification of Indebtedness
(including any amortization or write-off of debt issuance or deferred financing costs, premiums and
prepayment penalties);

(vi)    the amount of any costs, charges, accruals, reserves or expenses in connection with (A) the
consolidation or closing of facilities, branches or distribution centers or plants during such period and (B)
the closure, consolidation or transfer of production lines;

(vii) the amount of any costs and expenses of the type set forth in the Initial Budget (as defined in the
DIP ABL Credit Agreement) for “Professional Fees” incurred in connection with the Cases;


(viii) proceeds of business interruption insurance in an amount representing the earnings for the
applicable period that such proceeds are intended to replace (whether or not received so long as such
Person in good faith expects to receive the same within the next four Fiscal Quarters (it being understood
that to the extent not actually received within such Fiscal Quarters, such proceeds shall be deducted in
calculating Consolidated Adjusted EBITDA for such Fiscal Quarters));
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(ix)     unrealized net losses in the fair market value of any arrangements under Hedge Agreements and
losses, charges and expenses attributable to the early extinguishment or conversion of Indebtedness,
arrangements under Hedge Agreements or other derivative instruments (including deferred financing
expenses written off and premiums paid); and

(x)     SAP implementation costs, cost savings, and restructuring expenses in an amount to be agreed.

   minus (c) to the extent such amounts increase Consolidated Net Income:

(i)     other non-Cash items, including deductions for the excess of actual Cash rent paid over GAAP
rent expense during such period due to the use of a straight line rent for GAAP purposes; provided that if
any non-Cash gain or income relates to potential Cash items in any future periods, such Person may
determine not to deduct such non-Cash gain or income in the current period;

(ii)    unrealized net gains in the fair market value of any arrangements under Hedge Agreements;

(iii)    the amount added back to Consolidated Adjusted EBITDA pursuant to clause (b)(viii) above to
the extent such business interruption proceeds were not received within the time period required by such
clause; and

(iv)   Tax credits for federal, state, provincial, local, foreign, unitary, franchise, excise, property,
withholding and similar Taxes.
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“Consolidated Net Income” means, as to any Person (the “Subject Person”) for any period, the net
income (or loss) of the Subject Person on a consolidated basis for such period taken as a single accounting
period determined in conformity with GAAP; provided that there shall be excluded, without duplication,

                 (a)     the income (or loss) of any Person (other than a Subsidiary of the Subject Person)
        in which any other Person (other than the Subject Person or any of its Subsidiaries) has a joint
        interest, except, with respect to any income, to the extent of the amount of dividends or
        distributions or other payments (including any ordinary course dividend, distribution or other
        payment) paid in Cash (or to the extent converted into Cash) to the Subject Person or any of its
        Subsidiaries by such Person during such period,

                 (b)     gains, income, losses, expenses or charges (less all fees and expenses chargeable
        thereto) attributable to asset Dispositions (including asset retirement costs) or returned surplus
        assets of any Pension Plan outside of the ordinary course of business,

                (c)      gains, income, losses, expenses or charges from (i) extraordinary items and (ii)
        nonrecurring or unusual items (including (x) costs of and payments of actual or prospective legal
        settlements, fines, judgments or orders and (y) gains, income, losses, expenses or charges arising
        from insurance claims and settlements),

                (d)      any unrealized or realized net foreign currency translation or transaction gains or
        losses impacting net income (including currency re-measurements of Indebtedness and any net
        gains or losses resulting from Hedge Agreements for currency exchange risk associated with the
        above or any other currency related risk and those resulting from intercompany Indebtedness),

                (e)     any (i) write-off or amortization made in such period of deferred financing costs
        and premiums paid or other expenses incurred directly in connection with any early
        extinguishment of Indebtedness, (ii) good will or other asset impairment charges, write-offs or
        write-downs or (iii) amortization of intangible assets, and

effects of adjustments (including the effects of such adjustments pushed down to the Subject Person and
its Subsidiaries) in the Subject Person’s consolidated financial statements pursuant to GAAP (including in
the inventory, property and equipment, software, goodwill, intangible assets, in-process research and
development, deferred revenue, leases and debt line items thereof) resulting from the application of
recapitalization accounting or acquisition or purchase accounting, as the case may be, in relation to any
consummated acquisition or the amortization or write-off of any amounts thereof and (ii) the cumulative
effect of changes in accounting principles.
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                                       EXHIBIT G

                               EXIT TERM LOAN TERM SHEET




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                                   CTI FOODS HOLDING CO., LLC
                                      EXIT TERM FACILITIES

This term sheet (this “Exit Term Facilities Term Sheet”) sets forth the principal terms of a first lien first
out exit term facility and a first lien second out exit term facility to be provided to CTI Foods Holding
Co., LLC, as borrower. Capitalized terms used herein but not defined have the meaning ascribed to such
terms in the Restructuring Support Agreement (the “Restructuring Support Agreement”) to which this
Exit Term Facilities Term Sheet is attached.

PARTIES

Borrower:                             CTI Foods Holding Co., LLC, a Delaware limited liability
                                      company, as a reorganized debtor (the “Borrower”).

Guarantors:                           Chef Holdings, Inc., a Delaware corporation (“Parent”), and all
                                      restricted subsidiaries of Parent (other than the Borrower), subject
                                      to certain exceptions to be agreed (the “Guarantors” and, together
                                      with the Borrower, the “Loan Parties”).

Exit Term Agent and Collateral        Cortland Capital Markets Services LLC, as administrative agent
Agent:                                and collateral agent (in such capacities, the “Exit Term Agent”).

Exit Term Lenders:                    With respect to the First Out Term Facility, initially the lenders
                                      under the Borrower’s senior secured super-priority debtor-in-
                                      possession term loan agreement (the “DIP Term Loan
                                      Agreement” and the loans thereunder, the “DIP Term Loans”)
                                      (together with their permitted assignees, the “First Out Term
                                      Lenders”).

                                      With respect to the Second Out Term Facility (as defined below),
                                      initially the lenders under that certain First Lien Term Loan
                                      Agreement, dated as of June 28, 2013, among CTI Foods
                                      Acquisition LLC (“Holdings”), the Borrower, the guarantors
                                      named therein, the financial institutions named therein and
                                      Cortland Capital Markets Services LLC, as successor
                                      administrative agent and collateral agent, as amended,
                                      supplemented or otherwise modified prior to the date of the
                                      Restructuring Support Agreement (the “Prepetition First Lien
                                      Term Loan Agreement”) (together with their permitted assignees,
                                      the “Second Out Term Lenders”).

                                      The First Out Term Lenders and the Second Out Term Lenders are
                                      collectively referred to herein as the “Exit Term Lenders”.

TYPE AND AMOUNT OF EXIT TERM FACILITIES

First Out Term Facility:              A 5-year first lien first out term loan facility (the “First Out Term
                                      Facility”) in an aggregate initial principal amount equal to the
                                      principal amount of the term loans outstanding under the DIP Term
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                              Loan Agreement as of the Closing Date, which amount shall not
                              exceed $75 million in any event (the loans thereunder, the “First
                              Out Term Loans”).

Second Out Term Facility:     A 5-year first lien second out term loan facility (the “Second Out
                              Term Facility” and, together with the First Out Term Facility, the
                              “Exit Term Facilities”) in an aggregate initial principal amount of
                              up to $50 million, which will be increased on a dollar-for-dollar
                              basis for any DIP Term Loans that are repaid or prepaid in
                              accordance with the DIP Term Loan Agreement prior to the
                              Closing Date, subject to an aggregate cap of $125 million after
                              giving effect to such increase, it being understood and agreed that
                              the total funded indebtedness of the Borrower and its restricted
                              subsidiaries on the Closing Date under the Exit ABL Facility (as
                              defined below) and the Exit Term Facilities shall not exceed $175
                              million (the loans thereunder, the “Second Out Term Loans” and,
                              together with the First Out Term Loans, the “Exit Term Loans”).

Amortization:                 First Out Term Facility: Annual amortization (payable in equal
                              quarterly installments beginning at the end of the first full quarter
                              after the Closing Date) of the First Out Term Facility shall be
                              required in an aggregate annual amount equal to 1.0% of the
                              original principal amount of the First Out Term Facility. The
                              remaining aggregate principal amount of the First Out Term Loans
                              shall be payable in full on the First Out Maturity Date (as defined
                              below).

                              Second Out Term Facility: Annual amortization (payable in equal
                              quarterly installments beginning at the end of the first full quarter
                              after the Closing Date) of the Second Out Term Facility shall be
                              required in an aggregate annual amount equal to 1.0% of the
                              original principal amount of the Second Out Term Facility. The
                              remaining aggregate principal amount of the Second Out Term
                              Loans shall be payable in full on the Second Out Maturity Date (as
                              defined below).

Incremental Facilities:       None.

Ranking:                      The First Out Term Facility will be secured on a pari passu basis
                              with the Second Out Term Facility but will rank ahead of the
                              Second Out Term Facility on a “first-out” basis in the payment
                              waterfall. The Exit Term Facilities will be secured on a first-
                              priority basis with respect to the Term Loan Priority Collateral (as
                              defined below) and secured on a second-priority basis with respect
                              to the ABL Priority Collateral (as defined below), in each case, in
                              accordance with the terms of the ABL Intercreditor Agreement.

Maturity:                     The First Out Term Facility will mature on the date that is 5 years
                              following the Closing Date (the “First Out Maturity Date”).

                              The Second Out Term Facility will mature on the date that is 5



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                              years following the Closing Date (the “Second Out Maturity
                              Date”).

Use of Proceeds:              The proceeds of the First Out Term Loans will be used (or deemed
                              to be used) to refinance in full or in part the DIP Term Loans.

                              The proceeds of the Second Out Term Loans will be used (or be
                              deemed to be used) to refinance a portion of the loans outstanding
                              under the Prepetition First Lien Term Loan Agreement.

                              Once repaid, Exit Term Loans may not be reborrowed.

CERTAIN PAYMENT PROVISIONS

Interest Rates Provisions:    The Borrower may elect that the First Out Term Loans comprising
                              each borrowing bear interest at a rate per annum equal to (a) ABR
                              (which shall not be less than 2.00% per annum) plus the First Out
                              Applicable Margin (as defined below) or (b) the Eurodollar Rate,
                              which shall not be less than 1.00% per annum, plus the First Out
                              Applicable Margin.

                              “First Out Applicable Margin” means (a) 6.00% in the case of
                              ABR Loans and (b) 7.00% in the case of Eurodollar Loans.

                              Interest on the First Out Term Loans shall be payable in cash ;
                              provided, that, from the Closing Date until the second anniversary
                              of the Closing Date, the Borrower may elect, upon written notice to
                              the Exit Term Agent delivered to the Exit Term Agent at least five
                              (5) Business Days prior to the interest payment date, to pay up to
                              300 basis points of the First Out Applicable Margin with respect to
                              such accrued interest “in kind” (by adding such amount to the
                              outstanding principal amount of the First Out Term Loans).

                              The Borrower may elect that the Second Out Term Loans
                              comprising each borrowing bear interest at a rate per annum equal
                              to (a) ABR (which shall not be less than 2.00% per annum) plus
                              the Second Out Applicable Margin (as defined below) or (b) the
                              Eurodollar Rate, which shall not be less than 1.00% per annum,
                              plus the Second Out Applicable Margin.

                              “Second Out Applicable Margin” means (a) 8.00% in the case of
                              ABR Loans and (b) 9.00% in the case of Eurodollar Loans.

                              Interest on the Second Out Term Loans shall be payable in cash;
                              provided, that, from the Closing Date until the second anniversary
                              of the Closing Date, the Borrower may elect, upon written notice to
                              the Exit Term Agent delivered to the Exit Term Agent at least five
                              (5) Business Days prior to the interest payment date, to pay up to
                              600 basis points of the Second Out Applicable Margin with respect
                              to such accrued interest “in kind” (by adding such amount to the




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                              outstanding principal amount of the Second Out Term Loans).

Default Interest:             After an event of default and for so long as the same is continuing,
                              the applicable rates of interest shall be increased by 2.00% per
                              annum above the otherwise then applicable rates.

Exit Term Agent Fees:         To be set forth in a separate fee letter agreement between the Exit
                              Term Agent and the Borrower.

Optional Prepayments:         The Borrower may prepay the Exit Term Loans, in whole or in
                              part, in minimum amounts to be agreed, subject to the following:
                              (i) notice requirements to be agreed; (ii) reimbursement of the Exit
                              Term Lenders’ redeployment costs in the case of a prepayment of
                              Eurodollar Loans prior to the last day of the relevant interest period
                              and (iii) in the case of any such prepayment made on or prior to the
                              six month anniversary of the Closing Date, a prepayment premium
                              equal to 1.00% of the principal amount prepaid; provided that such
                              optional prepayment of the Second Out Term Loans may only
                              occur at any time following (but not before) the prepayment in full
                              of all outstanding principal and accrued and unpaid interest and
                              other obligations under the First Out Term Facility.

Mandatory Prepayments:        The following amounts shall be applied to prepay the Exit Term
                              Loans, in each case consistent with the Documentation Principles
                              (as defined below):

                              (a)      100% of the net cash proceeds of any incurrence of debt by
                              the Borrower and its restricted subsidiaries (other than debt
                              otherwise permitted under the Exit Term Facilities Documentation
                              (other than certain permitted refinancing debt));

                              (b)      100% of the net cash proceeds (above a threshold to be
                              agreed per fiscal year) of any non-ordinary course sale or other
                              disposition of assets (including as a result of casualty or
                              condemnation) by the Borrower or any of its restricted subsidiaries,
                              except for (i) sales or other dispositions of inventory, (ii) sales or
                              other dispositions of obsolete or worn-out property, (iii) sales or
                              other dispositions of property no longer useful in such person’s
                              business, (iv) sales in connection with securitization transactions,
                              (v) other customary exceptions to be agreed upon (subject to
                              reinvestment of such proceeds in assets useful in the operations of
                              the Borrower or its restricted subsidiaries within 12 months
                              following receipt (or if the Borrower or its restricted subsidiaries
                              have committed to reinvest such proceeds within such 12 month
                              period, reinvestment within 6 months following such 12 month
                              period) and (vi) dispositions of ABL Priority Collateral, to the
                              extent the net cash proceeds thereof are required to be applied to
                              repay revolving loans under the Exit ABL Facility in order to be in
                              compliance with the borrowing base thereunder); and




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                              (c)     100% of certain extraordinary receipts.

                              Mandatory prepayments shall be applied first to prepay outstanding
                              First Out Term Loans in full and second to prepay outstanding
                              Second Out Term Loans.

                              Any Exit Term Lender may elect not to accept any mandatory
                              prepayment, but in the case of clause (a) above, solely to the extent
                              not representing a refinancing of the Exit Term Loans. Any
                              prepayment amount declined by a First Out Term Lender shall be
                              re-offered to non-declining First Out Term Lenders and to the
                              extent such non-declining First Out Term Lenders elect not to
                              accept their pro rata share of such re-offered prepayment amount,
                              such remaining amount shall be offered to the Second Out Term
                              Lenders. Any prepayment amount declined by a Second Out Term
                              Lender shall be re-offered to non-declining Second Out Term
                              Lenders and to the extent such non-declining Second Out Term
                              Lenders elect not to accept their pro rata share of such re-offered
                              prepayment amount, such amounts may be retained by the
                              Borrower.

Collateral:                   The obligations with respect to the Exit Term Facilities and the
                              obligations of each other Loan Party under the guaranty in respect
                              of the Exit Term Facilities (the “Obligations”) shall be secured by
                              a perfected, first-priority security interest (subject to permitted
                              liens and exceptions to be set forth in the Exit Term Facilities
                              Documentation (the “Excluded Assets”)) in all now owned or
                              hereafter acquired Term Loan Priority Collateral, and a perfected,
                              second-priority security interest in the ABL Priority Collateral
                              (junior to the liens on the ABL Priority Collateral securing the exit
                              ABL facility of the Borrower and certain of its subsidiaries (the
                              “Exit ABL Facility”) to be entered into substantially concurrently
                              with the Exit Term Facilities).

                              “Term Loan Priority Collateral” shall mean substantially all
                              assets of the Loan Parties that are not ABL Priority Collateral
                              (including, without limitation, (x) a pledge of the capital stock of
                              the Borrower owned by Holdings and a pledge of the capital stock
                              of each Loan Party’s direct subsidiaries and (y) mortgages on
                              owned real property); provided that Term Loan Priority Collateral
                              shall not include any Excluded Assets.

                              “ABL Priority Collateral” shall mean each Loan Party’s now
                              owned or hereafter acquired accounts receivable, inventory, deposit
                              accounts, other bank or securities accounts and any cash or other
                              assets in such accounts (other than designated accounts containing
                              cash or other assets consisting solely of the proceeds of the sale of
                              Term Loan Priority Collateral or accounts containing cash
                              constituting permitted liens or trust funds) and general intangibles,
                              chattel paper, documents, supporting obligations, certain other
                              assets and books and records related to the foregoing and, in each



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                             case, proceeds thereof; provided that ABL Priority Collateral shall
                             not include any Excluded Assets.

                             “Collateral” shall mean, collectively, Term Loan Priority
                             Collateral and ABL Priority Collateral.

Intercreditor Agreement:     The lien priority, relative rights and other creditors’ rights in
                             respect of the Exit Term Facilities and the Exit ABL Facility shall
                             be set forth in an intercreditor agreement (the “ABL Intercreditor
                             Agreement”) in form and substance consistent with the
                             Documentation Principles and to be otherwise satisfactory to the
                             Exit Term Agent, the Required Lenders, the agent under the Exit
                             ABL Facility and the Borrower.

CONDITIONS

Conditions to Closing:       The closing of the Exit Term Facilities will be subject to
                             satisfaction of the following: (a) all of the representations and
                             warranties in the Exit Term Loan Documents shall be true and
                             correct in all material respects (or if qualified by materiality or
                             material adverse effect, in all respects) as of the date of such
                             extension of credit, or if such representation speaks as of an earlier
                             date, as of such earlier date; (b) no default or event of default under
                             the Exit Term Facilities shall have occurred and be continuing or
                             would result from such extension of credit; (c) delivery of a
                             customary borrowing notice and (d) the occurrence of those
                             conditions listed on Annex I hereto. “Closing Date” shall mean the
                             date on which all conditions listed in this paragraph and in Annex I
                             shall have been satisfied and the Exit Term Facilities shall have
                             been funded (or be deemed to have been funded) in full.


DOCUMENTATION

Exit Term Facilities         The Exit Term Facilities will be evidenced by a credit agreement
Documentation:               (the “Exit Term Loan Agreement”) which shall be in form and
                             substance based on the Prepetition First Lien Term Loan
                             Agreement (with such modifications as are necessary to reflect the
                             terms set forth in this Exit Term Facilities Term Sheet and the
                             nature of the Exit Term Facilities and to reflect (i) administrative
                             agency and operational matters of the Exit Term Agent, (ii) EU
                             bail-in provisions, (iii) LIBOR replacement provisions, (iv)
                             Delaware limited liability company division provisions and (v)
                             other modifications (including with respect to negative covenants
                             and events of default) as may be reasonably agreed among the Exit
                             Term Agent, the Exit Term Lenders and the Borrower, the
                             “Documentation Principles”), security documents and other legal
                             documentation (collectively, together with the Exit Term Loan
                             Agreement, the “Exit Term Loan Documents”), which Exit Term
                             Loan Documents shall be in form and substance consistent with the
                             Documentation Principles and otherwise satisfactory to the Exit



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                                  Term Agent, the Exit Term Lenders and the Loan Parties.

Representations and Warranties:   Usual and customary for facilities of this type consistent with the
                                  Documentation Principles.

Affirmative Covenants:            Usual and customary for facilities of this type consistent with the
                                  Documentation Principles; provided that annual audited financial
                                  statements for the fiscal year ended December 31, 2018 shall be
                                  delivered within a time period to be agreed.

                                  The Borrower shall use commercially reasonable efforts to obtain
                                  no later than a date to be agreed and thereafter maintain a private
                                  rating (but no specific rating) of the Exit Term Facilities, as a
                                  whole, and each of the First Out Term Facility and the Second Out
                                  Term Facility, individually, from a nationally recognized rating
                                  agency to be agreed.

Financial Covenant:               None.


Negative Covenants:               Usual and customary for facilities of this type consistent with the
                                  Documentation Principles, with levels, amounts and baskets
                                  acceptable to the Required First Out Lenders, including without
                                  limitation, limitations on (i) indebtedness, (ii) liens, (iii) negative
                                  pledges, (iv) restricted payments and certain payments of
                                  indebtedness, (v) subsidiary distributions, (vi) investments, (vii)
                                  fundamental changes and disposition of assets, (viii) sales and
                                  lease-backs, (ix) transactions with affiliates, (x) conduct of
                                  business, (xi) amendments or waivers of organizational documents,
                                  (xii) amendments of or waivers with respect to restricted debt,
                                  (xiii) fiscal year and (xiv) holding company activities.

Events of Default:                Usual and customary for facilities of this type consistent with
                                  Documentation Principles; provided that until all of the obligations
                                  owing to the First Out Term Lenders have been repaid in full, any
                                  payment event of default resulting from a failure to pay any
                                  amounts owing to the First Out Term Lenders shall not constitute
                                  an event of default with respect to the Second Out Term Lenders
                                  unless and until the Required First Out Lenders shall have declared
                                  all amounts outstanding under the First Out Term Facility and such
                                  declaration has not been rescinded by the Required First Out
                                  Lenders on or before such date (this proviso, the “Specified First
                                  Out Default”).

Voting/Required Lenders:          Usual and customary for facilities of this type consistent with
                                  Documentation Principles; provided that (i) matters relating solely
                                  to the First Out Term Facility (including the Specified First Out
                                  Default) shall be restricted to the approval, consent or vote of the
                                  First Out Term Lenders holding more than 50% of the outstanding
                                  First Out Term Loans (the “Required First Out Lenders”) and
                                  (ii) matters relating solely to the Second Out Term Facility shall be



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                                  restricted to approval, consent or vote of the Second Out Term
                                  Lenders holding more than 50% of the outstanding Second Out
                                  Term Loans. Exit Term Lenders holding more than 50% of the
                                  outstanding principal amount of the Exit Term Loans are referred
                                  to herein as the “Required Lenders”.

Assignments and Participations:   Usual and customary for facilities of this type consistent with
                                  Documentation Principles.

Other Provisions:                 The Exit Term Loan Documents shall include customary
                                  provisions regarding increased costs, illegality, tax indemnities,
                                  waiver of trial by jury and other similar provisions.

Expenses and Indemnification:     Usual and customary for facilities of this type consistent with
                                  Documentation Principles.

Governing Law and Forum:          State of New York.

Counsel to the Exit Term Agent:   Davis Polk & Wardwell LLP.




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                                                                                                      Annex I


                             ADDITIONAL CONDITIONS TO CLOSING

The borrowing (or deemed borrowing) under the Exit Term Facilities shall be subject only to the
following additional conditions precedent:

     1. A final non-appealable order of the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) confirming the plan of reorganization in form and substance satisfactory to
the Exit Term Agent and the Required Lenders, which shall not have been reversed, vacated, amended,
supplemented or otherwise modified in any manner that could reasonably be expected to adversely affect
the interest of the Exit Term Lenders and authorizing the Borrower to execute, deliver and perform under
all documents contemplated under the Exit Term Loan Documents shall have been entered and shall have
become a final order of the Bankruptcy Court.

     2. The execution and delivery by each of the Loan Parties of (i) the Exit Term Loan Documents
(including the ABL Intercreditor Agreement (which may be in the form of an acknowledgement by the
Loan Parties) (it being understood and agreed that this condition shall be satisfied in the case of the Exit
Term Loan Agreement if executed by the Borrower and the Exit Term Agent)), (ii) customary legal
opinions, customary evidence of authorization, customary officer’s certificates, good standing certificates
(to the extent applicable) in the jurisdiction of organization of each Loan Party, (iii) a solvency certificate
executed by the chief financial officer or other officer of equivalent duties and (iv) all documents and
instruments required to create and perfect the Exit Term Agent’s security interests in the Collateral under
the Exit Term Facilities which shall be, if applicable, in proper form for filing (it being understood and
agreed that mortgages or amended mortgages may be provided within a number of days to be agreed after
the Closing Date).

     3. The Exit Term Agent shall have received (i) audited consolidated balance sheets and related
statements of income and cash flows of the Borrower and its subsidiaries for the fiscal years ended
December 31, 2017 and December 31, 2016, (ii) unaudited consolidated balance sheets and related
statements of income, stockholders’ equity and cash flows of the Borrower and its subsidiaries for the
fiscal year ended December 31, 21018, if the Closing Date shall not have occurred prior to 90 days after
December 31, 2018, (iii) unaudited consolidated balance sheets and related statements of income,
stockholders’ equity and cash flows of the Borrower and its subsidiaries for each subsequent fiscal quarter
(other than fiscal year end) ended at least 45 days before the Closing Date, (iv) copies of satisfactory
interim unaudited financial statements for each month ended since the last audited financial statements for
which financial statements are available and will include each month ended at least 45 days before the
Closing Date, (v) projected monthly balance sheets, income statements, statements of cash flows of the
Borrower and the Guarantors for the period beginning on the Closing Date through the first anniversary of
the Closing Date, in each case as to the projections, with the results and assumptions set forth in all of
such projections in form and substance reasonably satisfactory to the Required Lenders, and an opening
pro forma balance sheet for the Loan Parties in form and substance acceptable to the Required Lenders,
(vi) projected quarterly balance sheets, income statements, statements of cash flows and availability of the
Borrower and the Guarantors for the period beginning on the first anniversary of the Closing Date through
the third anniversary of the Closing Date, in each case as to the projections, with the results and
assumptions set forth in all of such projections in form and substance reasonably satisfactory to the
Required Lenders, (vii) projected annual balance sheets, income statements, statements of cash flows and
availability of the Borrower and the Guarantors for the period beginning on the third anniversary of the
Closing Date through the date that is six months prior to the fifth anniversary of the Closing Date, in each
case as to the projections, with the results and assumptions set forth in all of such projections in form and
substance reasonably satisfactory to the Required Lenders, (viii) any updates or modifications to the
projected financial statements of the Borrower and the Guarantors previously received by the Exit Term
Agent, in each case in form and substance satisfactory to the Required Lenders.
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    4. The Exit Term Agent shall have received, at least 3 business days prior to the Closing Date, all
documentation and other information required by regulatory authorities under applicable “know your
customer” and anti-money laundering rules and regulations, including, without limitation, the PATRIOT
Act and, to the extent the Borrower qualifies as a “legal entity customer” under the Beneficial Ownership
Regulation, a Beneficial Ownership Certification in relation to the Borrower, that has been requested in
writing by the Exit Term Lenders at least 10 business days prior to the Closing Date.

    5. All fees required to be paid on the Closing Date and reasonable and documented out-of-pocket
expenses (including legal expenses) required to be paid on the Closing Date, to the extent invoiced at least
3 business days prior to the Closing Date, shall, upon the initial borrowing (or deemed borrowing) of the
Exit Term Facilities, have been paid.

    6. The maximum funded indebtedness on the Closing Date under the Exit Term Facilities and the
Exit ABL Facility shall not be in excess of $175 million.

    7. The Exit ABL Facility shall have become effective and shall be consistent in all respects with the
term sheet describing the Exit ABL Facility as reviewed and agreed to by the Required Lenders.




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                                          EXHIBIT H

            FORM OF JOINDER AGREEMENT FOR CONSENTING CREDITORS

                This Joinder Agreement to the Restructuring Support Agreement, dated as of [],
2019 (as amended, supplemented, or otherwise modified from time to time, the “Agreement”), by
and among the Company, and, among others, the holders of certain principal amounts outstanding
under the First Lien Term Loan Agreement and the Second Lien Term Loan Agreement (together
with their respective successors and permitted assigns, the “Consenting Creditors” and each, a
“Consenting Creditor”) is executed and delivered by ______ (the “Joining Party”) as of [●], 2019.
Each capitalized term used herein but not otherwise defined shall have the meaning set forth in the
Agreement.

        1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached to this Joinder Agreement as Annex I (as the
same has been or may be hereafter amended, restated, or otherwise modified from time to time in
accordance with the provisions hereof). The Joining Party shall hereafter be deemed to be a
“Consenting Creditor” and a “Party” for all purposes under the Agreement and with respect to any
and all Claims held by such Joining Party.

        2. Representations and Warranties. With respect to the aggregate principal amount of the
First Lien Term Loans and Second Lien Term Loans, in each case, set forth below its name on the
signature page hereto, the Joining Party hereby makes the representations and warranties of the
Consenting Creditors set forth in Section 8 of the Agreement to each other Party to the Agreement.

       3. Governing Law. This Joinder Agreement shall be governed by and construed in
accordance with the internal laws of the State of New York, without regard to any conflict of laws
provisions that would require the application of the law of any other jurisdiction.

                                    [Signature Page Follows]




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                IN WITNESS WHEREOF, the Joining Party has caused this Joinder to be executed
as of the date first written above.

CONSENTING CREDITOR

[●]

By:

Name:

Title:


Principal Amount of First Lien Term Loans: $______________

Principal Amount of Second Lien Term Loans: $______________



Notice Address:




Fax:
Attention:
Email:

                                                              Acknowledged:

                                                              CHEF HOLDINGS, INC.

                                                              By:
                                                              Name:
                                                              Title:




                               [Signature Page to Joinder Agreement]

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                                        EXHIBIT I

                                    DIP COMMITMENTS

                                       [TO COME]




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